Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 1 of 250 Page ID
                                 #:24152
     Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 2 of 250 Page ID
                                      #:24153

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/12/2018
                        Arrest                 N/A
   2045
06/12/2018
                       Book In                 MCS
   2346
06/13/2018
                    Welfare Check              MCS
   0451
06/13/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich,juice
   0451
06/13/2018
                    Welfare Check              MCS
   0825
06/13/2018
                    Welfare Check              MCS
   0827
06/13/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0827
06/13/2018
                    Welfare Check              MCS
   0922
06/13/2018
               FOJC and ORR Notified           MCS
   0931
06/13/2018                                                            all subjects appear to be in good health at
                    Welfare Check              MCS
   1048                                                               this time.
06/13/2018
                      In Transit               MCS
   1132
06/13/2018
                      Received                 RGV
   1205
06/13/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   1206                Provided
06/13/2018
             Medical Screening Completed       RGV
   1206
06/13/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1206
06/13/2018
                    Welfare Check              RGV
   1206
06/13/2018
                   Shower Provided             RGV
   1206
06/13/2018                                                            Minor was shown the Know what to expect
                 UAC Video Shown               RGV
   1213                                                               Video.
06/13/2018
                    Welfare Check              RGV
   1259
06/13/2018
                    Welfare Check              RGV
   1357



YENDER E                                                                          Printed:      8/17/18
DOB                                                                               Page 2 of 6
Event:
     Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 3 of 250 Page ID
                                      #:24154




                                         Station /
Date/Time            Activity                        Agent Name                    Comments
                                         Facility
06/13/2018
               Processing Complete         RGV
   1400
06/13/2018
                  Welfare Check            RGV
   1526
06/13/2018
                  Welfare Check            RGV
   1614
06/13/2018
              Served meal(Accepted)        RGV                    Cold Meal
   1614
06/13/2018
                  Welfare Check            RGV
   1622
06/13/2018
                  Welfare Check            RGV
   1805
06/13/2018
                  Welfare Check            RGV
   1816
06/13/2018
                  Welfare Check            RGV
   1911
06/13/2018
             Rejoined With Family Unit     RGV                    family visit for 15 minutes.
   1916
06/13/2018
                  Telephone Used           RGV
   1917
06/13/2018
                  Welfare Check            RGV
   1924
06/13/2018
                  Welfare Check            RGV
   2022
06/13/2018
                  Welfare Check            RGV
   2103
06/13/2018
                  Welfare Check            RGV
   2300
06/14/2018
                  Welfare Check            RGV
   0001
06/14/2018
                  Welfare Check            RGV
   0100
06/14/2018
                  Welfare Check            RGV
   0200
06/14/2018
                  Welfare Check            RGV
   0303
06/14/2018
                  Welfare Check            RGV
   0306
06/14/2018
                  Welfare Check            RGV
   0401
06/14/2018
                  Welfare Check            RGV
   0501


YENDER E                                                                      Printed:      8/17/18
DOB:                                                                          Page 3 of 6
Event:
     Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 4 of 250 Page ID
                                      #:24155




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/14/2018
                Welfare Check          RGV
   0733
06/14/2018
              UAC Video Shown          RGV
   0733
06/14/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0733
06/14/2018
                Welfare Check          RGV
   0801
06/14/2018
                Welfare Check          RGV
   0905
06/14/2018
                Welfare Check          RGV
   1012
06/14/2018
                Welfare Check          RGV
   1100
06/14/2018
                Welfare Check          RGV
   1221
06/14/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1221
06/14/2018
                Welfare Check          RGV
   1310
06/14/2018
                Welfare Check          RGV
   1404
06/14/2018
                Welfare Check          RGV
   1517
06/14/2018
                Welfare Check          RGV
   1602
06/14/2018
                Welfare Check          RGV
   1611
06/14/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1611
06/14/2018
                Welfare Check          RGV
   1701
06/14/2018
              UAC Video Shown          RGV
   1712
06/14/2018
                Welfare Check          RGV
   1813
06/14/2018
                Welfare Check          RGV
   1941
06/14/2018
                Telephone Used         RGV
   1945
06/14/2018
                Welfare Check          RGV
   2008


YENDER E                                                                  Printed:      8/17/18
DOB:                                                                      Page 4 of 6
Event:
     Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 5 of 250 Page ID
                                      #:24156




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/14/2018
             Snacks, Milk, Juice Provided     RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2111
06/14/2018
                   Welfare Check              RGV
   2222
06/14/2018
                   Welfare Check              RGV
   2300
06/15/2018
                   Welfare Check              RGV
   0011
06/15/2018
                   Welfare Check              RGV
   0100
06/15/2018
                   Welfare Check              RGV
   0354
06/15/2018
                   Welfare Check              RGV
   0400
06/15/2018
                   Welfare Check              RGV
   0500
06/15/2018
                 UAC Video Shown              RGV
   0700
06/15/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0705
06/15/2018
                   Welfare Check              RGV
   0712
06/15/2018
                   Welfare Check              RGV
   0800
06/15/2018
                   Welfare Check              RGV
   1038
06/15/2018
                   Welfare Check              RGV
   1147
06/15/2018
                   Welfare Check              RGV
   1207
06/15/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1207
06/15/2018
              ORR Placement Received          RGV                    BCFS Harlingen
   1215
06/15/2018
              ORR Placement Received          RGV                    BCFS Harlingen
   1310
06/15/2018
                   Welfare Check              RGV
   1318


YENDER E                                                                        Printed:      8/17/18
DOB:                                                                            Page 5 of 6
Event:
     Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 6 of 250 Page ID
                                      #:24157




                                  Station /
Date/Time         Activity                    Agent Name             Comments
                                  Facility
06/15/2018
                Welfare Check       RGV
   1400
06/15/2018
                Perm Book Out       RGV
   1440




YENDER E                                                        Printed:      8/17/18
DOB:                                                            Page 6 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 7 of 250 Page ID
                                     #:24158




Subject Activity Log


YASMIN R
                                     Gender:                F
                                     DOB:                           (23 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   06/03/2018 1650
Book In Date/Time:  06/04/2018 0119
Book Out Date/Time: 06/07/2018 1020

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                      Expresses Fear of Return?




YASMIN R                                                                     Printed:      8/8/18
DOB:                     A-File #:                                           Page 1 of 6
Event:
     Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 8 of 250 Page ID
                                      #:24159

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                  Comments
                                             Facility
06/03/2018
                        Arrest                 N/A
   1650
06/03/2018
                       Book In                 MCS
   1854
06/04/2018
                      In Transit               MCS
   0117
06/04/2018
                      Received                 RGV
   0119
06/04/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0120                Provided
06/04/2018
                   Shower Provided             RGV                    Shower will be provided at 0700 hrs.
   0120
06/04/2018
                    Welfare Check              RGV                    Subject arrived well
   0120
06/04/2018
                Served meal(Accepted)          RGV                    Cold Meal - Snack provided upon arrival
   0120
06/04/2018
              Medical Treatment (OBP)          RGV                    Examined and cleared by Ursula Medical
   0120
06/04/2018
                    Welfare Check              RGV
   0203
06/04/2018
                    Welfare Check              RGV
   0257
06/04/2018
                    Welfare Check              RGV
   0321
06/04/2018
                    Welfare Check              RGV
   0402
06/04/2018
                    Welfare Check              RGV
   0403
06/04/2018
                    Welfare Check              RGV
   0459
06/04/2018
                    Welfare Check              RGV
   0613
06/04/2018
               Bodily Cleansing Product        RGV
   0640
06/04/2018
               Dental Hygiene Product          RGV
   0640
06/04/2018
               Clean Clothing Provided         RGV
   0640
06/04/2018
                   Shower Provided             RGV
   0640



YASMIN R                                                                        Printed:      8/8/18
DOB:                        A-File #:                                           Page 2 of 6
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 9 of 250 Page ID
                                 #:24160
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 10 of 250 Page ID
                                      #:24161




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/05/2018
                Welfare Check          RGV
   0238
06/05/2018
                Welfare Check          RGV
   0300
06/05/2018
                Welfare Check          RGV
   0305
06/05/2018
                Welfare Check          RGV
   0406
06/05/2018
                Welfare Check          RGV
   0506
06/05/2018
                Welfare Check          RGV
   0604
06/05/2018
                Welfare Check          RGV
   0705
06/05/2018
                Welfare Check          RGV
   0708
06/05/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0708
06/05/2018
                Welfare Check          RGV
   0800
06/05/2018
                Welfare Check          RGV
   0930
06/05/2018
                Welfare Check          RGV
   1015
06/05/2018
                Welfare Check          RGV
   1115
06/05/2018
                Welfare Check          RGV
   1207
06/05/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1207
06/05/2018
                Welfare Check          RGV
   1230
06/05/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1230
06/05/2018
                Welfare Check          RGV
   1317
06/05/2018
                Welfare Check          RGV
   1408
06/05/2018
                Welfare Check          RGV
   1452
06/05/2018
                Welfare Check          RGV
   1600


YASMIN R                                                                 Printed:      8/8/18
DOB:            A-File #:                                                Page 4 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 11 of 250 Page ID
                                      #:24162




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/05/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/05/2018
                   Welfare Check              RGV
   1703
06/05/2018
                   Welfare Check              RGV
   1757
06/05/2018
                   Welfare Check              RGV
   2000
06/05/2018
                   Welfare Check              RGV
   2056
06/05/2018
             Snacks, Milk, Juice Provided     RGV
   2159
06/05/2018
                   Welfare Check              RGV
   2159
06/05/2018
                   Welfare Check              RGV
   2326
06/06/2018
                   Welfare Check              RGV
   0054
06/06/2018
                   Welfare Check              RGV
   0105
06/06/2018
                   Welfare Check              RGV
   0406
06/06/2018
                   Welfare Check              RGV
   0533
06/06/2018
                   Welfare Check              RGV
   0706
06/06/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0717
06/06/2018
                   Welfare Check              RGV
   0800
06/06/2018
                   Welfare Check              RGV
   0900
06/06/2018
                   Welfare Check              RGV
   1320
06/06/2018
                   Welfare Check              RGV
   1416
06/06/2018
                   Welfare Check              RGV
   1500
06/06/2018
                   Welfare Check              RGV
   1559
06/06/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1559


YASMIN R                                                                         Printed:      8/8/18
DOB:                -File #:                                                     Page 5 of 6
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 12 of 250 Page ID
                                  #:24163
   Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 13 of 250 Page ID
                                     #:24164




Subject Activity Log


VALENTINA U
                                     Gender:                F
                                     DOB:                           (3 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s): YASMIN              R




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   06/03/2018 1650
Book In Date/Time:  06/04/2018 0119
Book Out Date/Time: 06/07/2018 1020

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                      Expresses Fear of Return?




VALENTINA U                                                                  Printed:      8/8/18
DOB:                     A-File #:                                           Page 1 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 14 of 250 Page ID
                                      #:24165

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                  Comments
                                             Facility
06/03/2018
                        Arrest                 N/A
   1650
06/03/2018
                       Book In                 MCS
   1854
06/04/2018
                      In Transit               MCS
   0117
06/04/2018
                      Received                 RGV
   0119
06/04/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0120                Provided
06/04/2018
                   Shower Provided             RGV                    Shower will be provided at 0700 hrs.
   0120
06/04/2018
                    Welfare Check              RGV                    Subject arrived well
   0120
06/04/2018
                Served meal(Accepted)          RGV                    Cold Meal - Snack provided upon arrival
   0120
06/04/2018
              Medical Treatment (OBP)          RGV                    Examined and cleared by Ursula Medical
   0120
06/04/2018
                    Welfare Check              RGV
   0203
06/04/2018
                    Welfare Check              RGV
   0257
06/04/2018
                    Welfare Check              RGV
   0321
06/04/2018
                    Welfare Check              RGV
   0402
06/04/2018
                    Welfare Check              RGV
   0403
06/04/2018
                    Welfare Check              RGV
   0459
06/04/2018
                    Welfare Check              RGV
   0613
06/04/2018
               Bodily Cleansing Product        RGV
   0640
06/04/2018
               Dental Hygiene Product          RGV
   0640
06/04/2018
               Clean Clothing Provided         RGV
   0640
06/04/2018
                   Shower Provided             RGV
   0640



VALENTINA U                                                                     Printed:      8/8/18
DOB:                        A-File #:                                           Page 2 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 15 of 250 Page ID
                                  #:24166
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 16 of 250 Page ID
                                      #:24167




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/04/2018
             Snacks, Milk, Juice Provided     RGV
   2155
06/04/2018
                   Welfare Check              RGV
   2155
06/05/2018
                   Welfare Check              RGV
   0238
06/05/2018
                   Welfare Check              RGV
   0300
06/05/2018
                   Welfare Check              RGV
   0305
06/05/2018
                   Welfare Check              RGV
   0406
06/05/2018
                   Welfare Check              RGV
   0506
06/05/2018
                   Welfare Check              RGV
   0604
06/05/2018
                   Welfare Check              RGV
   0705
06/05/2018
                   Welfare Check              RGV
   0708
06/05/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0708
06/05/2018
                   Welfare Check              RGV
   0800
06/05/2018
                   Welfare Check              RGV
   0930
06/05/2018
                   Welfare Check              RGV
   1015
06/05/2018
                   Welfare Check              RGV
   1115
06/05/2018
                   Welfare Check              RGV
   1207
06/05/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1207
06/05/2018
                   Welfare Check              RGV
   1230
06/05/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1230
06/05/2018
                   Welfare Check              RGV
   1317
06/05/2018
                   Welfare Check              RGV
   1408


VALENTINA U                                                                     Printed:      8/8/18
DOB:               A-File #:                                                    Page 4 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 17 of 250 Page ID
                                  #:24168
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 18 of 250 Page ID
                                  #:24169
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 19 of 250 Page ID
                                  #:24170
   Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 20 of 250 Page ID
                                     #:24171




Subject Activity Log


PATRICIA H
                                     Gender:                F
                                     DOB:                          43 yoa)
                                     Nationality:           MEXICO
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   05/25/2018 1430
Book In Date/Time:  05/27/2018 0849
Book Out Date/Time: 05/30/2018 1006

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




PATRICIA H                                                                  Printed:      7/25/18
DOB:                     A-File #:                                          Page 1 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 21 of 250 Page ID
                                      #:24172

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
05/25/2018
                        Arrest                 N/A
   1430
05/25/2018
                       Book In                 RGC
   1651
05/25/2018
                   Welfare Check               RGC                    1719 hours.
   1719
05/25/2018
                   Welfare Check               RGC
   1831
05/25/2018
               Served meal(Accepted)           RGC                    Cold Meal - Served meal 1830 hours.
   1831
05/25/2018
                   Welfare Check               RGC                    1910 hours.
   1913
05/26/2018
                   Welfare Check               RGC
   0443
05/26/2018
               Served meal(Accepted)           RGC                    Cold Meal - r279
   0443
05/26/2018
             Snacks, Milk, Juice Provided      RGC
   0757
05/26/2018
               Served meal(Accepted)           RGC                    Cold Meal
   0757
05/26/2018
                   Welfare Check               RGC
   0757
05/26/2018
                   Welfare Check               RGC
   1000
05/26/2018
                   Welfare Check               RGC
   1100
05/26/2018
                   Welfare Check               RGC
   1200
05/26/2018
                   Welfare Check               RGC                    NOTHING TO REPORT
   1224
05/26/2018
             Snacks, Milk, Juice Provided      RGC
   1500
05/26/2018
               Served meal(Accepted)           RGC                    Cold Meal
   1500
05/26/2018
                   Welfare Check               RGC
   1500
05/26/2018
                   Welfare Check               RGC
   2057
05/26/2018
               Served meal(Accepted)           RGC                    Cold Meal
   2057



PATRICIA H                                                                        Printed:      7/25/18
DOB:                        A-File #:                                             Page 2 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 22 of 250 Page ID
                                      #:24173




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/26/2018
                 Processing Complete          RGC
   2200
05/27/2018
                    Welfare Check             RGC
   0515
05/27/2018
                Served meal(Accepted)         RGC                    Cold Meal
   0515
05/27/2018
                    Welfare Check             RGC
   0717
05/27/2018
                Served meal(Accepted)         RGC                    Cold Meal
   0717
05/27/2018
                      In Transit              RGC                    MFT0010867009
   0758
05/27/2018
                      Received                RGV
   0849
05/27/2018
               Bodily Cleansing Product       RGV
   0919
05/27/2018
               Dental Hygiene Product         RGV
   0919
05/27/2018
               Clean Clothing Provided        RGV
   0919
05/27/2018
             Medical Screening Completed      RGV
   0919
05/27/2018
                Served meal(Accepted)         RGV                    Hot Meal
   0919
05/27/2018
                    Welfare Check             RGV
   0919
05/27/2018
             Snacks, Milk, Juice Provided     RGV
   0919
05/27/2018
                   Shower Provided            RGV
   0919
05/27/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0919                Provided
05/27/2018
                    Welfare Check             RGV
   1006
05/27/2018
                    Welfare Check             RGV
   1008
05/27/2018
                    Welfare Check             RGV
   1115
05/27/2018
                    Welfare Check             RGV
   1159
05/27/2018
                Served meal(Accepted)         RGV                    Hot Meal
   1159


PATRICIA H                                                                       Printed:      7/25/18
DOB:               A-File #:                                                     Page 3 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 23 of 250 Page ID
                                      #:24174




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/27/2018
                   Welfare Check              RGV
   1202
05/27/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1202
05/27/2018
                   Welfare Check              RGV
   1210
05/27/2018
               Served meal(Accepted)          RGV                    Hot Meal - Hot meal served
   1210
05/27/2018
                   Welfare Check              RGV
   1305
05/27/2018
                   Welfare Check              RGV
   1403
05/27/2018
                   Welfare Check              RGV
   1500
05/27/2018
                   Welfare Check              RGV
   1603
05/27/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1700
05/27/2018
                   Welfare Check              RGV
   1706
05/27/2018
                   Welfare Check              RGV
   1813
05/27/2018
                   Welfare Check              RGV
   1858
05/27/2018
                   Welfare Check              RGV
   1958
05/27/2018
             Snacks, Milk, Juice Provided     RGV
   2024
05/27/2018
                   Welfare Check              RGV
   2024
05/27/2018
                   Welfare Check              RGV
   2056
05/27/2018
                   Welfare Check              RGV
   2205
05/27/2018
                   Welfare Check              RGV
   2319
05/28/2018
                   Welfare Check              RGV
   0000
05/28/2018
                   Welfare Check              RGV
   0102
05/28/2018
                   Welfare Check              RGV
   0203


PATRICIA H                                                                       Printed:      7/25/18
DOB:               A-File #:                                                     Page 4 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 24 of 250 Page ID
                                  #:24175
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 25 of 250 Page ID
                                      #:24176




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
05/28/2018
                   Welfare Check              RGV
   1812
05/28/2018
                   Welfare Check              RGV
   1858
05/28/2018
                   Welfare Check              RGV
   1959
05/28/2018
             Snacks, Milk, Juice Provided     RGV
   2100
05/28/2018
                   Welfare Check              RGV
   2100
05/28/2018
                   Welfare Check              RGV
   2158
05/29/2018
                   Welfare Check              RGV
   0018
05/29/2018
                   Welfare Check              RGV
   0108
05/29/2018
                   Welfare Check              RGV
   0225
05/29/2018
                   Welfare Check              RGV
   0312
05/29/2018
                   Welfare Check              RGV
   0405
05/29/2018
                   Welfare Check              RGV
   0506
05/29/2018
                   Welfare Check              RGV
   0607
05/29/2018
                   Welfare Check              RGV
   0700
05/29/2018
                   Welfare Check              RGV
   0832
05/29/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0832
05/29/2018
                   Welfare Check              RGV
   1030
05/29/2018
                   Welfare Check              RGV
   1130
05/29/2018
                   Welfare Check              RGV
   1230
05/29/2018
                   Welfare Check              RGV
   1357
05/29/2018
                   Welfare Check              RGV
   1415


PATRICIA H                                                                      Printed:      7/25/18
DOB:               A-File #:                                                    Page 6 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 26 of 250 Page ID
                                      #:24177




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/29/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1415
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on the 22k side
   1510
05/29/2018
                   Welfare Check              RGV
   1600
05/29/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
05/29/2018
                   Welfare Check              RGV
   1658
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   1857
05/29/2018
             Snacks, Milk, Juice Provided     RGV
   2003
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   2003
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   2059
05/29/2018
             Snacks, Milk, Juice Provided     RGV
   2204
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   2204
05/30/2018
                   Welfare Check              RGV
   0017
05/30/2018
                   Welfare Check              RGV
   0216
05/30/2018
                   Welfare Check              RGV
   0307
05/30/2018
                   Welfare Check              RGV
   0409
05/30/2018
                   Welfare Check              RGV
   0652
05/30/2018
                   Welfare Check              RGV
   0711
05/30/2018
                  Shower Provided             RGV
   0724
05/30/2018
                   Welfare Check              RGV
   0904
05/30/2018
                   Perm Book Out              RGV
   1006
05/30/2018
                   Welfare Check              RGV
   1007


PATRICIA H                                                                       Printed:      7/25/18
DOB:               A-File #:                                                     Page 7 of 7
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 27 of 250 Page ID
                                     #:24178




Subject Activity Log


ANGEL F
                                     Gender:                M
                                     DOB:                           (13 yoa)
                                     Nationality:           MEXICO
                                     Accompanying Adult(s): PATRICIA H




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   05/25/2018 1430
Book In Date/Time:  05/27/2018 0849
Book Out Date/Time: 05/30/2018 1006

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                      Expresses Fear of Return?




ANGEL F                                                                      Printed:      7/25/18
DOB:                     A-File #:                                           Page 1 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 28 of 250 Page ID
                                      #:24179

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
05/25/2018
                        Arrest                 N/A
   1430
05/25/2018
                       Book In                 RGC
   1650
05/25/2018
                   Welfare Check               RGC                    1719 hours.
   1719
05/25/2018
                   Welfare Check               RGC
   1831
05/25/2018
               Served meal(Accepted)           RGC                    Hot Meal - Served meal 1830 hours.
   1831
05/25/2018
                   Welfare Check               RGC                    1910 hours.
   1913
05/26/2018
                   Welfare Check               RGC
   0443
05/26/2018
               Served meal(Accepted)           RGC                    Cold Meal - r231
   0443
05/26/2018
             Snacks, Milk, Juice Provided      RGC
   0757
05/26/2018
               Served meal(Accepted)           RGC                    Cold Meal
   0757
05/26/2018
                   Welfare Check               RGC
   0757
05/26/2018
                   Welfare Check               RGC
   1000
05/26/2018
                   Welfare Check               RGC
   1100
05/26/2018
                   Welfare Check               RGC
   1200
05/26/2018
                   Welfare Check               RGC                    NOTHING TO REPORT
   1224
05/26/2018
             Snacks, Milk, Juice Provided      RGC
   1500
05/26/2018
               Served meal(Accepted)           RGC                    Cold Meal
   1500
05/26/2018
                   Welfare Check               RGC
   1500
05/26/2018
                   Welfare Check               RGC
   2057
05/26/2018
               Served meal(Accepted)           RGC                    Cold Meal
   2057



ANGEL F                                                                           Printed:      7/25/18
DOB:                        A-File #:                                             Page 2 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 29 of 250 Page ID
                                      #:24180




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/26/2018
                 Processing Complete          RGC
   2159
05/27/2018
                    Welfare Check             RGC
   0353
05/27/2018
                Served meal(Accepted)         RGC                    Cold Meal
   0353
05/27/2018
                    Welfare Check             RGC
   0515
05/27/2018
                Served meal(Accepted)         RGC                    Cold Meal
   0515
05/27/2018
                      In Transit              RGC                    MFT0010867009
   0758
05/27/2018
                      Received                RGV
   0849
05/27/2018
               Bodily Cleansing Product       RGV
   0919
05/27/2018
               Dental Hygiene Product         RGV
   0919
05/27/2018
               Clean Clothing Provided        RGV
   0919
05/27/2018
             Medical Screening Completed      RGV
   0919
05/27/2018
                Served meal(Accepted)         RGV                    Hot Meal
   0919
05/27/2018
                    Welfare Check             RGV
   0919
05/27/2018
             Snacks, Milk, Juice Provided     RGV
   0919
05/27/2018
                   Shower Provided            RGV
   0919
05/27/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0919                Provided
05/27/2018
                    Welfare Check             RGV
   1006
05/27/2018
                    Welfare Check             RGV
   1008
05/27/2018
                    Welfare Check             RGV
   1115
05/27/2018
                    Welfare Check             RGV
   1159
05/27/2018
                Served meal(Accepted)         RGV                    Hot Meal
   1159


ANGEL F                                                                          Printed:      7/25/18
DOB:               A-File #:                                                     Page 3 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 30 of 250 Page ID
                                      #:24181




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/27/2018
                   Welfare Check              RGV
   1305
05/27/2018
                   Welfare Check              RGV
   1403
05/27/2018
                   Welfare Check              RGV
   1500
05/27/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
05/27/2018
                   Welfare Check              RGV
   1603
05/27/2018
                   Welfare Check              RGV
   1706
05/27/2018
                 UAC Video Shown              RGV
   1706
05/27/2018
                   Welfare Check              RGV
   1813
05/27/2018
                   Welfare Check              RGV
   1858
05/27/2018
                   Welfare Check              RGV
   1958
05/27/2018
             Snacks, Milk, Juice Provided     RGV
   2024
05/27/2018
                   Welfare Check              RGV
   2024
05/27/2018
                   Welfare Check              RGV
   2056
05/27/2018
                   Welfare Check              RGV
   2205
05/27/2018
                   Welfare Check              RGV
   2319
05/28/2018
                   Welfare Check              RGV
   0000
05/28/2018
                   Welfare Check              RGV
   0102
05/28/2018
                   Welfare Check              RGV
   0203
05/28/2018
             Snacks, Milk, Juice Provided     RGV                    Available Juice, Granola Bars, and cookies.
   0221
05/28/2018
                   Welfare Check              RGV
   0221
05/28/2018
                   Welfare Check              RGV
   0300


ANGEL F                                                                          Printed:      7/25/18
DOB:               A-File #:                                                     Page 4 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 31 of 250 Page ID
                                      #:24182




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
05/28/2018
                Welfare Check          RGV
   0302
05/28/2018                                                    Cold Meal - subjects are offered food and
             Served meal(Accepted)     RGV
   0302                                                       drink
05/28/2018
                Welfare Check          RGV
   0359
05/28/2018
                Welfare Check          RGV
   0501
05/28/2018
                Welfare Check          RGV
   0632
05/28/2018
                Welfare Check          RGV
   0705
05/28/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0705
05/28/2018
                Welfare Check          RGV
   0826
05/28/2018
                Welfare Check          RGV
   1001
05/28/2018
                Welfare Check          RGV
   1115
05/28/2018
                Welfare Check          RGV
   1205
05/28/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1205
05/28/2018
                Welfare Check          RGV
   1315
05/28/2018
                Welfare Check          RGV
   1400
05/28/2018
                Welfare Check          RGV                    D166 assisted w/ checks 22k
   1503
05/28/2018
                Welfare Check          RGV                    D166 assisted w/ checks 22k
   1559
05/28/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1559
05/28/2018
                Welfare Check          RGV                    D166 assisted w/ checks 22k
   1656
05/28/2018
              UAC Video Shown          RGV
   1658
05/28/2018
                Welfare Check          RGV
   1812
05/28/2018
                Welfare Check          RGV
   1858


ANGEL F                                                                   Printed:      7/25/18
DOB:             -File #:                                                 Page 5 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 32 of 250 Page ID
                                      #:24183




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/28/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1900
05/28/2018
                   Welfare Check              RGV
   1959
05/28/2018
             Snacks, Milk, Juice Provided     RGV
   2100
05/28/2018
                   Welfare Check              RGV
   2100
05/28/2018
                   Welfare Check              RGV
   2158
05/29/2018
                   Welfare Check              RGV
   0018
05/29/2018
                   Welfare Check              RGV
   0108
05/29/2018
                   Welfare Check              RGV
   0225
05/29/2018
                   Welfare Check              RGV
   0312
05/29/2018
                   Welfare Check              RGV
   0405
05/29/2018
                   Welfare Check              RGV
   0506
05/29/2018
                   Welfare Check              RGV
   0607
05/29/2018
                   Welfare Check              RGV
   0700
05/29/2018
                   Welfare Check              RGV
   0832
05/29/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0832
05/29/2018
                   Welfare Check              RGV
   1030
05/29/2018
                   Welfare Check              RGV
   1130
05/29/2018
                   Welfare Check              RGV
   1230
05/29/2018
                  Shower Provided             RGV
   1330
05/29/2018
                   Welfare Check              RGV
   1357
05/29/2018
                   Welfare Check              RGV
   1415


ANGEL F                                                                          Printed:      7/25/18
DOB:                -File #:                                                     Page 6 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 33 of 250 Page ID
                                      #:24184




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/29/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1415
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on the 22k side
   1510
05/29/2018
                   Welfare Check              RGV
   1600
05/29/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
05/29/2018
                   Welfare Check              RGV
   1658
05/29/2018
                 UAC Video Shown              RGV
   1658
05/29/2018
             Rejoined With Family Unit        RGV
   1743
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   1857
05/29/2018
             Snacks, Milk, Juice Provided     RGV
   2003
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   2003
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   2059
05/29/2018
             Snacks, Milk, Juice Provided     RGV
   2204
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   2204
05/30/2018
                   Welfare Check              RGV
   0017
05/30/2018
                   Welfare Check              RGV
   0216
05/30/2018
                   Welfare Check              RGV
   0307
05/30/2018
                   Welfare Check              RGV
   0409
05/30/2018
                   Welfare Check              RGV
   0652
05/30/2018
                   Welfare Check              RGV
   0711
05/30/2018
                   Welfare Check              RGV
   0904
05/30/2018
                   Perm Book Out              RGV
   1006


ANGEL F                                                                          Printed:      7/25/18
DOB:               A-File #:                                                     Page 7 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 34 of 250 Page ID
                                      #:24185




                                 Station /
Date/Time         Activity                   Agent Name             Comments
                                 Facility
05/30/2018
                Welfare Check      RGV
   1007




ANGEL F                                                        Printed:      7/25/18
DOB:           A-File #:                                       Page 8 of 8
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 35 of 250 Page ID
                                  #:24186
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 36 of 250 Page ID
                                  #:24187
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 37 of 250 Page ID
                                      #:24188




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/22/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1733
06/22/2018
                   Welfare Check              RGV
   1813
06/22/2018
                   Welfare Check              RGV
   1904
06/23/2018
                   Welfare Check              RGV
   0304
06/23/2018
                   Welfare Check              RGV
   0752
06/23/2018
                   Welfare Check              RGV
   0802
06/23/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0802
06/23/2018
                   Welfare Check              RGV
   1000
06/23/2018
                   Welfare Check              RGV
   1100
06/23/2018
                   Welfare Check              RGV
   1243
06/23/2018
                   Welfare Check              RGV
   1247
06/23/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1247
06/23/2018
                   Welfare Check              RGV
   1300
06/23/2018
                   Welfare Check              RGV
   1513
06/23/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1513
06/23/2018
                   Welfare Check              RGV
   1552
06/23/2018
                   Welfare Check              RGV
   1703
06/23/2018
                   Welfare Check              RGV
   1752
06/23/2018
                   Welfare Check              RGV
   1858
06/23/2018
             Snacks, Milk, Juice Provided     RGV
   2001
06/23/2018
                   Welfare Check              RGV
   2001


HERLINDA S                                                                       Printed:      8/11/18
DOB:              yA-File #:                                                     Page 3 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 38 of 250 Page ID
                                      #:24189




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/23/2018
                Welfare Check          RGV
   2055
06/23/2018
                Welfare Check          RGV
   2156
06/23/2018
             Served meal(Accepted)     RGV                    Cold Meal
   2156
06/23/2018
                Welfare Check          RGV
   2246
06/23/2018
                Welfare Check          RGV
   2259
06/23/2018
                Welfare Check          RGV
   2322
06/24/2018
                Welfare Check          RGV
   0007
06/24/2018
                Welfare Check          RGV
   0119
06/24/2018
                Welfare Check          RGV
   0225
06/24/2018
                Welfare Check          RGV
   0309
06/24/2018
                Welfare Check          RGV
   0400
06/24/2018
                Welfare Check          RGV
   0513
06/24/2018
                Welfare Check          RGV
   0719
06/24/2018
                Welfare Check          RGV
   0744
06/24/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0744
06/24/2018
                Welfare Check          RGV
   0805
06/24/2018
                Welfare Check          RGV
   0901
06/24/2018
                Welfare Check          RGV
   1221
06/24/2018
                Welfare Check          RGV
   1358
06/24/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1358
06/24/2018
                Welfare Check          RGV
   1413


HERLINDA S                                                                Printed:      8/11/18
DOB:            A-File #:                                                 Page 4 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 39 of 250 Page ID
                                  #:24190
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 40 of 250 Page ID
                                  #:24191
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 41 of 250 Page ID
                                  #:24192
   Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 42 of 250 Page ID
                                     #:24193




Subject Activity Log


JOSUE P
                                     Gender:                M
                                     DOB:                          (14 yoa)
                                     Nationality:           GUATEMALA
                                     Accompanying Adult(s): HERLINDA S




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/20/2018 2300
Book In Date/Time:  06/22/2018 1356
Book Out Date/Time: 06/26/2018 1017

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




JOSUE P                                                                     Printed:      8/11/18
DOB:                     A-File #:                                          Page 1 of 8
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 43 of 250 Page ID
                                  #:24194
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 44 of 250 Page ID
                                      #:24195




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/22/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1733
06/22/2018
                   Welfare Check              RGV
   1813
06/22/2018
                   Welfare Check              RGV
   1904
06/23/2018
                   Welfare Check              RGV
   0304
06/23/2018
                   Welfare Check              RGV
   0752
06/23/2018
                   Welfare Check              RGV
   0802
06/23/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0802
06/23/2018
                   Welfare Check              RGV
   1000
06/23/2018
                   Welfare Check              RGV
   1100
06/23/2018
                   Welfare Check              RGV
   1243
06/23/2018
                   Welfare Check              RGV
   1247
06/23/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1247
06/23/2018
                   Welfare Check              RGV
   1300
06/23/2018
                   Welfare Check              RGV
   1513
06/23/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1513
06/23/2018
                   Welfare Check              RGV
   1552
06/23/2018
                   Welfare Check              RGV
   1703
06/23/2018
                   Welfare Check              RGV
   1752
06/23/2018
                   Welfare Check              RGV
   1858
06/23/2018
             Snacks, Milk, Juice Provided     RGV
   2001
06/23/2018
                   Welfare Check              RGV
   2001


JOSUE P                                                                          Printed:      8/11/18
DOB:                -File #                                                      Page 3 of 8
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 45 of 250 Page ID
                                  #:24196
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 46 of 250 Page ID
                                      #:24197




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/24/2018
               Dental Hygiene Product         RGV
   1325
06/24/2018
               Clean Clothing Provided        RGV
   1325
06/24/2018
                    Welfare Check             RGV
   1325
06/24/2018
             Snacks, Milk, Juice Provided     RGV
   1325
06/24/2018
                   Shower Provided            RGV
   1325
06/24/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   1325                Provided
06/24/2018
                    Welfare Check             RGV
   1358
06/24/2018
                Served meal(Accepted)         RGV                    Hot Meal
   1358
06/24/2018
                    Welfare Check             RGV
   1413
06/24/2018
                    Welfare Check             RGV
   1510
06/24/2018
                    Welfare Check             RGV
   1604
06/24/2018
                    Welfare Check             RGV
   1605
06/24/2018
                Served meal(Accepted)         RGV                    Cold Meal
   1605
06/24/2018
                    Welfare Check             RGV
   1701
06/24/2018
                    Welfare Check             RGV
   1815
06/24/2018
                    Welfare Check             RGV
   1909
06/24/2018
             Snacks, Milk, Juice Provided     RGV
   2016
06/24/2018
                    Welfare Check             RGV
   2016
06/24/2018
                 Processing Complete          RGV
   2048
06/24/2018
                    Welfare Check             RGV
   2109
06/24/2018
                    Welfare Check             RGV
   2203


JOSUE P                                                                          Printed:      8/11/18
DOB:               A-File #:                                                     Page 5 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 47 of 250 Page ID
                                      #:24198




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/24/2018
                Welfare Check          RGV
   2229
06/24/2018
             Served meal(Accepted)     RGV                    Cold Meal - snacks
   2229
06/24/2018
                Welfare Check          RGV
   2309
06/25/2018
                Welfare Check          RGV
   0018
06/25/2018
                Welfare Check          RGV
   0101
06/25/2018
                Welfare Check          RGV
   0122
06/25/2018
                Welfare Check          RGV
   0205
06/25/2018
                Welfare Check          RGV
   0304
06/25/2018
                Welfare Check          RGV
   0308
06/25/2018
                Welfare Check          RGV
   0407
06/25/2018
                Welfare Check          RGV
   0511
06/25/2018
                Welfare Check          RGV
   0648
06/25/2018
                Welfare Check          RGV
   0649
06/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0649
06/25/2018
              UAC Video Shown          RGV
   0650
06/25/2018
                Welfare Check          RGV
   0707
06/25/2018
                Welfare Check          RGV
   0744
06/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0744
06/25/2018
                Welfare Check          RGV
   0830
06/25/2018
                Welfare Check          RGV
   1021
06/25/2018
                Welfare Check          RGV
   1318


JOSUE                                                                    Printed:      8/11/18
DOB:             -File #:                                                Page 6 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 48 of 250 Page ID
                                      #:24199




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/25/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1318
06/25/2018
                   Welfare Check              RGV
   1400
06/25/2018
                   Welfare Check              RGV
   1434
06/25/2018
                   Welfare Check              RGV
   1507
06/25/2018
                   Welfare Check              RGV
   1609
06/25/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1609
06/25/2018
                   Welfare Check              RGV
   1612
06/25/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1612
06/25/2018
                   Welfare Check              RGV
   1726
06/25/2018
                   Welfare Check              RGV
   1828
06/25/2018
                   Welfare Check              RGV
   1909
06/25/2018
             Rejoined With Family Unit        RGV                    reunited with family units for 15 minutes.
   1913
06/25/2018
                   Welfare Check              RGV
   2001
06/25/2018
                   Welfare Check              RGV
   2111
06/25/2018
                   Welfare Check              RGV
   2143
06/25/2018
             Snacks, Milk, Juice Provided     RGV
   2201
06/25/2018
                   Welfare Check              RGV
   2201
06/25/2018
                   Welfare Check              RGV
   2243
06/25/2018
                   Welfare Check              RGV
   2314
06/26/2018
                   Welfare Check              RGV
   0005
06/26/2018
                   Welfare Check              RGV
   0120


JOSUE P                                                                          Printed:      8/11/18
DOB:                -File #:                                                     Page 7 of 8
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 49 of 250 Page ID
                                  #:24200
   Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 50 of 250 Page ID
                                     #:24201




Subject Activity Log


LESVIA P
                                     Gender:                F
                                     DOB:                         (23 yoa)
                                     Nationality:           GUATEMALA
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/24/2018 1550
Book In Date/Time:  06/25/2018 0047
Book Out Date/Time: 06/26/2018 1017

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




LESVIA                                                                      Printed:      8/12/18
DOB:                     A-File #:                                          Page 1 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 51 of 250 Page ID
                                      #:24202

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                   Comments
                                             Facility
06/24/2018
                        Arrest                 N/A
   1550
06/24/2018
                       Book In                 MCS
   1757
06/24/2018
                    Welfare Check              MCS
   1933
06/24/2018
                Served meal(Accepted)          MCS                    Hot Meal
   1933
06/25/2018
                      In Transit               MCS
   0030
06/25/2018
                      Received                 RGV
   0047
06/25/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0049                Provided
06/25/2018
             Medical Screening Completed       RGV
   0049
06/25/2018                                                            Subject will shower in the morning when
                        Other                  RGV
   0049                                                               staff arrives
06/25/2018
                    Welfare Check              RGV
   0049
06/25/2018
             Snacks, Milk, Juice Provided      RGV
   0049
06/25/2018
                    Welfare Check              RGV
   0101
06/25/2018
                    Welfare Check              RGV
   0122
06/25/2018
                    Welfare Check              RGV
   0205
06/25/2018
                    Welfare Check              RGV
   0304
06/25/2018
                    Welfare Check              RGV
   0308
06/25/2018
                    Welfare Check              RGV
   0407
06/25/2018
                    Welfare Check              RGV
   0511
06/25/2018
                    Welfare Check              RGV
   0648
06/25/2018
                    Welfare Check              RGV
   0649



LESVIA P                                                                         Printed:      8/12/18
DOB:                        A-File #:                                            Page 2 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 52 of 250 Page ID
                                      #:24203




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0649
06/25/2018
                Welfare Check          RGV
   0707
06/25/2018
               Shower Provided         RGV
   0723
06/25/2018
                Welfare Check          RGV
   0744
06/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0744
06/25/2018
                Welfare Check          RGV
   0830
06/25/2018
                Welfare Check          RGV
   1021
06/25/2018
                Welfare Check          RGV
   1318
06/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1318
06/25/2018
                Welfare Check          RGV
   1400
06/25/2018
                Welfare Check          RGV
   1434
06/25/2018
                Welfare Check          RGV
   1507
06/25/2018
                Welfare Check          RGV
   1609
06/25/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1609
06/25/2018
                Welfare Check          RGV
   1612
06/25/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1612
06/25/2018
                Welfare Check          RGV
   1726
06/25/2018
                Welfare Check          RGV
   1828
06/25/2018
                Welfare Check          RGV
   1909
06/25/2018
                Welfare Check          RGV
   2001
06/25/2018
                Welfare Check          RGV
   2111


LESVIA                                                                    Printed:      8/12/18
DOB:             -File #:                                                 Page 3 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 53 of 250 Page ID
                                      #:24204




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/25/2018
                   Welfare Check              RGV
   2143
06/25/2018
             Snacks, Milk, Juice Provided     RGV
   2201
06/25/2018
                   Welfare Check              RGV
   2201
06/25/2018
                   Welfare Check              RGV
   2243
06/25/2018
                   Welfare Check              RGV
   2314
06/26/2018
                   Welfare Check              RGV
   0005
06/26/2018
                   Welfare Check              RGV
   0120
06/26/2018
                   Welfare Check              RGV
   0201
06/26/2018
                   Welfare Check              RGV
   0213
06/26/2018
                   Welfare Check              RGV
   0306
06/26/2018
                Processing Complete           RGV
   0314
06/26/2018
                   Welfare Check              RGV
   0401
06/26/2018
                   Welfare Check              RGV
   0505
06/26/2018
                   Welfare Check              RGV
   0601
06/26/2018
                   Welfare Check              RGV
   0602
06/26/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0602
06/26/2018
                   Welfare Check              RGV
   0717
06/26/2018
                   Perm Book Out              RGV
   1017




LESVIA P                                                                        Printed:      8/12/18
DOB:                -File #:                                                    Page 4 of 4
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 54 of 250 Page ID
                                     #:24205




Subject Activity Log


MILEYDI P
                                  Gender:                F
                                  DOB:                          5 yoa)
                                  Nationality:           GUATEMALA
                                  Accompanying Adult(s): LESVIA                 P




                                  Event:
                                  A-File #:
                                  FINS #:
                                  Disposition:
Medical Conditions:                              Detention Reasons:
No Medical Conditions Found                      Immigration Violation




Arrest Date/Time:   06/24/2018 1550
Book In Date/Time:  06/25/2018 0047
Book Out Date/Time: 06/26/2018 1017

Processing Agent:
Transport Officer:
Apprehending Agents

ORR Facility:

Possible Trafficking?                                  Expresses Fear of Return?




MILEYDI P                                                                Printed:      8/12/18
DOB:                     A-File #: 215765904                             Page 1 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 55 of 250 Page ID
                                      #:24206

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                   Comments
                                             Facility
06/24/2018
                        Arrest                 N/A
   1550
06/24/2018
                       Book In                 MCS
   1800
06/24/2018
                    Welfare Check              MCS
   1933
06/24/2018
                Served meal(Accepted)          MCS                    Hot Meal
   1933
06/25/2018
                      In Transit               MCS
   0030
06/25/2018
                      Received                 RGV
   0047
06/25/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0049                Provided
06/25/2018
             Medical Screening Completed       RGV
   0049
06/25/2018                                                            Subject will shower in the morning when
                        Other                  RGV
   0049                                                               staff arrives
06/25/2018
                    Welfare Check              RGV
   0049
06/25/2018
             Snacks, Milk, Juice Provided      RGV
   0049
06/25/2018
                    Welfare Check              RGV
   0101
06/25/2018
                    Welfare Check              RGV
   0122
06/25/2018
                    Welfare Check              RGV
   0205
06/25/2018
                    Welfare Check              RGV
   0304
06/25/2018
                    Welfare Check              RGV
   0308
06/25/2018
                    Welfare Check              RGV
   0407
06/25/2018
                    Welfare Check              RGV
   0511
06/25/2018
                    Welfare Check              RGV
   0648
06/25/2018
                    Welfare Check              RGV
   0649



MILEYDI P                                                                        Printed:      8/12/18
DOB:                        A-File #:                                            Page 2 of 4
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 56 of 250 Page ID
                                  #:24207
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 57 of 250 Page ID
                                  #:24208
   Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 58 of 250 Page ID
                                     #:24209




Subject Activity Log


ALBA S
                                    Gender:                F
                                    DOB:                         (31 yoa)
                                    Nationality:           HONDURAS
                                    Accompanying Adult(s):




                                    Event:
                                    A-File #:
                                    FINS #:
                                    Disposition:
Medical Conditions:                                Detention Reasons:
No Medical Conditions Found                        Immigration Violation




Arrest Date/Time:   06/05/2018 1735
Book In Date/Time:  06/06/2018 0443
Book Out Date/Time: 06/07/2018 1020

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                    Expresses Fear of Return?




ALBA S                                                                     Printed:      8/11/18
DOB:                     A-File #                                          Page 1 of 3
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 59 of 250 Page ID
                                  #:24210
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 60 of 250 Page ID
                                  #:24211
   Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 61 of 250 Page ID
                                     #:24212




Subject Activity Log


GABRIEL M
                                     Gender:                M
                                     DOB:
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s): ALBA            S




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
                                                    Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/05/2018 1735
Book In Date/Time:  06/06/2018 0443
Book Out Date/Time: 06/07/2018 1020

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




GABRIEL M                                                                   Printed:      8/11/18
DOB:                     A-File #:                                          Page 1 of 4
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 62 of 250 Page ID
                                  #:24213
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 63 of 250 Page ID
                                  #:24214
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 64 of 250 Page ID
                                      #:24215




                                 Station /
Date/Time         Activity                   Agent Name             Comments
                                 Facility
06/07/2018
               Perm Book Out       RGV
   1020




GABRIEL M                                                      Printed:      8/11/18
DOB            A-File #:                                       Page 4 of 4
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 65 of 250 Page ID
                                     #:24216




Subject Activity Log


BLANCA C
                                     Gender:                F
                                     DOB:                           (25 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   06/12/2018 1925
Book In Date/Time:  06/14/2018 1124
Book Out Date/Time: 06/15/2018 1054

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                      Expresses Fear of Return?




BLANCA C                                                                     Printed:      8/11/18
DOB:                     A-File #:                                           Page 1 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 66 of 250 Page ID
                                      #:24217

                                     Subject Activity Log


                                      Station /
Date/Time          Activity                       Agent Name                    Comments
                                      Facility
06/12/2018
                    Arrest              N/A
   1925
06/13/2018
                   Book In              WSL
   1326
06/13/2018
                Welfare Check           WSL
   1400
06/13/2018
                Welfare Check           WSL
   1533
06/13/2018
                Welfare Check           WSL
   1600
06/13/2018
                Welfare Check           WSL
   1800
06/13/2018
                Welfare Check           WSL
   1858
06/13/2018
             Served meal(Accepted)      WSL                    Cold Meal
   1858
06/13/2018
                Welfare Check           WSL
   2022
06/13/2018
                Welfare Check           WSL
   2218
06/13/2018
                Welfare Check           WSL
   2332
06/14/2018
                Welfare Check           WSL
   0148
06/14/2018
             Served meal(Accepted)      WSL                    Cold Meal
   0148
06/14/2018
                Welfare Check           WSL
   0241
06/14/2018
                Welfare Check           WSL
   0337
06/14/2018
                Welfare Check           WSL
   0413
06/14/2018
                Welfare Check           WSL
   0505
06/14/2018
                Welfare Check           WSL                    Subject appears in good health
   0651
06/14/2018
                Welfare Check           WSL                    Subject appears in good health
   0746
06/14/2018
             Served meal(Accepted)      WSL                    Hot Meal - subject was fed
   0746



BLANCA C                                                                   Printed:      8/11/18
DOB:                    A-File #:                                          Page 2 of 4
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 67 of 250 Page ID
                                  #:24218
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 68 of 250 Page ID
                                      #:24219




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/14/2018
                   Welfare Check              RGV
   1701
06/14/2018
                   Welfare Check              RGV
   1813
06/14/2018
                   Welfare Check              RGV
   1941
06/14/2018
                   Welfare Check              RGV
   2008
06/14/2018
             Snacks, Milk, Juice Provided     RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2111
06/14/2018
                   Welfare Check              RGV
   2222
06/14/2018
                   Welfare Check              RGV
   2300
06/15/2018
                   Welfare Check              RGV
   0011
06/15/2018
                   Welfare Check              RGV
   0100
06/15/2018
                   Welfare Check              RGV
   0354
06/15/2018
                   Welfare Check              RGV
   0400
06/15/2018
                   Welfare Check              RGV
   0500
06/15/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0700
06/15/2018
                   Welfare Check              RGV
   0712
06/15/2018
                   Welfare Check              RGV
   0800
06/15/2018
                   Welfare Check              RGV
   1038
06/15/2018
                   Perm Book Out              RGV
   1054




BLANCA C                                                                        Printed:      8/11/18
DOB:                -File #:                                                    Page 4 of 4
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 69 of 250 Page ID
                                     #:24220




Subject Activity Log


DOMINICK P
                                     Gender:                M
                                     DOB:                           (2 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s): BLANCA                C




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   06/12/2018 1925
Book In Date/Time:  06/14/2018 1124
Book Out Date/Time: 06/15/2018 1054

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                      Expresses Fear of Return?




DOMINICK P                                                                   Printed:      8/11/18
DOB:                     A-File #:                                           Page 1 of 5
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 70 of 250 Page ID
                                  #:24221
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 71 of 250 Page ID
                                  #:24222
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 72 of 250 Page ID
                                  #:24223
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 73 of 250 Page ID
                                  #:24224
   Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 74 of 250 Page ID
                                     #:24225




Subject Activity Log


ALISSON P
                                     Gender:                F
                                     DOB:                          3 yoa)
                                     Nationality:           GUATEMALA
                                     Accompanying Adult(s): MAIRA       S




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/04/2018 2350
Book In Date/Time:  06/05/2018 1531
Book Out Date/Time: 06/06/2018 1139

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




ALISSON P                                                                   Printed:      8/11/18
DOB:                     A-File #:                                          Page 1 of 3
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 75 of 250 Page ID
                                  #:24226
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 76 of 250 Page ID
                                  #:24227
   Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 77 of 250 Page ID
                                     #:24228




Subject Activity Log


MAIRA S
                                   Gender:                F
                                   DOB:
                                   Nationality:           GUATEMALA
                                   Accompanying Adult(s):




                                   Event:
                                   A-File #:
                                   FINS #:
                                   Disposition:
                                                  Detention Reasons:
No Medical Conditions Found                       Immigration Violation




Arrest Date/Time:   06/04/2018 2350
Book In Date/Time:  06/05/2018 1531
Book Out Date/Time: 06/06/2018 1139

Processing Agent:
Transport Officer:
Apprehending Agents

ORR Facility:

Possible Trafficking?                                   Expresses Fear of Return?




MAIRA SASBIN-RODRIGUEZ                                                    Printed:      8/11/18
DOB: 10/08/1985(32 yoa) A-File #: 215759921                               Page 1 of 3
Event: RGC1806000098
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 78 of 250 Page ID
                                      #:24229

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/04/2018
                        Arrest                 N/A
   2350
06/05/2018
                       Book In                 RGC
   0326
06/05/2018
                   Welfare Check               RGC
   0530
06/05/2018
               Served meal(Accepted)           RGC                    Cold Meal
   0530
06/05/2018
                   Welfare Check               RGC
   0930
06/05/2018
                   Welfare Check               RGC
   1000
06/05/2018
                   Welfare Check               RGC
   1126
06/05/2018
               Served meal(Accepted)           RGC                    Cold Meal
   1126
06/05/2018
                   Welfare Check               RGC
   1300
06/05/2018
                      In Transit               RGC
   1434
06/05/2018
                      Received                 RGV
   1531
06/05/2018
                   Welfare Check               RGV
   1600
06/05/2018
               Served meal(Accepted)           RGV                    Cold Meal
   1600
06/05/2018
                   Welfare Check               RGV
   1703
06/05/2018
                   Welfare Check               RGV
   1757
06/05/2018
                   Welfare Check               RGV
   2000
06/05/2018
                Processing Complete            RGV
   2032
06/05/2018
                   Welfare Check               RGV
   2056
06/05/2018
             Snacks, Milk, Juice Provided      RGV
   2159
06/05/2018
                   Welfare Check               RGV
   2159



MAIRA S                                                                           Printed:      8/11/18
DOB:                        A-File #:                                             Page 2 of 3
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 79 of 250 Page ID
                                  #:24230
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 80 of 250 Page ID
                                  #:24231
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 81 of 250 Page ID
                                      #:24232

                                     Subject Activity Log


                                      Station /
Date/Time          Activity                       Agent Name                    Comments
                                      Facility
06/06/2018
                    Arrest              N/A
   2130
06/06/2018
                   Book In              MCS
   2357
06/07/2018
                Welfare Check           MCS
   0801
06/07/2018
                   In Transit           MCS
   1007
06/07/2018
                   Received             RGV
   1035
06/07/2018
                Welfare Check           RGV
   1111
06/07/2018
                Welfare Check           RGV
   1144
06/07/2018
             Served meal(Accepted)      RGV                    Cold Meal - fed
   1144
06/07/2018
                Welfare Check           RGV
   1151
06/07/2018
                Welfare Check           RGV
   1246
06/07/2018
                Welfare Check           RGV
   1310
06/07/2018
                Welfare Check           RGV
   1404
06/07/2018
                Welfare Check           RGV
   1513
06/07/2018
                Welfare Check           RGV
   1600
06/07/2018
             Served meal(Accepted)      RGV                    Cold Meal
   1600
06/07/2018
                Welfare Check           RGV
   1605
06/07/2018
                Welfare Check           RGV
   1718
06/07/2018
                Welfare Check           RGV
   1802
06/07/2018
                Welfare Check           RGV
   1931
06/07/2018
                Welfare Check           RGV
   2015



YENNY T                                                                    Printed:      8/17/18
DOB:                                                                       Page 2 of 5
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 82 of 250 Page ID
                                      #:24233




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/07/2018
                Welfare Check          RGV
   2117
06/07/2018
                Welfare Check          RGV
   2226
06/07/2018
                Welfare Check          RGV
   2235
06/07/2018
             Served meal(Accepted)     RGV                    Cold Meal - snacks
   2235
06/07/2018
                Welfare Check          RGV                    Subject is sound and well
   2300
06/07/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snack provided
   2300
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0000
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0100
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0200
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0300
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0400
06/08/2018
                Welfare Check          RGV
   0911
06/08/2018
                Welfare Check          RGV
   1009
06/08/2018
                Welfare Check          RGV
   1120
06/08/2018
                Welfare Check          RGV
   1206
06/08/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1206
06/08/2018
                Welfare Check          RGV
   1333
06/08/2018
                Welfare Check          RGV
   1414
06/08/2018
                Welfare Check          RGV
   1558
06/08/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1558
06/08/2018
                Welfare Check          RGV
   1703


YENNY T                                                                   Printed:      8/17/18
DOB:                                                                      Page 3 of 5
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 83 of 250 Page ID
                                      #:24234




                                     Station /
Date/Time          Activity                      Agent Name                  Comments
                                     Facility
06/08/2018
                Welfare Check          RGV
   1803
06/08/2018
                Welfare Check          RGV
   1900
06/08/2018
                Welfare Check          RGV
   2002
06/08/2018
                Welfare Check          RGV
   2100
06/08/2018
                Welfare Check          RGV
   2103
06/08/2018
              Processing Complete      RGV
   2158
06/08/2018
                Welfare Check          RGV
   2200
06/08/2018
                Welfare Check          RGV
   2256
06/08/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snacks
   2256
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   2300
06/08/2018
                Welfare Check          RGV
   2330
06/08/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snack provided during roll call
   2330
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0000
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0100
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0200
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0300
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0400
06/09/2018
                Welfare Check          RGV
   0433
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0500
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0600
06/09/2018
                Welfare Check          RGV
   0620


YENNY T                                                                 Printed:      8/17/18
DOB:                                                                    Page 4 of 5
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 84 of 250 Page ID
                                      #:24235




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/09/2018
             Served meal(Accepted)     RGV                    Cold Meal
   0658
06/09/2018
                Perm Book Out          RGV
   1119




YENNY T                                                                   Printed:      8/17/18
DOB:                                                                      Page 5 of 5
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 85 of 250 Page ID
                                  #:24236
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 86 of 250 Page ID
                                      #:24237

                                     Subject Activity Log


                                      Station /
Date/Time          Activity                       Agent Name                    Comments
                                      Facility
06/06/2018
                    Arrest              N/A
   2130
06/06/2018
                   Book In              MCS
   2358
06/07/2018
                Welfare Check           MCS
   0801
06/07/2018
                   In Transit           MCS
   1007
06/07/2018
                   Received             RGV
   1035
06/07/2018
                Welfare Check           RGV
   1111
06/07/2018
                Welfare Check           RGV
   1146
06/07/2018
              UAC Video Shown           RGV                    know what to expect
   1146
06/07/2018
             Served meal(Accepted)      RGV                    Hot Meal - fed
   1146
06/07/2018
                Welfare Check           RGV
   1151
06/07/2018
                Welfare Check           RGV
   1246
06/07/2018
                Welfare Check           RGV
   1310
06/07/2018
                Welfare Check           RGV
   1404
06/07/2018
                Welfare Check           RGV
   1513
06/07/2018
                Welfare Check           RGV
   1600
06/07/2018
             Served meal(Accepted)      RGV                    Cold Meal
   1600
06/07/2018
                Welfare Check           RGV
   1605
06/07/2018
                Welfare Check           RGV
   1718
06/07/2018
                Welfare Check           RGV
   1802
06/07/2018
                Welfare Check           RGV
   1931



AHASTARI O                                                                 Printed:      8/17/18
DOB:                                                                       Page 2 of 5
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 87 of 250 Page ID
                                      #:24238




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/07/2018
                Welfare Check          RGV
   2015
06/07/2018
                Welfare Check          RGV
   2117
06/07/2018
                Welfare Check          RGV
   2226
06/07/2018
                Welfare Check          RGV
   2235
06/07/2018
             Served meal(Accepted)     RGV                    Cold Meal - snacks
   2235
06/07/2018
                Welfare Check          RGV                    Subject is sound and well
   2300
06/07/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snack provided
   2300
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0000
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0100
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0200
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0300
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0400
06/08/2018
                Welfare Check          RGV
   0911
06/08/2018
                Welfare Check          RGV
   1009
06/08/2018
                Welfare Check          RGV
   1120
06/08/2018
                Welfare Check          RGV
   1202
06/08/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1202
06/08/2018
                Welfare Check          RGV
   1206
06/08/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1206
06/08/2018
                Welfare Check          RGV
   1333
06/08/2018
                Welfare Check          RGV
   1414


AHASTARI O                                                               Printed:      8/17/18
DOB:                                                                     Page 3 of 5
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 88 of 250 Page ID
                                      #:24239




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/08/2018
                Welfare Check          RGV
   1558
06/08/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1558
06/08/2018
                Welfare Check          RGV
   1703
06/08/2018
                Welfare Check          RGV
   1803
06/08/2018
                Welfare Check          RGV
   1900
06/08/2018
                Welfare Check          RGV
   2002
06/08/2018
                Welfare Check          RGV
   2100
06/08/2018
                Welfare Check          RGV
   2103
06/08/2018
              Processing Complete      RGV
   2158
06/08/2018
                Welfare Check          RGV
   2200
06/08/2018
                Welfare Check          RGV
   2256
06/08/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snacks
   2256
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   2300
06/08/2018
                Welfare Check          RGV
   2330
06/08/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snack provided during roll call
   2330
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0000
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0100
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0200
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0300
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0400
06/09/2018
                Welfare Check          RGV
   0433


AHASTARI O                                                                Printed:      8/17/18
DOB:                                                                      Page 4 of 5
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 89 of 250 Page ID
                                      #:24240




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0500
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0600
06/09/2018
                Welfare Check          RGV
   0620
06/09/2018
                Welfare Check          RGV
   0956
06/09/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0956
06/09/2018
                Perm Book Out          RGV
   1119




AHASTARI O                                                               Printed:      8/17/18
DOB:                                                                     Page 5 of 5
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 90 of 250 Page ID
                                     #:24241




Subject Activity Log


BRENDA M
                                     Gender:                F
                                     DOB:                           30 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/25/2018 1648
Book In Date/Time:  06/26/2018 0404
Book Out Date/Time: 06/27/2018 1020

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




BRENDA M                                                                    Printed:      7/26/18
DOB:                     A-File #:                                          Page 1 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 91 of 250 Page ID
                                      #:24242

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/25/2018
                        Arrest                 N/A
   1648
06/25/2018
                       Book In                 WSL
   1843
06/25/2018
                    Welfare Check              WSL
   1904
06/25/2018
                    Welfare Check              WSL
   2002
06/25/2018
                    Welfare Check              WSL
   2108
06/25/2018
                    Welfare Check              WSL
   2234
06/25/2018
                Served meal(Accepted)          WSL                    Cold Meal
   2234
06/25/2018
                    Welfare Check              WSL
   2300
06/26/2018
                    Welfare Check              WSL
   0005
06/26/2018
                 Processing Complete           WSL
   0009
06/26/2018
                    Welfare Check              WSL
   0155
06/26/2018
                      In Transit               WSL
   0322
06/26/2018
                      Received                 RGV
   0404
06/26/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0417                Provided
06/26/2018
             Medical Screening Completed       RGV
   0417
06/26/2018                                                            Subject will shower in the morning when
                        Other                  RGV
   0417                                                               staff arrives
06/26/2018
                    Welfare Check              RGV
   0417
06/26/2018
             Snacks, Milk, Juice Provided      RGV
   0417
06/26/2018
                    Welfare Check              RGV
   0505
06/26/2018
                    Welfare Check              RGV
   0601



BRENDA M                                                                          Printed:      7/26/18
DOB:                        A-File #:                                             Page 2 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 92 of 250 Page ID
                                      #:24243




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/26/2018
                   Welfare Check              RGV
   0602
06/26/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0602
06/26/2018
                   Welfare Check              RGV
   0717
06/26/2018
                   Welfare Check              RGV
   1104
06/26/2018
                   Welfare Check              RGV
   1245
06/26/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1245
06/26/2018
                   Welfare Check              RGV
   1508
06/26/2018
                   Welfare Check              RGV
   1600
06/26/2018
                   Welfare Check              RGV
   1645
06/26/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1645
06/26/2018
                   Welfare Check              RGV
   1708
06/26/2018
                   Welfare Check              RGV
   1800
06/26/2018
                   Welfare Check              RGV
   1900
06/26/2018
             Snacks, Milk, Juice Provided     RGV
   2003
06/26/2018
                   Welfare Check              RGV
   2003
06/26/2018
                   Welfare Check              RGV
   2102
06/26/2018
                   Welfare Check              RGV
   2205
06/26/2018
                   Welfare Check              RGV
   2303
06/26/2018
                   Welfare Check              RGV
   2314
06/27/2018
                   Welfare Check              RGV
   0100
06/27/2018
                   Welfare Check              RGV
   0200


BRENDA M                                                                         Printed:      7/26/18
DOB:                -File #:                                                     Page 3 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 93 of 250 Page ID
                                      #:24244




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/27/2018
                Welfare Check          RGV
   0441
06/27/2018
                Welfare Check          RGV
   0500
06/27/2018
                Welfare Check          RGV
   0605
06/27/2018
                Welfare Check          RGV
   0700
06/27/2018
                Welfare Check          RGV
   0816
06/27/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0816
06/27/2018
                Welfare Check          RGV
   0820
06/27/2018
                Perm Book Out          RGV
   1020




BRENDA M                                                                 Printed:      7/26/18
DOB:            A-File #:                                                Page 4 of 4
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 94 of 250 Page ID
                                     #:24245




Subject Activity Log


MARCOS R
                                     Gender:                M
                                     DOB:                           12 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s): BRENDA          M




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/25/2018 1648
Book In Date/Time:  06/26/2018 0404
Book Out Date/Time: 06/27/2018 1020

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




MARCOS R                                                                    Printed:      7/26/18
DOB:                     A-File #:                                          Page 1 of 4
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 95 of 250 Page ID
                                  #:24246
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 96 of 250 Page ID
                                      #:24247




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/26/2018
                   Welfare Check              RGV
   0602
06/26/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0602
06/26/2018
                 UAC Video Shown              RGV
   0603
06/26/2018
                  Shower Provided             RGV
   0705
06/26/2018
                   Welfare Check              RGV
   0717
06/26/2018
                   Welfare Check              RGV
   1104
06/26/2018
                   Welfare Check              RGV
   1245
06/26/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1245
06/26/2018
                   Welfare Check              RGV
   1508
06/26/2018
                   Welfare Check              RGV
   1600
06/26/2018
                   Welfare Check              RGV
   1645
06/26/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1645
06/26/2018
                   Welfare Check              RGV
   1708
06/26/2018
                   Welfare Check              RGV
   1800
06/26/2018
             Rejoined With Family Unit        RGV                    Family visit.
   1830
06/26/2018
                   Welfare Check              RGV
   1900
06/26/2018
               Separated from Family          RGV                    Cell - Operationally infeasible.
   1915
06/26/2018
             Snacks, Milk, Juice Provided     RGV
   2003
06/26/2018
                   Welfare Check              RGV
   2003
06/26/2018
                   Welfare Check              RGV
   2102
06/26/2018
                   Welfare Check              RGV
   2205


MARCOS R                                                                         Printed:      7/26/18
DOB:               A-File #:                                                     Page 3 of 4
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 97 of 250 Page ID
                                  #:24248
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 98 of 250 Page ID
                                  #:24249
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 99 of 250 Page ID
                                      #:24250

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/22/2018
                        Arrest                 N/A
   1900
06/22/2018
                       Book In                 MCS
   1956
06/22/2018
                    Welfare Check              MCS                    every person is well
   2100
06/22/2018
                    Welfare Check              MCS                    everyone is well
   2216
06/23/2018
                    Welfare Check              MCS
   0807
06/23/2018
                    Welfare Check              MCS
   0953
06/23/2018
                    Welfare Check              MCS
   1034
06/23/2018
                    Welfare Check              MCS
   1203
06/23/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1203
06/23/2018
                    Welfare Check              MCS
   1204
06/23/2018
                    Welfare Check              MCS
   1246
06/23/2018
                    Welfare Check              MCS
   1419
06/24/2018   Sleeping Cot/Mat and Blanket
                                               MCS
   0159                Provided
06/24/2018
             Medical Screening Completed       MCS
   0159
06/24/2018
                    Welfare Check              MCS
   0159
06/24/2018
             Snacks, Milk, Juice Provided      MCS
   0159
06/24/2018
                      In Transit               MCS
   0244
06/24/2018
                      Received                 RGV
   0305
06/24/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0306                Provided
06/24/2018
             Medical Screening Completed       RGV
   0306



KEILA P                                                                           Printed:      8/17/18
DOB:                                                                              Page 2 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 100 of 250 Page ID
                                      #:24251




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/24/2018                                                           Subject will shower in the morning when
                        Other                 RGV
   0306                                                              staff arrives
06/24/2018
                   Welfare Check              RGV
   0306
06/24/2018
             Snacks, Milk, Juice Provided     RGV
   0306
06/24/2018
                   Welfare Check              RGV
   0309
06/24/2018
                   Welfare Check              RGV
   0400
06/24/2018
                   Welfare Check              RGV
   0513
06/24/2018
                   Welfare Check              RGV
   0719
06/24/2018
                  Shower Provided             RGV
   0734
06/24/2018
                   Welfare Check              RGV
   0744
06/24/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0744
06/24/2018
                   Welfare Check              RGV
   0805
06/24/2018
                   Welfare Check              RGV
   0901
06/24/2018
                   Welfare Check              RGV
   1221
06/24/2018
                   Welfare Check              RGV
   1358
06/24/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1358
06/24/2018
                   Welfare Check              RGV
   1413
06/24/2018
                   Welfare Check              RGV
   1510
06/24/2018
                   Welfare Check              RGV
   1604
06/24/2018
                   Welfare Check              RGV
   1605
06/24/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1605
06/24/2018
                   Welfare Check              RGV
   1701


KEILA P                                                                          Printed:      8/17/18
DOB:                                                                             Page 3 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 101 of 250 Page ID
                                      #:24252




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/24/2018
                   Welfare Check              RGV
   1815
06/24/2018
                   Welfare Check              RGV
   1909
06/24/2018
             Snacks, Milk, Juice Provided     RGV
   2016
06/24/2018
                   Welfare Check              RGV
   2016
06/24/2018
                   Welfare Check              RGV
   2109
06/24/2018
                   Welfare Check              RGV
   2203
06/24/2018
                   Welfare Check              RGV
   2309
06/25/2018
                   Welfare Check              RGV
   0018
06/25/2018
                   Welfare Check              RGV
   0101
06/25/2018
                   Welfare Check              RGV
   0122
06/25/2018
                   Welfare Check              RGV
   0205
06/25/2018
                   Welfare Check              RGV
   0304
06/25/2018
                   Welfare Check              RGV
   0308
06/25/2018
                   Welfare Check              RGV
   0407
06/25/2018
                   Welfare Check              RGV
   0511
06/25/2018
                   Welfare Check              RGV
   0648
06/25/2018
                   Welfare Check              RGV
   0649
06/25/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0649
06/25/2018
                   Welfare Check              RGV
   0707
06/25/2018
                   Welfare Check              RGV
   0744
06/25/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0744


KEILA P                                                                         Printed:      8/17/18
DOB:                                                                            Page 4 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 102 of 250 Page ID
                                      #:24253




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/25/2018
                   Welfare Check              RGV
   0830
06/25/2018
                   Welfare Check              RGV
   1021
06/25/2018
                Processing Complete           RGV
   1211
06/25/2018
                   Welfare Check              RGV
   1318
06/25/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1318
06/25/2018
                   Welfare Check              RGV
   1400
06/25/2018
                   Welfare Check              RGV
   1434
06/25/2018
                   Welfare Check              RGV
   1507
06/25/2018
                   Welfare Check              RGV
   1609
06/25/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1609
06/25/2018
                   Welfare Check              RGV
   1612
06/25/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1612
06/25/2018
                   Welfare Check              RGV
   1726
06/25/2018
                   Welfare Check              RGV
   1828
06/25/2018
                   Welfare Check              RGV
   1909
06/25/2018
                   Welfare Check              RGV
   2001
06/25/2018
                   Welfare Check              RGV
   2111
06/25/2018
                   Welfare Check              RGV
   2143
06/25/2018
             Snacks, Milk, Juice Provided     RGV
   2201
06/25/2018
                   Welfare Check              RGV
   2201
06/25/2018
                   Welfare Check              RGV
   2243


KEILA P                                                                          Printed:      8/17/18
DOB:                                                                             Page 5 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 103 of 250 Page ID
                                      #:24254




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/25/2018
                Welfare Check          RGV
   2314
06/26/2018
                Welfare Check          RGV
   0005
06/26/2018
                Welfare Check          RGV
   0120
06/26/2018
                Welfare Check          RGV
   0201
06/26/2018
                Welfare Check          RGV
   0213
06/26/2018
                Welfare Check          RGV
   0306
06/26/2018
                Welfare Check          RGV
   0401
06/26/2018
                Welfare Check          RGV
   0505
06/26/2018
                Welfare Check          RGV
   0601
06/26/2018
                Welfare Check          RGV
   0602
06/26/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0602
06/26/2018
                Welfare Check          RGV
   0717
06/26/2018
                Perm Book Out          RGV
   1017




KEILA P                                                                  Printed:      8/17/18
DOB:                                                                     Page 6 of 6
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 104 of 250 Page ID
                                  #:24255
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 105 of 250 Page ID
                                      #:24256

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/22/2018
                        Arrest                 N/A
   1900
06/22/2018
                       Book In                 MCS
   1957
06/22/2018
                    Welfare Check              MCS                    every person is well
   2100
06/22/2018
                    Welfare Check              MCS                    everyone is well
   2216
06/23/2018
                    Welfare Check              MCS
   0807
06/23/2018
                    Welfare Check              MCS
   0953
06/23/2018
                    Welfare Check              MCS
   1034
06/23/2018
                    Welfare Check              MCS
   1203
06/23/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1203
06/23/2018
                    Welfare Check              MCS
   1204
06/23/2018
                    Welfare Check              MCS
   1246
06/23/2018
                    Welfare Check              MCS
   1419
06/24/2018   Sleeping Cot/Mat and Blanket
                                               MCS
   0159                Provided
06/24/2018
             Medical Screening Completed       MCS
   0159
06/24/2018
                    Welfare Check              MCS
   0159
06/24/2018
             Snacks, Milk, Juice Provided      MCS
   0159
06/24/2018
                      In Transit               MCS
   0244
06/24/2018
                      Received                 RGV
   0305
06/24/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0306                Provided
06/24/2018
             Medical Screening Completed       RGV
   0306



BRIANA I                                                                          Printed:      8/17/18
DOB:                                                                              Page 2 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 106 of 250 Page ID
                                      #:24257




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/24/2018                                                           Subject will shower in the morning when
                        Other                 RGV
   0306                                                              staff arrives
06/24/2018
                   Welfare Check              RGV
   0306
06/24/2018
             Snacks, Milk, Juice Provided     RGV
   0306
06/24/2018
                   Welfare Check              RGV
   0309
06/24/2018
                   Welfare Check              RGV
   0400
06/24/2018
                   Welfare Check              RGV
   0513
06/24/2018
                   Welfare Check              RGV
   0719
06/24/2018
                  Shower Provided             RGV
   0734
06/24/2018
                   Welfare Check              RGV
   0744
06/24/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0744
06/24/2018
                   Welfare Check              RGV
   0805
06/24/2018
                   Welfare Check              RGV
   0901
06/24/2018
                   Welfare Check              RGV
   1221
06/24/2018
                   Welfare Check              RGV
   1358
06/24/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1358
06/24/2018
                   Welfare Check              RGV
   1413
06/24/2018
                   Welfare Check              RGV
   1510
06/24/2018
                   Welfare Check              RGV
   1604
06/24/2018
                   Welfare Check              RGV
   1605
06/24/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1605
06/24/2018
                   Welfare Check              RGV
   1701


BRIANA I                                                                         Printed:      8/17/18
DOB:                                                                             Page 3 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 107 of 250 Page ID
                                      #:24258




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/24/2018
                   Welfare Check              RGV
   1815
06/24/2018
                   Welfare Check              RGV
   1909
06/24/2018
             Snacks, Milk, Juice Provided     RGV
   2016
06/24/2018
                   Welfare Check              RGV
   2016
06/24/2018
                   Welfare Check              RGV
   2109
06/24/2018
                   Welfare Check              RGV
   2203
06/24/2018
                   Welfare Check              RGV
   2229
06/24/2018
               Served meal(Accepted)          RGV                    Cold Meal - snacks
   2229
06/24/2018
                   Welfare Check              RGV
   2309
06/25/2018
                   Welfare Check              RGV
   0018
06/25/2018
                   Welfare Check              RGV
   0101
06/25/2018
                   Welfare Check              RGV
   0122
06/25/2018
                   Welfare Check              RGV
   0205
06/25/2018
                   Welfare Check              RGV
   0304
06/25/2018
                   Welfare Check              RGV
   0308
06/25/2018
                   Welfare Check              RGV
   0407
06/25/2018
                   Welfare Check              RGV
   0511
06/25/2018
                   Welfare Check              RGV
   0648
06/25/2018
                   Welfare Check              RGV
   0649
06/25/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0649
06/25/2018
                 UAC Video Shown              RGV
   0650


BRIANA I                                                                        Printed:      8/17/18
DOB:                                                                            Page 4 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 108 of 250 Page ID
                                      #:24259




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/25/2018
                Welfare Check          RGV
   0707
06/25/2018
                Welfare Check          RGV
   0744
06/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0744
06/25/2018
                Welfare Check          RGV
   0830
06/25/2018
                Welfare Check          RGV
   1021
06/25/2018
              Processing Complete      RGV
   1211
06/25/2018
                Welfare Check          RGV
   1318
06/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1318
06/25/2018
                Welfare Check          RGV
   1400
06/25/2018
                Welfare Check          RGV
   1434
06/25/2018
                Welfare Check          RGV
   1507
06/25/2018
                Welfare Check          RGV
   1609
06/25/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1609
06/25/2018
                Welfare Check          RGV
   1612
06/25/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1612
06/25/2018
                Welfare Check          RGV
   1726
06/25/2018
                Welfare Check          RGV
   1828
06/25/2018
                Welfare Check          RGV
   1909
06/25/2018
                Welfare Check          RGV
   2001
06/25/2018
                Welfare Check          RGV
   2111
06/25/2018
                Welfare Check          RGV
   2143


BRIANA I                                                                  Printed:      8/17/18
DOB:                                                                      Page 5 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 109 of 250 Page ID
                                      #:24260




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/25/2018
             Snacks, Milk, Juice Provided     RGV
   2201
06/25/2018
                   Welfare Check              RGV
   2201
06/25/2018
                   Welfare Check              RGV
   2243
06/25/2018
                   Welfare Check              RGV
   2314
06/26/2018
                   Welfare Check              RGV
   0005
06/26/2018
                   Welfare Check              RGV
   0120
06/26/2018
                   Welfare Check              RGV
   0201
06/26/2018
                   Welfare Check              RGV
   0213
06/26/2018
                   Welfare Check              RGV
   0306
06/26/2018
                   Welfare Check              RGV
   0401
06/26/2018
                   Welfare Check              RGV
   0505
06/26/2018
                   Welfare Check              RGV
   0601
06/26/2018
                   Welfare Check              RGV
   0602
06/26/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0602
06/26/2018
                 UAC Video Shown              RGV
   0603
06/26/2018
                   Welfare Check              RGV
   0717
06/26/2018
                  Shower Provided             RGV
   0719
06/26/2018
                   Perm Book Out              RGV
   1017




BRIANA I                                                                        Printed:      8/17/18
DOB:                                                                            Page 6 of 6
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 110 of 250 Page ID
                                  #:24261
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 111 of 250 Page ID
                                      #:24262

                                       Subject Activity Log


                                        Station /
Date/Time           Activity                        Agent Name                    Comments
                                        Facility
06/18/2018
                     Arrest               N/A
   2030
06/18/2018
                    Book In               MCS
   2321
06/19/2018
                 Welfare Check            MCS
   0007
06/19/2018
                 Welfare Check            MCS
   0207
06/19/2018
                 Welfare Check            MCS
   0659
06/19/2018
                 Welfare Check            MCS
   0709
06/19/2018
              Served meal(Accepted)       MCS                    Cold Meal
   0709
06/19/2018
                    In Transit            MCS
   1111
06/19/2018
                Shower Provided           RGV
   1125
06/19/2018
             Medical Treatment (OBP)      RGV
   1125
06/19/2018
              Served meal(Accepted)       RGV                    Hot Meal
   1125
06/19/2018
                 Welfare Check            RGV
   1125
06/19/2018
                    Received              RGV
   1125
06/19/2018
                 Welfare Check            RGV
   1131
06/19/2018
                 Welfare Check            RGV
   1217
06/19/2018
              Served meal(Accepted)       RGV                    Hot Meal
   1217
06/19/2018
                 Welfare Check            RGV
   1302
06/19/2018
                 Welfare Check            RGV
   1500
06/19/2018
                 Welfare Check            RGV
   1558
06/19/2018
              Served meal(Accepted)       RGV                    Cold Meal
   1558



ROSA P                                                                       Printed:      8/17/18
DOB:                                                                         Page 2 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 112 of 250 Page ID
                                      #:24263




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/19/2018
                Welfare Check          RGV
   1727
06/19/2018
                Welfare Check          RGV
   1816
06/19/2018
                Welfare Check          RGV
   1901
06/19/2018
                Welfare Check          RGV
   2004
06/19/2018
                Welfare Check          RGV
   2105
06/19/2018
                Welfare Check          RGV
   2202
06/19/2018
                Welfare Check          RGV
   2259
06/20/2018
                Welfare Check          RGV
   0022
06/20/2018
                Welfare Check          RGV
   0148
06/20/2018
                Welfare Check          RGV
   0432
06/20/2018
                Welfare Check          RGV
   0528
06/20/2018
                Welfare Check          RGV
   0815
06/20/2018
                Welfare Check          RGV
   0833
06/20/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0833
06/20/2018
              Processing Complete      RGV
   0957
06/20/2018
                Welfare Check          RGV
   1000
06/20/2018
                Welfare Check          RGV
   1213
06/20/2018
                Welfare Check          RGV
   1214
06/20/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1214
06/20/2018
                Welfare Check          RGV
   1502
06/20/2018
                Welfare Check          RGV
   1616


ROSA P                                                                   Printed:      8/17/18
DOB:                                                                     Page 3 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 113 of 250 Page ID
                                      #:24264




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/20/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1616
06/20/2018
                   Welfare Check              RGV
   1715
06/20/2018
                   Welfare Check              RGV
   1816
06/20/2018
                   Welfare Check              RGV
   1901
06/20/2018
                   Welfare Check              RGV
   2000
06/20/2018
             Snacks, Milk, Juice Provided     RGV
   2003
06/20/2018
                   Welfare Check              RGV
   2003
06/20/2018
                   Welfare Check              RGV
   2143
06/20/2018
                   Welfare Check              RGV
   2215
06/20/2018
                   Welfare Check              RGV
   2301
06/20/2018
                   Welfare Check              RGV
   2329
06/21/2018
                   Welfare Check              RGV
   0023
06/21/2018
                   Welfare Check              RGV
   0101
06/21/2018
                   Welfare Check              RGV
   0330
06/21/2018
                   Welfare Check              RGV
   0416
06/21/2018
                   Welfare Check              RGV
   0500
06/21/2018
                   Welfare Check              RGV
   0609
06/21/2018
                   Welfare Check              RGV
   0821
06/21/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0821
06/21/2018
                   Welfare Check              RGV
   1127
06/21/2018
                   Welfare Check              RGV
   1313


ROSA P                                                                           Printed:      8/17/18
DOB:                                                                             Page 4 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 114 of 250 Page ID
                                      #:24265




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/21/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1313
06/21/2018
                Welfare Check          RGV
   1435
06/21/2018
                Welfare Check          RGV
   1605
06/21/2018
                Welfare Check          RGV
   1656
06/21/2018
                Welfare Check          RGV
   1800
06/21/2018
                Welfare Check          RGV
   1901
06/21/2018
                Welfare Check          RGV
   1936
06/21/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1936
06/21/2018
                Welfare Check          RGV
   1957
06/21/2018
                Welfare Check          RGV
   2059
06/21/2018
                Welfare Check          RGV
   2157
06/21/2018
                Welfare Check          RGV
   2219
06/22/2018
                Welfare Check          RGV
   0108
06/22/2018
                Welfare Check          RGV
   0152
06/22/2018
                Welfare Check          RGV
   0459
06/22/2018
                Welfare Check          RGV
   0606
06/22/2018
                Welfare Check          RGV
   0700
06/22/2018
                Welfare Check          RGV
   0753
06/22/2018
                Welfare Check          RGV
   0800
06/22/2018
                Welfare Check          RGV
   0803
06/22/2018
                Welfare Check          RGV
   0815


ROSA P                                                                   Printed:      8/17/18
DOB:                                                                     Page 5 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 115 of 250 Page ID
                                      #:24266




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/22/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0815
06/22/2018
                Welfare Check          RGV
   0905
06/22/2018
                Welfare Check          RGV
   0935
06/22/2018
                Welfare Check          RGV
   1004
06/22/2018
                Welfare Check          RGV
   1103
06/22/2018
                Welfare Check          RGV
   1110
06/22/2018
                Welfare Check          RGV
   1222
06/22/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1222
06/22/2018
                Welfare Check          RGV
   1733
06/22/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1733
06/22/2018
                Welfare Check          RGV
   1813
06/22/2018
                Welfare Check          RGV
   1904
06/23/2018
                Welfare Check          RGV
   0304
06/23/2018
                Welfare Check          RGV
   0752
06/23/2018
                Welfare Check          RGV
   0802
06/23/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0802
06/23/2018
                Welfare Check          RGV
   1000
06/23/2018
                Welfare Check          RGV
   1100
06/23/2018
                Welfare Check          RGV
   1243
06/23/2018
                Welfare Check          RGV
   1247
06/23/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1247


ROSA P                                                                    Printed:      8/17/18
DOB:                                                                      Page 6 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 116 of 250 Page ID
                                      #:24267




                                  Station /
Date/Time         Activity                    Agent Name             Comments
                                  Facility
06/23/2018
                Welfare Check       RGV
   1300
06/23/2018
                Perm Book Out       RGV
   1305




ROSA P                                                          Printed:      8/17/18
DOB:                                                            Page 7 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 117 of 250 Page ID
                                  #:24268
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 118 of 250 Page ID
                                      #:24269

                                       Subject Activity Log


                                        Station /
Date/Time           Activity                        Agent Name                    Comments
                                        Facility
06/18/2018
                     Arrest               N/A
   2030
06/18/2018
                    Book In               MCS
   2322
06/19/2018
                 Welfare Check            MCS
   0007
06/19/2018
                 Welfare Check            MCS
   0207
06/19/2018
                 Welfare Check            MCS
   0346
06/19/2018
              Served meal(Accepted)       MCS                    Cold Meal - sandwich juice
   0346
06/19/2018
                 Welfare Check            MCS
   0659
06/19/2018
                 Welfare Check            MCS
   0709
06/19/2018
              Served meal(Accepted)       MCS                    Cold Meal
   0709
06/19/2018
                    In Transit            MCS
   1111
06/19/2018
                Shower Provided           RGV
   1125
06/19/2018
             Medical Treatment (OBP)      RGV
   1125
06/19/2018
              Served meal(Accepted)       RGV                    Hot Meal
   1125
06/19/2018
                 Welfare Check            RGV
   1125
06/19/2018
                    Received              RGV
   1125
06/19/2018
              Separated from Family       RGV                    Cell - Operationally infeasible.
   1131
06/19/2018
                 Welfare Check            RGV
   1131
06/19/2018
                 Welfare Check            RGV
   1217
06/19/2018
              Served meal(Accepted)       RGV                    Hot Meal
   1217
06/19/2018
                 Welfare Check            RGV
   1302



GRISELDA C                                                                   Printed:      8/17/18
DOB:                                                                         Page 2 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 119 of 250 Page ID
                                      #:24270




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/19/2018
                   Welfare Check              RGV
   1500
06/19/2018
                   Welfare Check              RGV
   1558
06/19/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1558
06/19/2018
                   Welfare Check              RGV
   1727
06/19/2018
                   Welfare Check              RGV
   1816
06/19/2018
                   Welfare Check              RGV
   1901
06/19/2018
                   Welfare Check              RGV
   2004
06/19/2018
                   Welfare Check              RGV
   2105
06/19/2018
                   Welfare Check              RGV
   2202
06/19/2018
             Snacks, Milk, Juice Provided     RGV
   2203
06/19/2018
                   Welfare Check              RGV
   2203
06/19/2018
                   Welfare Check              RGV
   2259
06/20/2018
                   Welfare Check              RGV
   0022
06/20/2018
                   Welfare Check              RGV
   0148
06/20/2018
                   Welfare Check              RGV
   0432
06/20/2018
                   Welfare Check              RGV
   0528
06/20/2018
                   Welfare Check              RGV
   0815
06/20/2018
                   Welfare Check              RGV
   0833
06/20/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0833
06/20/2018
                Processing Complete           RGV
   0957
06/20/2018
                   Welfare Check              RGV
   1000


GRISELDA C                                                                       Printed:      8/17/18
DOB:                                                                             Page 3 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 120 of 250 Page ID
                                      #:24271




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/20/2018
                   Welfare Check              RGV
   1213
06/20/2018
                   Welfare Check              RGV
   1214
06/20/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1214
06/20/2018
                   Welfare Check              RGV
   1502
06/20/2018
                   Welfare Check              RGV
   1616
06/20/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1616
06/20/2018
                   Welfare Check              RGV
   1715
06/20/2018
                   Welfare Check              RGV
   1816
06/20/2018
             Rejoined With Family Unit        RGV                    Family visit.
   1830
06/20/2018
               Separated from Family          RGV                    Cell - Operationally infeasible.
   1900
06/20/2018
                   Welfare Check              RGV
   1901
06/20/2018
                   Welfare Check              RGV
   2000
06/20/2018
             Snacks, Milk, Juice Provided     RGV
   2003
06/20/2018
                   Welfare Check              RGV
   2003
06/20/2018
                   Welfare Check              RGV
   2143
06/20/2018
                   Welfare Check              RGV
   2215
06/20/2018
                   Welfare Check              RGV
   2231
06/20/2018
               Served meal(Accepted)          RGV                    Cold Meal - SNACK
   2231
06/20/2018
                   Welfare Check              RGV
   2301
06/20/2018
                   Welfare Check              RGV
   2329
06/21/2018
                   Welfare Check              RGV
   0023


GRISELDA C                                                                       Printed:      8/17/18
DOB:                                                                             Page 4 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 121 of 250 Page ID
                                      #:24272




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/21/2018
                Welfare Check          RGV
   0101
06/21/2018
                Welfare Check          RGV
   0330
06/21/2018
                Welfare Check          RGV
   0416
06/21/2018
                Welfare Check          RGV
   0500
06/21/2018
                Welfare Check          RGV
   0609
06/21/2018
                Welfare Check          RGV
   0821
06/21/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0821
06/21/2018
                Welfare Check          RGV
   1127
06/21/2018
                Welfare Check          RGV
   1313
06/21/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1313
06/21/2018
                Welfare Check          RGV
   1435
06/21/2018
                Welfare Check          RGV
   1605
06/21/2018
                Welfare Check          RGV
   1656
06/21/2018
                Welfare Check          RGV
   1800
06/21/2018
                Welfare Check          RGV
   1901
06/21/2018
                Welfare Check          RGV
   1936
06/21/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1936
06/21/2018
                Welfare Check          RGV
   1957
06/21/2018
                Welfare Check          RGV
   2059
06/21/2018
                Welfare Check          RGV
   2157
06/21/2018
                Welfare Check          RGV
   2219


GRISELDA C                                                               Printed:      8/17/18
DOB:                                                                     Page 5 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 122 of 250 Page ID
                                      #:24273




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/22/2018
                Welfare Check          RGV
   0108
06/22/2018
                Welfare Check          RGV
   0152
06/22/2018
                Welfare Check          RGV
   0459
06/22/2018
                Welfare Check          RGV
   0606
06/22/2018
                Welfare Check          RGV
   0700
06/22/2018
                Welfare Check          RGV
   0753
06/22/2018
                Welfare Check          RGV
   0800
06/22/2018
                Welfare Check          RGV
   0803
06/22/2018
                Welfare Check          RGV
   0815
06/22/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0815
06/22/2018
                Welfare Check          RGV
   0905
06/22/2018
                Welfare Check          RGV
   0935
06/22/2018
                Welfare Check          RGV
   1004
06/22/2018
                Welfare Check          RGV
   1103
06/22/2018
                Welfare Check          RGV
   1110
06/22/2018
                Welfare Check          RGV
   1222
06/22/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1222
06/22/2018
                Welfare Check          RGV
   1733
06/22/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1733
06/22/2018
                Welfare Check          RGV
   1813
06/22/2018
                Welfare Check          RGV
   1904


GRISELDA C                                                                Printed:      8/17/18
DOB:                                                                      Page 6 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 123 of 250 Page ID
                                      #:24274




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/23/2018
                Welfare Check          RGV
   0304
06/23/2018
                Welfare Check          RGV
   0752
06/23/2018
                Welfare Check          RGV
   0802
06/23/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0802
06/23/2018
                Welfare Check          RGV
   1000
06/23/2018
                Welfare Check          RGV
   1100
06/23/2018
                Welfare Check          RGV
   1243
06/23/2018
                Welfare Check          RGV
   1247
06/23/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1247
06/23/2018
                Welfare Check          RGV
   1300
06/23/2018
                Perm Book Out          RGV
   1305




GRISELDA C                                                               Printed:      8/17/18
DOB:                                                                     Page 7 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 124 of 250 Page ID
                                  #:24275
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 125 of 250 Page ID
                                      #:24276

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
05/29/2018
                        Arrest                 N/A
   1630
05/29/2018
                       Book In                 FTB
   1754
05/29/2018
                   Welfare Check               FTB
   1812
05/29/2018
               Served meal(Accepted)           FTB                    Cold Meal
   1812
05/29/2018
                   Welfare Check               FTB
   1823
05/29/2018
                   Welfare Check               FTB
   1911
05/29/2018
                   Welfare Check               FTB
   2001
05/29/2018
                   Welfare Check               FTB
   2118
05/29/2018
                   Welfare Check               FTB
   2119
05/29/2018
                   Temp Book Out             Hospital
   2130
05/31/2018
                       Book In                 FTB
   1550
05/31/2018
             Snacks, Milk, Juice Provided      FTB
   1603
05/31/2018
                   Welfare Check               FTB
   1603
05/31/2018
                   Welfare Check               FTB
   1729
05/31/2018
                   Welfare Check               FTB
   1749
05/31/2018
                   Welfare Check               FTB
   1905
05/31/2018
             Snacks, Milk, Juice Provided      FTB
   1931
05/31/2018
               Served meal(Accepted)           FTB                    Hot Meal
   1931
05/31/2018
                   Welfare Check               FTB
   1931
05/31/2018
                   Welfare Check               FTB
   2155



SAUDI S                                                                           Printed:      8/17/18
DOB:                                                                              Page 2 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 126 of 250 Page ID
                                      #:24277




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/01/2018
                    Welfare Check             FTB
   0000
06/01/2018
                    Welfare Check             FTB
   0100
06/01/2018
                    Welfare Check             FTB
   0112
06/01/2018
                Served meal(Accepted)         FTB                    Cold Meal
   0112
06/01/2018
                    Welfare Check             FTB
   0200
06/01/2018
                    Welfare Check             FTB
   0300
06/01/2018
                    Welfare Check             FTB
   0400
06/01/2018
                    Welfare Check             FTB
   0500
06/01/2018
                    Welfare Check             FTB
   0729
06/01/2018
                    Welfare Check             FTB
   0853
06/01/2018
                Served meal(Accepted)         FTB                    Cold Meal
   0853
06/01/2018
                      In Transit              FTB
   0949
06/01/2018
                      Received                RGV
   1156
06/01/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   1229                Provided
06/01/2018
              Medical Treatment (OBP)         RGV
   1229
06/01/2018
                Served meal(Accepted)         RGV                    Hot Meal
   1229
06/01/2018
                    Welfare Check             RGV
   1229
06/01/2018
                   Shower Provided            RGV
   1229
06/01/2018
                    Welfare Check             RGV
   1404
06/01/2018
                    Welfare Check             RGV
   1425
06/01/2018
                Served meal(Accepted)         RGV                    Hot Meal
   1425


SAUDI S                                                                          Printed:      8/17/18
DOB:                                                                             Page 3 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 127 of 250 Page ID
                                      #:24278




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/01/2018
                   Welfare Check              RGV
   1511
06/01/2018
                   Welfare Check              RGV
   1539
06/01/2018
                   Welfare Check              RGV
   1600
06/01/2018
                   Welfare Check              RGV
   1609
06/01/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1609
06/01/2018
                   Welfare Check              RGV
   1714
06/01/2018
                   Welfare Check              RGV
   1809
06/01/2018
                   Welfare Check              RGV
   1914
06/01/2018
                   Welfare Check              RGV
   2002
06/01/2018
                   Welfare Check              RGV
   2100
06/01/2018
                   Welfare Check              RGV
   2200
06/01/2018
             Snacks, Milk, Juice Provided     RGV
   2202
06/01/2018
                   Welfare Check              RGV
   2202
06/01/2018
                   Welfare Check              RGV
   2258
06/02/2018
                   Welfare Check              RGV
   0022
06/02/2018
                   Welfare Check              RGV
   0200
06/02/2018
                   Welfare Check              RGV
   0240
06/02/2018
                   Welfare Check              RGV
   0300
06/02/2018
                   Welfare Check              RGV
   0304
06/02/2018
                   Welfare Check              RGV
   0702
06/02/2018
               Served meal(Accepted)          RGV                    Cold Meal
   0702


SAUDI S                                                                          Printed:      8/17/18
DOB:                                                                             Page 4 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 128 of 250 Page ID
                                      #:24279




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/02/2018
                Welfare Check          RGV
   0704
06/02/2018
                Welfare Check          RGV
   0709
06/02/2018
             Served meal(Accepted)     RGV                    Cold Meal
   0709
06/02/2018
                Welfare Check          RGV
   0900
06/02/2018
                Welfare Check          RGV
   1002
06/02/2018
                Welfare Check          RGV
   1101
06/02/2018
                Welfare Check          RGV
   1203
06/02/2018
                Welfare Check          RGV
   1205
06/02/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1205
06/02/2018
                Welfare Check          RGV
   1332
06/02/2018
                Welfare Check          RGV
   1359
06/02/2018
                Welfare Check          RGV
   1439
06/02/2018
                Welfare Check          RGV
   1500
06/02/2018
                Welfare Check          RGV
   1516
06/02/2018
                Welfare Check          RGV
   1613
06/02/2018
                Welfare Check          RGV
   1615
06/02/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1615
06/02/2018
                Welfare Check          RGV
   1708
06/02/2018
                Welfare Check          RGV
   1803
06/02/2018
                Welfare Check          RGV
   1934
06/02/2018
                Welfare Check          RGV
   2019


SAUDI S                                                                   Printed:      8/17/18
DOB:                                                                      Page 5 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 129 of 250 Page ID
                                      #:24280




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/02/2018
                   Welfare Check              RGV
   2107
06/02/2018
                   Welfare Check              RGV
   2215
06/02/2018
             Snacks, Milk, Juice Provided     RGV                    crackers, juice, apple
   2220
06/02/2018
                   Welfare Check              RGV
   2220
06/02/2018
                   Welfare Check              RGV
   2300
06/02/2018
                   Welfare Check              RGV
   2301
06/03/2018
                   Welfare Check              RGV
   0005
06/03/2018
                   Welfare Check              RGV
   0147
06/03/2018
                   Welfare Check              RGV
   0157
06/03/2018
                   Welfare Check              RGV
   0205
06/03/2018
                   Welfare Check              RGV
   0234
06/03/2018
                   Welfare Check              RGV
   0322
06/03/2018
                   Welfare Check              RGV
   0431
06/03/2018
                   Welfare Check              RGV
   0507
06/03/2018
                   Welfare Check              RGV
   0546
06/03/2018
                   Welfare Check              RGV
   0612
06/03/2018
                   Welfare Check              RGV
   0719
06/03/2018
               Served meal(Accepted)          RGV                    Hot Meal - Breakfast served at 0710
   0719
06/03/2018
                   Welfare Check              RGV                    welfare check 0805
   0805
06/03/2018
                   Perm Book Out              RGV
   1031




SAUDI S                                                                         Printed:      8/17/18
DOB:                                                                            Page 6 of 6
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 130 of 250 Page ID
                                  #:24281
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 131 of 250 Page ID
                                      #:24282

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
05/29/2018
                        Arrest                 N/A
   1630
05/29/2018
                       Book In                 FTB
   1755
05/29/2018
                   Welfare Check               FTB
   1812
05/29/2018
               Served meal(Accepted)           FTB                    Cold Meal
   1812
05/29/2018
                   Welfare Check               FTB
   1823
05/29/2018
                   Welfare Check               FTB
   1911
05/29/2018
                   Welfare Check               FTB
   2001
05/29/2018
                 UAC Video Shown               FTB
   2102
05/29/2018
                   Welfare Check               FTB
   2118
05/29/2018
                   Welfare Check               FTB
   2119
05/29/2018
                   Temp Book Out             Hospital
   2130
05/31/2018
                       Book In                 FTB
   1551
05/31/2018
               FOJC and ORR Notified           FTB                    N/a
   1601
05/31/2018
             Snacks, Milk, Juice Provided      FTB
   1602
05/31/2018
                   Welfare Check               FTB
   1602
05/31/2018
                   Welfare Check               FTB
   1729
05/31/2018
                   Welfare Check               FTB
   1749
05/31/2018
                   Welfare Check               FTB
   1905
05/31/2018
             Snacks, Milk, Juice Provided      FTB
   1931
05/31/2018
               Served meal(Accepted)           FTB                    Hot Meal
   1931



WILDER M                                                                          Printed:      8/17/18
DOB:                                                                              Page 2 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 132 of 250 Page ID
                                      #:24283




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/31/2018
                    Welfare Check             FTB
   1931
05/31/2018
                   Shower Provided            FTB                    No showers available at Brownsville Stn.
   2118
05/31/2018
                    Welfare Check             FTB
   2155
06/01/2018
                    Welfare Check             FTB
   0000
06/01/2018
                    Welfare Check             FTB
   0100
06/01/2018
                    Welfare Check             FTB
   0112
06/01/2018
                Served meal(Accepted)         FTB                    Cold Meal
   0112
06/01/2018
                    Welfare Check             FTB
   0200
06/01/2018
                    Welfare Check             FTB
   0300
06/01/2018
                    Welfare Check             FTB
   0400
06/01/2018
                    Welfare Check             FTB
   0500
06/01/2018
                    Welfare Check             FTB
   0853
06/01/2018
                Served meal(Accepted)         FTB                    Cold Meal
   0853
06/01/2018
                      In Transit              FTB
   0949
06/01/2018
                      Received                RGV
   1156
06/01/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   1229                Provided
06/01/2018
              Medical Treatment (OBP)         RGV
   1229
06/01/2018
                Served meal(Accepted)         RGV                    Hot Meal
   1229
06/01/2018
                    Welfare Check             RGV
   1229
06/01/2018
                   Shower Provided            RGV
   1229
06/01/2018
                    Welfare Check             RGV
   1404


WILDER M                                                                         Printed:      8/17/18
DOB:                                                                             Page 3 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 133 of 250 Page ID
                                      #:24284




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/01/2018
                   Welfare Check              RGV
   1425
06/01/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1425
06/01/2018
                   Welfare Check              RGV
   1511
06/01/2018
                   Welfare Check              RGV
   1539
06/01/2018
                   Welfare Check              RGV
   1600
06/01/2018
                   Welfare Check              RGV
   1609
06/01/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1609
06/01/2018
                 UAC Video Shown              RGV
   1709
06/01/2018
                   Welfare Check              RGV
   1714
06/01/2018
                   Welfare Check              RGV
   1809
06/01/2018
                   Welfare Check              RGV
   1914
06/01/2018
                   Welfare Check              RGV
   2002
06/01/2018
                   Welfare Check              RGV
   2100
06/01/2018
                   Welfare Check              RGV
   2200
06/01/2018
             Snacks, Milk, Juice Provided     RGV
   2202
06/01/2018
                   Welfare Check              RGV
   2202
06/01/2018
                   Welfare Check              RGV
   2258
06/02/2018
                   Welfare Check              RGV
   0022
06/02/2018
                   Welfare Check              RGV
   0200
06/02/2018
                   Welfare Check              RGV
   0240
06/02/2018
                   Welfare Check              RGV
   0300


WILDER M                                                                         Printed:      8/17/18
DOB:                                                                             Page 4 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 134 of 250 Page ID
                                      #:24285




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/02/2018
                Welfare Check          RGV
   0304
06/02/2018
                Welfare Check          RGV
   0701
06/02/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0701
06/02/2018
                Welfare Check          RGV
   0704
06/02/2018
              UAC Video Shown          RGV
   0704
06/02/2018
                Welfare Check          RGV
   0708
06/02/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0708
06/02/2018
                Welfare Check          RGV
   0800
06/02/2018
                Welfare Check          RGV
   0900
06/02/2018
                Welfare Check          RGV
   1002
06/02/2018
                Welfare Check          RGV
   1101
06/02/2018
                Welfare Check          RGV
   1203
06/02/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1203
06/02/2018
                Welfare Check          RGV
   1332
06/02/2018
                Welfare Check          RGV
   1359
06/02/2018
                Welfare Check          RGV
   1439
06/02/2018
                Welfare Check          RGV
   1500
06/02/2018
                Welfare Check          RGV
   1516
06/02/2018
                Welfare Check          RGV
   1613
06/02/2018
                Welfare Check          RGV
   1617
06/02/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1617


WILDER M                                                                  Printed:      8/17/18
DOB:                                                                      Page 5 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 135 of 250 Page ID
                                      #:24286




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/02/2018
                   Welfare Check              RGV
   1708
06/02/2018
                   Welfare Check              RGV
   1803
06/02/2018
                   Welfare Check              RGV
   1934
06/02/2018
                   Welfare Check              RGV
   2019
06/02/2018
                   Welfare Check              RGV
   2107
06/02/2018
                   Welfare Check              RGV
   2215
06/02/2018
             Snacks, Milk, Juice Provided     RGV                    crackers, juice, apple
   2220
06/02/2018
                   Welfare Check              RGV
   2220
06/02/2018
                   Welfare Check              RGV
   2300
06/02/2018
                   Welfare Check              RGV
   2301
06/03/2018
                   Welfare Check              RGV
   0005
06/03/2018
                   Welfare Check              RGV
   0147
06/03/2018
                   Welfare Check              RGV
   0157
06/03/2018
                   Welfare Check              RGV
   0205
06/03/2018
                   Welfare Check              RGV
   0234
06/03/2018
                   Welfare Check              RGV
   0322
06/03/2018
                   Welfare Check              RGV
   0431
06/03/2018
                   Welfare Check              RGV
   0507
06/03/2018
                   Welfare Check              RGV
   0546
06/03/2018
                   Welfare Check              RGV
   0612
06/03/2018
                   Welfare Check              RGV
   0719


WILDER M                                                                        Printed:      8/17/18
DOB:                                                                            Page 6 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 136 of 250 Page ID
                                      #:24287




                                            Station /
Date/Time             Activity                          Agent Name                  Comments
                                            Facility
06/03/2018
                Served meal(Accepted)         RGV                    Hot Meal - Breakfast served at 0710
   0719
06/03/2018
                    Welfare Check             RGV                    welfare check 0805
   0805
06/03/2018
               Bodily Cleansing Product       RGV
   0851
06/03/2018
               Dental Hygiene Product         RGV
   0851
06/03/2018
               Clean Clothing Provided        RGV
   0851
06/03/2018
                   Shower Provided            RGV
   0851
06/03/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0851                Provided
06/03/2018
                   Perm Book Out              RGV
   1031




WILDER M                                                                       Printed:      8/17/18
DOB:                                                                           Page 7 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 137 of 250 Page ID
                                  #:24288
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 138 of 250 Page ID
                                      #:24289

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                   Comments
                                             Facility
06/14/2018
                        Arrest                 N/A
   1315
06/14/2018
                       Book In                 RGC
   1415
06/14/2018
                    Welfare Check              RGC
   1508
06/14/2018
                Served meal(Accepted)          RGC                    Cold Meal
   1508
06/15/2018
                    Welfare Check              RGC
   0028
06/15/2018
                Served meal(Accepted)          RGC                    Cold Meal
   0028
06/15/2018
                      In Transit               RGC
   0350
06/15/2018
                      Received                 RGV
   0600
06/15/2018
                Served meal(Accepted)          RGV                    Hot Meal
   0700
06/15/2018
                    Welfare Check              RGV
   0712
06/15/2018
                    Welfare Check              RGV
   0800
06/15/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   1012                Provided
06/15/2018
             Medical Screening Completed       RGV
   1012
06/15/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1012
06/15/2018
                    Welfare Check              RGV
   1012
06/15/2018
                   Shower Provided             RGV
   1012
06/15/2018
                    Welfare Check              RGV
   1038
06/15/2018
                    Welfare Check              RGV
   1147
06/15/2018
                    Welfare Check              RGV
   1207
06/15/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1207



SANTOS A                                                                          Printed:     8/17/18
DOB:                                                                              Page 2 of 12
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 139 of 250 Page ID
                                      #:24290




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/15/2018
                   Welfare Check              RGV
   1318
06/15/2018
                   Welfare Check              RGV
   1400
06/15/2018
                   Welfare Check              RGV
   1500
06/15/2018
                   Welfare Check              RGV
   1538
06/15/2018
                   Welfare Check              RGV
   1600
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/16/2018
                   Welfare Check              RGV
   0207
06/16/2018
                   Welfare Check              RGV
   0302
06/16/2018
                   Welfare Check              RGV
   0403
06/16/2018
                   Welfare Check              RGV
   0523
06/16/2018
                   Welfare Check              RGV
   0744
06/16/2018
               Served meal(Accepted)          RGV                    Cold Meal - fed
   0744
06/16/2018
                   Welfare Check              RGV
   0748


SANTOS A                                                                         Printed:     8/17/18
DOB:                                                                             Page 3 of 12
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 140 of 250 Page ID
                                      #:24291




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   0748
06/16/2018
                Welfare Check          RGV
   0749
06/16/2018
                Welfare Check          RGV
   0914
06/16/2018
                Welfare Check          RGV
   1153
06/16/2018
                Welfare Check          RGV
   1249
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal - fed
   1249
06/16/2018
                Welfare Check          RGV
   1253
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   1253
06/16/2018
                Welfare Check          RGV
   1319
06/16/2018
                Welfare Check          RGV
   1404
06/16/2018
                Welfare Check          RGV
   1458
06/16/2018
                Welfare Check          RGV
   1557
06/16/2018
                Welfare Check          RGV
   1658
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1658
06/16/2018
                   In Transit          RGV
   1725
06/16/2018
                   Received            HRL
   1908
06/16/2018
                Welfare Check          HRL
   1913
06/16/2018
               Shower Provided         HRL                    N/A
   1938
06/16/2018
             Served meal(Accepted)     HRL                    Cold Meal
   1938
06/16/2018
                Welfare Check          HRL
   1938
06/16/2018
                Welfare Check          HRL
   2014


SANTOS A                                                                  Printed:     8/17/18
DOB:                                                                      Page 4 of 12
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 141 of 250 Page ID
                                      #:24292




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/16/2018
                Welfare Check          HRL
   2236
06/16/2018
                Welfare Check          HRL
   2358
06/17/2018
                Welfare Check          HRL
   0008
06/17/2018
                Welfare Check          HRL
   0154
06/17/2018
             Served meal(Accepted)     HRL                    Hot Meal
   0154
06/17/2018
                Welfare Check          HRL
   0259
06/17/2018
                Welfare Check          HRL
   0330
06/17/2018
                Welfare Check          HRL
   0412
06/17/2018
                Welfare Check          HRL
   0432
06/17/2018
                Welfare Check          HRL
   0438
06/17/2018
                Welfare Check          HRL
   0729
06/17/2018
                Welfare Check          HRL
   1000
06/17/2018
             Served meal(Accepted)     HRL                    Cold Meal
   1000
06/17/2018
                Welfare Check          HRL
   1124
06/17/2018
                Welfare Check          HRL
   1137
06/17/2018
                Welfare Check          HRL
   1221
06/17/2018
                Welfare Check          HRL
   1242
06/17/2018
                Welfare Check          HRL
   1249
06/17/2018
                Welfare Check          HRL
   1300
06/17/2018
               Shower Provided         HRL                    N/A
   1315
06/17/2018
                Welfare Check          HRL
   1315


SANTOS A                                                                  Printed:     8/17/18
DOB:                                                                      Page 5 of 12
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 142 of 250 Page ID
                                      #:24293




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/17/2018
                    Welfare Check             HRL
   1352
06/17/2018
                    Welfare Check             HRL
   1516
06/17/2018
                    Welfare Check             HRL
   1603
06/17/2018
                 Processing Complete          HRL
   1649
06/17/2018
                    Welfare Check             HRL
   1743
06/17/2018
                      In Transit              HRL
   1752
06/17/2018
                      Received                RGV
   1936
06/17/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   1941                Provided
06/17/2018
             Medical Screening Completed      RGV
   1941
06/17/2018
                Served meal(Accepted)         RGV                    Cold Meal
   1941
06/17/2018                                                           Subject will shower when showering staff
                        Other                 RGV
   1941                                                              arrives at 0700.
06/17/2018
                    Welfare Check             RGV
   1941
06/17/2018
                    Welfare Check             RGV
   2000
06/17/2018
                    Welfare Check             RGV
   2120
06/17/2018
             Snacks, Milk, Juice Provided     RGV
   2228
06/17/2018
                    Welfare Check             RGV
   2228
06/17/2018
                    Welfare Check             RGV
   2356
06/18/2018
                    Welfare Check             RGV
   0059
06/18/2018
                    Welfare Check             RGV
   0150
06/18/2018
                    Welfare Check             RGV
   0210
06/18/2018
                    Welfare Check             RGV
   0308


SANTOS A                                                                         Printed:     8/17/18
DOB:                                                                             Page 6 of 12
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 143 of 250 Page ID
                                      #:24294




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/18/2018
                   Welfare Check              RGV
   0402
06/18/2018
                   Welfare Check              RGV
   0505
06/18/2018
                   Welfare Check              RGV
   0551
06/18/2018
                   Welfare Check              RGV
   0700
06/18/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0701
06/18/2018
                  Shower Provided             RGV
   0718
06/18/2018
                   Welfare Check              RGV
   0800
06/18/2018
                   Welfare Check              RGV
   0900
06/18/2018
                   Welfare Check              RGV
   1002
06/18/2018
                   Welfare Check              RGV
   1100
06/18/2018
                   Welfare Check              RGV
   1200
06/18/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1223
06/18/2018
                   Welfare Check              RGV
   1300
06/18/2018
                   Welfare Check              RGV
   1403
06/18/2018
                   Welfare Check              RGV
   1530
06/18/2018
                   Welfare Check              RGV
   1600
06/18/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/18/2018
                   Welfare Check              RGV
   1700
06/18/2018
                   Welfare Check              RGV
   1800
06/18/2018
                   Welfare Check              RGV
   1904
06/18/2018
             Snacks, Milk, Juice Provided     RGV
   2004


SANTOS A                                                                         Printed:     8/17/18
DOB:                                                                             Page 7 of 12
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 144 of 250 Page ID
                                      #:24295




                                     Station /
Date/Time          Activity                      Agent Name                  Comments
                                     Facility
06/18/2018
                Welfare Check          RGV
   2004
06/18/2018
                Welfare Check          RGV
   2105
06/18/2018
                Welfare Check          RGV
   2207
06/18/2018
                Welfare Check          RGV
   2309
06/19/2018
                Welfare Check          RGV
   0007
06/19/2018
                Welfare Check          RGV
   0124
06/19/2018
                Welfare Check          RGV
   0216
06/19/2018
                Welfare Check          RGV
   0340
06/19/2018
                Welfare Check          RGV
   0425
06/19/2018
                Welfare Check          RGV
   0508
06/19/2018
                Welfare Check          RGV
   0609
06/19/2018
                Welfare Check          RGV
   0700
06/19/2018
                Welfare Check          RGV
   0714
06/19/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0714
06/19/2018
                Welfare Check          RGV
   0800
06/19/2018
                Welfare Check          RGV
   1131
06/19/2018
                Welfare Check          RGV
   1217
06/19/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1217
06/19/2018
                Welfare Check          RGV
   1302
06/19/2018
                Welfare Check          RGV
   1500
06/19/2018
                Welfare Check          RGV
   1558


SANTOS A                                                                 Printed:     8/17/18
DOB:                                                                     Page 8 of 12
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 145 of 250 Page ID
                                      #:24296




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/19/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1558
06/19/2018
                Welfare Check          RGV
   1727
06/19/2018
                Welfare Check          RGV
   1816
06/19/2018
                Welfare Check          RGV
   1901
06/19/2018
                Welfare Check          RGV
   2004
06/19/2018
                Welfare Check          RGV
   2105
06/19/2018
                Welfare Check          RGV
   2202
06/19/2018
                Welfare Check          RGV
   2259
06/20/2018
                Welfare Check          RGV
   0022
06/20/2018
                Welfare Check          RGV
   0148
06/20/2018
                Welfare Check          RGV
   0432
06/20/2018
                Welfare Check          RGV
   0528
06/20/2018
                Welfare Check          RGV
   0815
06/20/2018
                Welfare Check          RGV
   0833
06/20/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0833
06/20/2018
                Welfare Check          RGV
   1000
06/20/2018
                Welfare Check          RGV
   1213
06/20/2018
                Welfare Check          RGV
   1214
06/20/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1214
06/20/2018
                Welfare Check          RGV
   1502
06/20/2018
                Welfare Check          RGV
   1616


SANTOS A                                                                  Printed:     8/17/18
DOB:                                                                      Page 9 of 12
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 146 of 250 Page ID
                                      #:24297




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/20/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1616
06/20/2018
                   Welfare Check              RGV
   1715
06/20/2018
                   Welfare Check              RGV
   1816
06/20/2018
                   Welfare Check              RGV
   1901
06/20/2018
                   Welfare Check              RGV
   2000
06/20/2018
             Snacks, Milk, Juice Provided     RGV
   2003
06/20/2018
                   Welfare Check              RGV
   2003
06/20/2018
                   Welfare Check              RGV
   2143
06/20/2018
                   Welfare Check              RGV
   2215
06/20/2018
                   Welfare Check              RGV
   2301
06/20/2018
                   Welfare Check              RGV
   2329
06/21/2018
                   Welfare Check              RGV
   0023
06/21/2018
                   Welfare Check              RGV
   0101
06/21/2018
                   Welfare Check              RGV
   0330
06/21/2018
                   Welfare Check              RGV
   0416
06/21/2018
                   Welfare Check              RGV
   0500
06/21/2018
                   Welfare Check              RGV
   0609
06/21/2018
                   Welfare Check              RGV
   0821
06/21/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0821
06/21/2018
                   Welfare Check              RGV
   1127
06/21/2018
                   Welfare Check              RGV
   1313


SANTOS A                                                                         Printed:      8/17/18
DOB:                                                                             Page 10 of 12
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 147 of 250 Page ID
                                      #:24298




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/21/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1313
06/21/2018
                Welfare Check          RGV
   1435
06/21/2018
                Welfare Check          RGV
   1605
06/21/2018
                Welfare Check          RGV
   1656
06/21/2018
                Welfare Check          RGV
   1800
06/21/2018
                Welfare Check          RGV
   1901
06/21/2018
                Welfare Check          RGV
   1936
06/21/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1936
06/21/2018
                Welfare Check          RGV
   1957
06/21/2018
                Welfare Check          RGV
   2059
06/21/2018
                Welfare Check          RGV
   2157
06/21/2018
                Welfare Check          RGV
   2219
06/22/2018
                Welfare Check          RGV
   0108
06/22/2018
                Welfare Check          RGV
   0152
06/22/2018
                Welfare Check          RGV
   0459
06/22/2018
                Welfare Check          RGV
   0606
06/22/2018
                Welfare Check          RGV
   0700
06/22/2018
                Welfare Check          RGV
   0753
06/22/2018
                Welfare Check          RGV
   0800
06/22/2018
                Welfare Check          RGV
   0803
06/22/2018
                Welfare Check          RGV
   0815


SANTOS A                                                                 Printed:      8/17/18
DOB:                                                                     Page 11 of 12
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 148 of 250 Page ID
                                      #:24299




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/22/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0815
06/22/2018
                Welfare Check          RGV
   0905
06/22/2018
                Welfare Check          RGV
   0935
06/22/2018
                Welfare Check          RGV
   1004
06/22/2018
                Welfare Check          RGV
   1103
06/22/2018
                Welfare Check          RGV
   1110
06/22/2018
                Welfare Check          RGV
   1222
06/22/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1222
06/22/2018
                Perm Book Out          RGV
   1351




SANTOS A                                                                 Printed:      8/17/18
DOB:                                                                     Page 12 of 12
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 149 of 250 Page ID
                                  #:24300
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 150 of 250 Page ID
                                      #:24301

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                   Comments
                                             Facility
06/14/2018
                        Arrest                 N/A
   1315
06/14/2018
                       Book In                 RGC
   1417
06/14/2018
                    Welfare Check              RGC
   1508
06/14/2018
                Served meal(Accepted)          RGC                    Cold Meal
   1508
06/14/2018
             Snacks, Milk, Juice Provided      RGC
   1615
06/14/2018
                    Welfare Check              RGC
   1615
06/15/2018
                    Welfare Check              RGC
   0028
06/15/2018
                Served meal(Accepted)          RGC                    Cold Meal
   0028
06/15/2018
                      In Transit               RGC
   0350
06/15/2018
                      Received                 RGV
   0600
06/15/2018
                Served meal(Accepted)          RGV                    Hot Meal
   0700
06/15/2018
                    Welfare Check              RGV
   0712
06/15/2018
                    Welfare Check              RGV
   0800
06/15/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   1012                Provided
06/15/2018
             Medical Screening Completed       RGV
   1012
06/15/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1012
06/15/2018
                    Welfare Check              RGV
   1012
06/15/2018
                   Shower Provided             RGV
   1012
06/15/2018
                    Welfare Check              RGV
   1038
06/15/2018
                    Welfare Check              RGV
   1147



GEYCEL H                                                                          Printed:     8/17/18
DOB:                                                                              Page 2 of 13
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 151 of 250 Page ID
                                      #:24302




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/15/2018
                   Welfare Check              RGV
   1207
06/15/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1207
06/15/2018
                   Welfare Check              RGV
   1318
06/15/2018
                   Welfare Check              RGV
   1400
06/15/2018
                   Welfare Check              RGV
   1500
06/15/2018
                   Welfare Check              RGV
   1538
06/15/2018
                   Welfare Check              RGV
   1600
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                 UAC Video Shown              RGV
   1714
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
             Rejoined With Family Unit        RGV                    Family visit
   1800
06/15/2018
               Separated from Family          RGV                    Cell - Operationally infeasible.
   1830
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/16/2018
                   Welfare Check              RGV
   0207
06/16/2018
                   Welfare Check              RGV
   0302


GEYCEL H                                                                         Printed:     8/17/18
DOB:                                                                             Page 3 of 13
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 152 of 250 Page ID
                                      #:24303




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/16/2018
                Welfare Check          RGV
   0403
06/16/2018
                Welfare Check          RGV
   0523
06/16/2018
                Welfare Check          RGV
   0742
06/16/2018
              UAC Video Shown          RGV                    know what to expect
   0742
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   0742
06/16/2018
                Welfare Check          RGV
   0749
06/16/2018
                Welfare Check          RGV
   0914
06/16/2018
                Welfare Check          RGV
   1153
06/16/2018
                Welfare Check          RGV
   1248
06/16/2018
              UAC Video Shown          RGV                    know what to expect
   1248
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   1248
06/16/2018
                Welfare Check          RGV
   1319
06/16/2018
                Welfare Check          RGV
   1404
06/16/2018
                Welfare Check          RGV
   1458
06/16/2018
                Welfare Check          RGV
   1557
06/16/2018
                Welfare Check          RGV
   1658
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1658
06/16/2018
                   In Transit          RGV
   1725
06/16/2018
                   Received            HRL
   1908
06/16/2018
                Welfare Check          HRL
   1913
06/16/2018
               Shower Provided         HRL                    N/A
   1938


GEYCEL H                                                                  Printed:     8/17/18
DOB:                                                                      Page 4 of 13
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 153 of 250 Page ID
                                      #:24304




                                            Station /
Date/Time             Activity                          Agent Name                  Comments
                                            Facility
06/16/2018
               Served meal(Accepted)          HRL                    Hot Meal
   1938
06/16/2018
                   Welfare Check              HRL
   1938
06/16/2018
                   Welfare Check              HRL
   2014
06/16/2018
                   Welfare Check              HRL
   2236
06/16/2018
                   Welfare Check              HRL
   2358
06/17/2018
                   Welfare Check              HRL
   0008
06/17/2018
                   Welfare Check              HRL
   0154
06/17/2018
               Served meal(Accepted)          HRL                    Hot Meal
   0154
06/17/2018
                   Welfare Check              HRL
   0259
06/17/2018
                   Welfare Check              HRL
   0330
06/17/2018
                   Welfare Check              HRL
   0412
06/17/2018
                   Welfare Check              HRL
   0432
06/17/2018
                   Welfare Check              HRL
   0438
06/17/2018
                   Welfare Check              HRL
   0729
06/17/2018
             Snacks, Milk, Juice Provided     HRL
   1000
06/17/2018
               Served meal(Accepted)          HRL                    Hot Meal
   1000
06/17/2018
                   Welfare Check              HRL
   1000
06/17/2018
                   Welfare Check              HRL
   1124
06/17/2018
                   Welfare Check              HRL
   1137
06/17/2018
                   Welfare Check              HRL
   1221
06/17/2018
                   Welfare Check              HRL
   1242


GEYCEL H                                                                        Printed:     8/17/18
DOB:                                                                            Page 5 of 13
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 154 of 250 Page ID
                                      #:24305




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/17/2018
                    Welfare Check             HRL
   1249
06/17/2018
                    Welfare Check             HRL
   1300
06/17/2018
                   Shower Provided            HRL                    N/A
   1315
06/17/2018
                    Welfare Check             HRL
   1315
06/17/2018
                    Welfare Check             HRL
   1352
06/17/2018
                    Welfare Check             HRL
   1516
06/17/2018
                    Welfare Check             HRL
   1603
06/17/2018
                 Processing Complete          HRL
   1649
06/17/2018
                    Welfare Check             HRL
   1743
06/17/2018
                      In Transit              HRL
   1752
06/17/2018
                      Received                RGV
   1936
06/17/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   1939                Provided
06/17/2018
             Medical Screening Completed      RGV
   1939
06/17/2018
                Served meal(Accepted)         RGV                    Cold Meal
   1939
06/17/2018                                                           Subject will shower when showering staff
                        Other                 RGV
   1939                                                              arrives at 0700.
06/17/2018
                    Welfare Check             RGV
   1939
06/17/2018
                    Welfare Check             RGV
   2000
06/17/2018
                    Welfare Check             RGV
   2120
06/17/2018
             Snacks, Milk, Juice Provided     RGV
   2228
06/17/2018
                    Welfare Check             RGV
   2228
06/17/2018
                    Welfare Check             RGV
   2356


GEYCEL H                                                                         Printed:     8/17/18
DOB:                                                                             Page 6 of 13
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 155 of 250 Page ID
                                      #:24306




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/18/2018
                Welfare Check          RGV
   0059
06/18/2018
                Welfare Check          RGV
   0150
06/18/2018
                Welfare Check          RGV
   0210
06/18/2018
                Welfare Check          RGV
   0308
06/18/2018
                Welfare Check          RGV
   0402
06/18/2018
                Welfare Check          RGV
   0505
06/18/2018
                Welfare Check          RGV
   0551
06/18/2018
                Welfare Check          RGV
   0700
06/18/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0701
06/18/2018
               Shower Provided         RGV
   0726
06/18/2018
                Welfare Check          RGV
   0800
06/18/2018
                Welfare Check          RGV
   0900
06/18/2018
                Welfare Check          RGV
   1002
06/18/2018
                Welfare Check          RGV
   1100
06/18/2018
                Welfare Check          RGV
   1200
06/18/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1223
06/18/2018
                Welfare Check          RGV
   1300
06/18/2018
                Welfare Check          RGV
   1403
06/18/2018
                Welfare Check          RGV
   1530
06/18/2018
                Welfare Check          RGV
   1600
06/18/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1600


GEYCEL H                                                                  Printed:     8/17/18
DOB:                                                                      Page 7 of 13
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 156 of 250 Page ID
                                      #:24307




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/18/2018
                   Welfare Check              RGV
   1700
06/18/2018
                 UAC Video Shown              RGV
   1718
06/18/2018
                   Welfare Check              RGV
   1800
06/18/2018
             Rejoined With Family Unit        RGV
   1800
06/18/2018
             Rejoined With Family Unit        RGV                    Family visit.
   1801
06/18/2018
               Separated from Family          RGV                    Cell - Operationally infeasible.
   1845
06/18/2018
                   Welfare Check              RGV
   1904
06/18/2018
             Snacks, Milk, Juice Provided     RGV
   2004
06/18/2018
                   Welfare Check              RGV
   2004
06/18/2018
                   Welfare Check              RGV
   2105
06/18/2018
                   Welfare Check              RGV
   2207
06/18/2018
                   Welfare Check              RGV
   2309
06/19/2018
                   Welfare Check              RGV
   0007
06/19/2018
                   Welfare Check              RGV
   0124
06/19/2018
                   Welfare Check              RGV
   0216
06/19/2018
                   Welfare Check              RGV
   0340
06/19/2018
                   Welfare Check              RGV
   0425
06/19/2018
                   Welfare Check              RGV
   0508
06/19/2018
                   Welfare Check              RGV
   0609
06/19/2018
                   Welfare Check              RGV
   0700
06/19/2018
                   Welfare Check              RGV
   0714


GEYCEL H                                                                        Printed:     8/17/18
DOB:                                                                            Page 8 of 13
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 157 of 250 Page ID
                                      #:24308




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/19/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0714
06/19/2018
                   Welfare Check              RGV
   0800
06/19/2018
                   Welfare Check              RGV
   1131
06/19/2018
                   Welfare Check              RGV
   1217
06/19/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1217
06/19/2018
                   Welfare Check              RGV
   1302
06/19/2018
                   Welfare Check              RGV
   1500
06/19/2018
                   Welfare Check              RGV
   1558
06/19/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1558
06/19/2018
                   Welfare Check              RGV
   1727
06/19/2018
                   Welfare Check              RGV
   1816
06/19/2018
                   Welfare Check              RGV
   1901
06/19/2018
                   Welfare Check              RGV
   2004
06/19/2018
                   Welfare Check              RGV
   2105
06/19/2018
                   Welfare Check              RGV
   2202
06/19/2018
             Snacks, Milk, Juice Provided     RGV
   2203
06/19/2018
                   Welfare Check              RGV
   2203
06/19/2018
                   Welfare Check              RGV
   2259
06/20/2018
                   Welfare Check              RGV
   0022
06/20/2018
                   Welfare Check              RGV
   0148
06/20/2018
                   Welfare Check              RGV
   0432


GEYCEL H                                                                         Printed:     8/17/18
DOB:                                                                             Page 9 of 13
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 158 of 250 Page ID
                                      #:24309




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/20/2018
                   Welfare Check              RGV
   0528
06/20/2018
                   Welfare Check              RGV
   0815
06/20/2018
                   Welfare Check              RGV
   0833
06/20/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0833
06/20/2018
                   Welfare Check              RGV
   1000
06/20/2018
                   Welfare Check              RGV
   1213
06/20/2018
                   Welfare Check              RGV
   1214
06/20/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1214
06/20/2018
                   Welfare Check              RGV
   1502
06/20/2018
                   Welfare Check              RGV
   1616
06/20/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1616
06/20/2018
                   Welfare Check              RGV
   1715
06/20/2018
                   Welfare Check              RGV
   1816
06/20/2018
             Rejoined With Family Unit        RGV                    Family visit.
   1830
06/20/2018
               Separated from Family          RGV                    Cell - Operationally infeasible.
   1900
06/20/2018
                   Welfare Check              RGV
   1901
06/20/2018
                   Welfare Check              RGV
   2000
06/20/2018
             Snacks, Milk, Juice Provided     RGV
   2003
06/20/2018
                   Welfare Check              RGV
   2003
06/20/2018
                   Welfare Check              RGV
   2143
06/20/2018
                   Welfare Check              RGV
   2215


GEYCEL H                                                                         Printed:      8/17/18
DOB:                                                                             Page 10 of 13
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 159 of 250 Page ID
                                      #:24310




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/20/2018
                Welfare Check          RGV
   2231
06/20/2018
             Served meal(Accepted)     RGV                    Cold Meal - SNACK
   2231
06/20/2018
                Welfare Check          RGV
   2301
06/20/2018
                Welfare Check          RGV
   2329
06/21/2018
                Welfare Check          RGV
   0023
06/21/2018
                Welfare Check          RGV
   0101
06/21/2018
                Welfare Check          RGV
   0330
06/21/2018
                Welfare Check          RGV
   0416
06/21/2018
                Welfare Check          RGV
   0500
06/21/2018
                Welfare Check          RGV
   0609
06/21/2018
                Welfare Check          RGV
   0821
06/21/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0821
06/21/2018
                Welfare Check          RGV
   1127
06/21/2018
                Welfare Check          RGV
   1313
06/21/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1313
06/21/2018
                Welfare Check          RGV
   1435
06/21/2018
                Welfare Check          RGV
   1605
06/21/2018
                Welfare Check          RGV
   1656
06/21/2018
                Welfare Check          RGV
   1800
06/21/2018
                Welfare Check          RGV
   1901
06/21/2018
                Welfare Check          RGV
   1936


GEYCEL H                                                                 Printed:      8/17/18
DOB:                                                                     Page 11 of 13
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 160 of 250 Page ID
                                      #:24311




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/21/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1936
06/21/2018
                Welfare Check          RGV
   1957
06/21/2018
                Welfare Check          RGV
   2059
06/21/2018
                Welfare Check          RGV
   2157
06/21/2018
                Welfare Check          RGV
   2219
06/22/2018
                Welfare Check          RGV
   0108
06/22/2018
                Welfare Check          RGV
   0152
06/22/2018
                Welfare Check          RGV
   0459
06/22/2018
                Welfare Check          RGV
   0606
06/22/2018
                Welfare Check          RGV
   0700
06/22/2018
                Welfare Check          RGV
   0753
06/22/2018
                Welfare Check          RGV
   0800
06/22/2018
                Welfare Check          RGV
   0803
06/22/2018
                Welfare Check          RGV
   0815
06/22/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0815
06/22/2018
                Welfare Check          RGV
   0905
06/22/2018
                Welfare Check          RGV
   0935
06/22/2018
                Welfare Check          RGV
   1004
06/22/2018
                Welfare Check          RGV
   1103
06/22/2018
                Welfare Check          RGV
   1110
06/22/2018
                Welfare Check          RGV
   1222


GEYCEL H                                                                 Printed:      8/17/18
DOB:                                                                     Page 12 of 13
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 161 of 250 Page ID
                                      #:24312




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/22/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1222
06/22/2018
                Perm Book Out          RGV
   1351




GEYCEL H                                                                 Printed:      8/17/18
DOB:                                                                     Page 13 of 13
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 162 of 250 Page ID
                                     #:24313




Subject Activity Log


SANDRA S
                                     Gender:                F
                                     DOB:                          32 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/12/2018 2300
Book In Date/Time:  06/13/2018 1205
Book Out Date/Time: 06/17/2018 1142

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




SANDRA S                                                                    Printed:      7/26/18
DOB:                     A-File #:                                          Page 1 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 163 of 250 Page ID
                                      #:24314

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/12/2018
                        Arrest                 N/A
   2300
06/13/2018
                       Book In                 MCS
   0028
06/13/2018
                    Welfare Check              MCS
   0825
06/13/2018
                    Welfare Check              MCS
   0827
06/13/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0827
06/13/2018
                    Welfare Check              MCS
   0922
06/13/2018                                                            all subjects appear to be in good health at
                    Welfare Check              MCS
   1048                                                               this time.
06/13/2018
                      In Transit               MCS                    MFT0010878823
   1132
06/13/2018
                      Received                 RGV
   1205
06/13/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   1206                Provided
06/13/2018
             Medical Screening Completed       RGV
   1206
06/13/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1206
06/13/2018
                    Welfare Check              RGV
   1206
06/13/2018
                   Shower Provided             RGV
   1206
06/13/2018
                    Welfare Check              RGV
   1259
06/13/2018
                    Welfare Check              RGV
   1357
06/13/2018
                    Welfare Check              RGV
   1526
06/13/2018
                    Welfare Check              RGV
   1613
06/13/2018
                Served meal(Accepted)          RGV                    Cold Meal
   1613
06/13/2018
                    Welfare Check              RGV
   1622



SANDRA S                                                                          Printed:      7/26/18
DOB:                        A-File #:                                             Page 2 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 164 of 250 Page ID
                                      #:24315




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/13/2018
                Welfare Check          RGV
   1805
06/13/2018
                Welfare Check          RGV
   1816
06/13/2018
                Welfare Check          RGV
   1911
06/13/2018
                Welfare Check          RGV
   1924
06/13/2018
                Welfare Check          RGV
   2022
06/13/2018
                Welfare Check          RGV
   2103
06/13/2018
                Welfare Check          RGV
   2300
06/14/2018
                Welfare Check          RGV
   0001
06/14/2018
                Welfare Check          RGV
   0100
06/14/2018
                Welfare Check          RGV
   0200
06/14/2018
                Welfare Check          RGV
   0303
06/14/2018
                Welfare Check          RGV
   0306
06/14/2018
                Welfare Check          RGV
   0401
06/14/2018
                Welfare Check          RGV
   0501
06/14/2018
                Welfare Check          RGV
   0733
06/14/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0733
06/14/2018
                Welfare Check          RGV
   0801
06/14/2018
                Welfare Check          RGV
   0905
06/14/2018
                Welfare Check          RGV
   1012
06/14/2018
                Welfare Check          RGV
   1100
06/14/2018
                Welfare Check          RGV
   1221


SANDRA S                                                                 Printed:      7/26/18
DOB:            A-File #:                                                Page 3 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 165 of 250 Page ID
                                      #:24316




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/14/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1221
06/14/2018
                   Welfare Check              RGV
   1310
06/14/2018
                   Welfare Check              RGV
   1404
06/14/2018
                   Welfare Check              RGV
   1517
06/14/2018
                   Welfare Check              RGV
   1602
06/14/2018
                   Welfare Check              RGV
   1611
06/14/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1611
06/14/2018
                   Welfare Check              RGV
   1701
06/14/2018
                   Welfare Check              RGV
   1813
06/14/2018
                   Welfare Check              RGV
   1941
06/14/2018
                   Welfare Check              RGV
   2008
06/14/2018
             Snacks, Milk, Juice Provided     RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2111
06/14/2018
                   Welfare Check              RGV
   2222
06/14/2018
                   Welfare Check              RGV
   2300
06/15/2018
                   Welfare Check              RGV
   0011
06/15/2018
                   Welfare Check              RGV
   0100
06/15/2018
                   Welfare Check              RGV
   0354
06/15/2018
                   Welfare Check              RGV
   0400
06/15/2018
                   Welfare Check              RGV
   0500


SANDRA S                                                                         Printed:      7/26/18
DOB:               A-File #:                                                     Page 4 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 166 of 250 Page ID
                                      #:24317




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0700
06/15/2018
                   Welfare Check              RGV
   0712
06/15/2018
                   Welfare Check              RGV
   0800
06/15/2018
                   Welfare Check              RGV
   1038
06/15/2018
                   Welfare Check              RGV
   1147
06/15/2018
                   Welfare Check              RGV
   1207
06/15/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1207
06/15/2018
                Processing Complete           RGV
   1256
06/15/2018
                   Welfare Check              RGV
   1318
06/15/2018
                   Welfare Check              RGV
   1400
06/15/2018
                   Welfare Check              RGV
   1500
06/15/2018
                   Welfare Check              RGV
   1538
06/15/2018
                   Welfare Check              RGV
   1600
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202


SANDRA S                                                                         Printed:      7/26/18
DOB:               A-File #:                                                     Page 5 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 167 of 250 Page ID
                                      #:24318




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/15/2018
                Welfare Check          RGV
   2300
06/16/2018
                Welfare Check          RGV
   0207
06/16/2018
                Welfare Check          RGV
   0302
06/16/2018
                Welfare Check          RGV
   0403
06/16/2018
                Welfare Check          RGV
   0523
06/16/2018
                Welfare Check          RGV
   0744
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal - fed
   0744
06/16/2018
                Welfare Check          RGV
   0748
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   0748
06/16/2018
                Welfare Check          RGV
   0749
06/16/2018
                Welfare Check          RGV
   0914
06/16/2018
                Welfare Check          RGV
   1153
06/16/2018
                Welfare Check          RGV
   1249
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal - fed
   1249
06/16/2018
                Welfare Check          RGV
   1253
06/16/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   1253
06/16/2018
               Shower Provided         RGV
   1300
06/16/2018
                Welfare Check          RGV
   1319
06/16/2018
                Welfare Check          RGV
   1404
06/16/2018
                Welfare Check          RGV
   1458
06/16/2018
                Welfare Check          RGV
   1557


SANDRA S                                                                Printed:      7/26/18
DOB:            A-File #:                                               Page 6 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 168 of 250 Page ID
                                      #:24319




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/16/2018
                Welfare Check          RGV
   1658
06/16/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1658
06/16/2018
                Welfare Check          RGV
   1753
06/16/2018
                Welfare Check          RGV
   1904
06/16/2018
                Welfare Check          RGV
   2052
06/16/2018
                Welfare Check          RGV
   2247
06/17/2018
                Welfare Check          RGV
   0028
06/17/2018
                Welfare Check          RGV
   0100
06/17/2018
                Welfare Check          RGV
   0200
06/17/2018
                Welfare Check          RGV
   0302
06/17/2018
                Welfare Check          RGV
   0400
06/17/2018
                Welfare Check          RGV
   0405
06/17/2018
                Welfare Check          RGV
   0500
06/17/2018
                Welfare Check          RGV
   0559
06/17/2018
                Welfare Check          RGV
   0654
06/17/2018
                Welfare Check          RGV
   0700
06/17/2018
                Welfare Check          RGV
   0736
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0736
06/17/2018
                Welfare Check          RGV
   0822
06/17/2018
                Welfare Check          RGV
   0903
06/17/2018
                Welfare Check          RGV
   1004


SANDRA S                                                                  Printed:      7/26/18
DOB:             -File #:                                                 Page 7 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 169 of 250 Page ID
                                      #:24320




                                      Station /
Date/Time          Activity                       Agent Name         Comments
                                      Facility
06/17/2018
                Welfare Check           RGV
   1105
06/17/2018
                Perm Book Out           RGV
   1142




SANDRA S                                                        Printed:      7/26/18
DOB:            A-File #: 206010651                             Page 8 of 8
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 170 of 250 Page ID
                                     #:24321




Subject Activity Log


YANELA V
                                     Gender:                F
                                     DOB:                          1 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s): SANDRA        S




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/12/2018 2300
Book In Date/Time:  06/13/2018 1205
Book Out Date/Time: 06/17/2018 1142

Processing Agent:
Transport Officer:
Apprehending Agents

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




YANELA V                                                                    Printed:      7/26/18
DOB:                     A-File #:                                          Page 1 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 171 of 250 Page ID
                                      #:24322

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/12/2018
                        Arrest                 N/A
   2300
06/13/2018
                       Book In                 MCS
   0029
06/13/2018
                    Welfare Check              MCS
   0825
06/13/2018
                    Welfare Check              MCS
   0827
06/13/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0827
06/13/2018
                    Welfare Check              MCS
   0922
06/13/2018                                                            all subjects appear to be in good health at
                    Welfare Check              MCS
   1048                                                               this time.
06/13/2018
                      In Transit               MCS
   1132
06/13/2018
                      Received                 RGV
   1205
06/13/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   1206                Provided
06/13/2018
             Medical Screening Completed       RGV
   1206
06/13/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1206
06/13/2018
                    Welfare Check              RGV
   1206
06/13/2018
                   Shower Provided             RGV
   1206
06/13/2018
                    Welfare Check              RGV
   1259
06/13/2018
                    Welfare Check              RGV
   1357
06/13/2018
                    Welfare Check              RGV
   1526
06/13/2018
                    Welfare Check              RGV
   1614
06/13/2018
                Served meal(Accepted)          RGV                    Cold Meal
   1614
06/13/2018
                    Welfare Check              RGV
   1622



YANELA V                                                                          Printed:      7/26/18
DOB:                        A-File #:                                             Page 2 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 172 of 250 Page ID
                                      #:24323




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/13/2018
                Welfare Check          RGV
   1805
06/13/2018
                Welfare Check          RGV
   1816
06/13/2018
                Welfare Check          RGV
   1911
06/13/2018
                Welfare Check          RGV
   1924
06/13/2018
                Welfare Check          RGV
   2022
06/13/2018
                Welfare Check          RGV
   2103
06/13/2018
                Welfare Check          RGV
   2300
06/14/2018
                Welfare Check          RGV
   0001
06/14/2018
                Welfare Check          RGV
   0100
06/14/2018
                Welfare Check          RGV
   0200
06/14/2018
                Welfare Check          RGV
   0303
06/14/2018
                Welfare Check          RGV
   0306
06/14/2018
                Welfare Check          RGV
   0401
06/14/2018
                Welfare Check          RGV
   0501
06/14/2018
                Welfare Check          RGV
   0733
06/14/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0733
06/14/2018
                Welfare Check          RGV
   0801
06/14/2018
                Welfare Check          RGV
   0905
06/14/2018
                Welfare Check          RGV
   1012
06/14/2018
                Welfare Check          RGV
   1100
06/14/2018
                Welfare Check          RGV
   1221


YANELA V                                                                 Printed:      7/26/18
DOB:            A-File #:                                                Page 3 of 8
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 173 of 250 Page ID
                                  #:24324
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 174 of 250 Page ID
                                      #:24325




                                         Station /
Date/Time            Activity                        Agent Name                    Comments
                                         Facility
06/15/2018
                  Welfare Check            RGV
   0400
06/15/2018
                  Welfare Check            RGV
   0500
06/15/2018
              Served meal(Accepted)        RGV                    Hot Meal
   0700
06/15/2018
                  Welfare Check            RGV
   0712
06/15/2018
                  Welfare Check            RGV
   0800
06/15/2018
                  Welfare Check            RGV
   1038
06/15/2018
                  Welfare Check            RGV
   1147
06/15/2018
                  Welfare Check            RGV
   1207
06/15/2018
              Served meal(Accepted)        RGV                    Hot Meal
   1207
06/15/2018
               Processing Complete         RGV
   1256
06/15/2018
                  Welfare Check            RGV
   1318
06/15/2018
                  Welfare Check            RGV
   1400
06/15/2018
                  Welfare Check            RGV
   1500
06/15/2018
                  Welfare Check            RGV
   1538
06/15/2018
                  Welfare Check            RGV
   1600
06/15/2018
              Served meal(Accepted)        RGV                    Cold Meal
   1600
06/15/2018
                  Welfare Check            RGV
   1701
06/15/2018
                  Welfare Check            RGV
   1800
06/15/2018
             Rejoined With Family Unit     RGV                    Family visit
   1800
06/15/2018
              Separated from Family        RGV                    Cell - Operationally infeasible.
   1830
06/15/2018
                  Welfare Check            RGV
   1901


YANELA V                                                                      Printed:      7/26/18
DOB:               -File #:                                                   Page 5 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 175 of 250 Page ID
                                      #:24326




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/16/2018
                   Welfare Check              RGV
   0207
06/16/2018
                   Welfare Check              RGV
   0302
06/16/2018
                   Welfare Check              RGV
   0403
06/16/2018
                   Welfare Check              RGV
   0523
06/16/2018
                   Welfare Check              RGV
   0742
06/16/2018
                 UAC Video Shown              RGV                    know what to expect
   0742
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0742
06/16/2018
                   Welfare Check              RGV
   0748
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0748
06/16/2018
                   Welfare Check              RGV
   0749
06/16/2018
                   Welfare Check              RGV
   0914
06/16/2018
                   Welfare Check              RGV
   1153
06/16/2018
                  Shower Provided             RGV
   1200
06/16/2018
                   Welfare Check              RGV
   1245
06/16/2018
                 UAC Video Shown              RGV                    know what to expect
   1245
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   1245


YANELA V                                                                       Printed:      7/26/18
DOB:               A-File #:                                                   Page 6 of 8
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 176 of 250 Page ID
                                  #:24327
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 177 of 250 Page ID
                                      #:24328




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/17/2018
                Welfare Check          RGV
   0654
06/17/2018
                Welfare Check          RGV
   0700
06/17/2018
                Welfare Check          RGV
   0736
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0736
06/17/2018
                Welfare Check          RGV
   0822
06/17/2018
                Welfare Check          RGV
   0903
06/17/2018
                Welfare Check          RGV
   1004
06/17/2018
                Welfare Check          RGV
   1105
06/17/2018
                Perm Book Out          RGV
   1142




YANELA V                                                                 Printed:      7/26/18
DOB:            A-File #:                                                Page 8 of 8
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 178 of 250 Page ID
                                  #:24329
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 179 of 250 Page ID
                                      #:24330

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/21/2018
                        Arrest                 N/A
   1300
06/21/2018
                       Book In                 MCS
   1451
06/21/2018
                    Welfare Check              MCS
   1831
06/21/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1831
06/22/2018
                    Welfare Check              MCS
   0430
06/22/2018
                Served meal(Accepted)          MCS                    Cold Meal - Sandwich, Juice
   0430
06/22/2018
                    Welfare Check              MCS
   0819
06/22/2018
                    Welfare Check              MCS
   1100
06/22/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1100
06/22/2018
                    Welfare Check              MCS
   1307
06/22/2018
                    Welfare Check              MCS                    every person is well
   1540
06/22/2018
                      In Transit               MCS
   1714
06/22/2018
                      Received                 RGV
   1759
06/22/2018
               Bodily Cleansing Product        RGV
   1800
06/22/2018
               Clean Clothing Provided         RGV
   1800
06/22/2018
             Medical Screening Completed       RGV
   1800
06/22/2018
                Served meal(Accepted)          RGV                    Cold Meal
   1800
06/22/2018
                    Welfare Check              RGV
   1800
06/22/2018
                   Shower Provided             RGV
   1800
06/22/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   1800                Provided



DULCE M                                                                           Printed:      8/17/18
DOB:                                                                              Page 2 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 180 of 250 Page ID
                                      #:24331




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/22/2018
                   Welfare Check              RGV
   1813
06/22/2018
                   Welfare Check              RGV
   1904
06/23/2018
                   Welfare Check              RGV
   0304
06/23/2018
                   Welfare Check              RGV
   0752
06/23/2018
                   Welfare Check              RGV
   0802
06/23/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0802
06/23/2018
                   Welfare Check              RGV
   1000
06/23/2018
                   Welfare Check              RGV
   1100
06/23/2018
                   Welfare Check              RGV
   1243
06/23/2018
                   Welfare Check              RGV
   1247
06/23/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1247
06/23/2018
                   Welfare Check              RGV
   1300
06/23/2018
                   Welfare Check              RGV
   1513
06/23/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1513
06/23/2018
                   Welfare Check              RGV
   1552
06/23/2018
                   Welfare Check              RGV
   1703
06/23/2018
                   Welfare Check              RGV
   1752
06/23/2018
                   Welfare Check              RGV
   1858
06/23/2018
             Snacks, Milk, Juice Provided     RGV
   2001
06/23/2018
                   Welfare Check              RGV
   2001
06/23/2018
                   Welfare Check              RGV
   2055


DULCE M                                                                          Printed:      8/17/18
DOB:                                                                             Page 3 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 181 of 250 Page ID
                                      #:24332




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/23/2018
                Welfare Check          RGV
   2156
06/23/2018
             Served meal(Accepted)     RGV                    Cold Meal
   2156
06/23/2018
                Welfare Check          RGV
   2246
06/23/2018
                Welfare Check          RGV
   2259
06/23/2018
                Welfare Check          RGV
   2322
06/24/2018
                Welfare Check          RGV
   0007
06/24/2018
                Welfare Check          RGV
   0119
06/24/2018
                Welfare Check          RGV
   0225
06/24/2018
                Welfare Check          RGV
   0309
06/24/2018
                Welfare Check          RGV
   0400
06/24/2018
                Welfare Check          RGV
   0513
06/24/2018
                Welfare Check          RGV
   0719
06/24/2018
                Welfare Check          RGV
   0744
06/24/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0744
06/24/2018
                Welfare Check          RGV
   0805
06/24/2018
                Welfare Check          RGV
   0901
06/24/2018
                Welfare Check          RGV
   1221
06/24/2018
                Welfare Check          RGV
   1358
06/24/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1358
06/24/2018
                Welfare Check          RGV
   1413
06/24/2018
                Welfare Check          RGV
   1510


DULCE M                                                                   Printed:      8/17/18
DOB:                                                                      Page 4 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 182 of 250 Page ID
                                      #:24333




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/24/2018
                   Welfare Check              RGV
   1604
06/24/2018
                   Welfare Check              RGV
   1605
06/24/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1605
06/24/2018
                   Welfare Check              RGV
   1701
06/24/2018
                   Welfare Check              RGV
   1815
06/24/2018
                   Welfare Check              RGV
   1909
06/24/2018
             Snacks, Milk, Juice Provided     RGV
   2016
06/24/2018
                   Welfare Check              RGV
   2016
06/24/2018
                   Welfare Check              RGV
   2109
06/24/2018
                   Welfare Check              RGV
   2203
06/24/2018
                Processing Complete           RGV
   2227
06/24/2018
                   Welfare Check              RGV
   2309
06/25/2018
                   Welfare Check              RGV
   0018
06/25/2018
                   Welfare Check              RGV
   0101
06/25/2018
                   Welfare Check              RGV
   0122
06/25/2018
                   Welfare Check              RGV
   0205
06/25/2018
                   Welfare Check              RGV
   0304
06/25/2018
                   Welfare Check              RGV
   0308
06/25/2018
                   Welfare Check              RGV
   0407
06/25/2018
                   Welfare Check              RGV
   0511
06/25/2018
                   Welfare Check              RGV
   0648


DULCE M                                                                          Printed:      8/17/18
DOB:                                                                             Page 5 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 183 of 250 Page ID
                                      #:24334




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/25/2018
                Welfare Check          RGV
   0649
06/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0649
06/25/2018
                Welfare Check          RGV
   0707
06/25/2018
                Welfare Check          RGV
   0744
06/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0744
06/25/2018
                Welfare Check          RGV
   0830
06/25/2018
                Welfare Check          RGV
   1021
06/25/2018
                Welfare Check          RGV
   1318
06/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1318
06/25/2018
                Welfare Check          RGV
   1400
06/25/2018
                Welfare Check          RGV
   1434
06/25/2018
                Welfare Check          RGV
   1507
06/25/2018
                Welfare Check          RGV
   1609
06/25/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1609
06/25/2018
                Welfare Check          RGV
   1612
06/25/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1612
06/25/2018
                Welfare Check          RGV
   1726
06/25/2018
                Welfare Check          RGV
   1828
06/25/2018
                Welfare Check          RGV
   1909
06/25/2018
                Welfare Check          RGV
   2001
06/25/2018
                Welfare Check          RGV
   2111


DULCE M                                                                   Printed:      8/17/18
DOB:                                                                      Page 6 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 184 of 250 Page ID
                                      #:24335




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/25/2018
                   Welfare Check              RGV
   2143
06/25/2018
             Snacks, Milk, Juice Provided     RGV
   2201
06/25/2018
                   Welfare Check              RGV
   2201
06/25/2018
                   Welfare Check              RGV
   2243
06/25/2018
                   Welfare Check              RGV
   2314
06/26/2018
                   Welfare Check              RGV
   0005
06/26/2018
                   Welfare Check              RGV
   0120
06/26/2018
                   Welfare Check              RGV
   0201
06/26/2018
                   Welfare Check              RGV
   0213
06/26/2018
                   Welfare Check              RGV
   0306
06/26/2018
                   Welfare Check              RGV
   0401
06/26/2018
                   Welfare Check              RGV
   0505
06/26/2018
                   Welfare Check              RGV
   0601
06/26/2018
                   Welfare Check              RGV
   0602
06/26/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0602
06/26/2018
                   Welfare Check              RGV
   0717
06/26/2018
                  Shower Provided             RGV
   0721
06/26/2018
                   Perm Book Out              RGV
   1017




DULCE M                                                                         Printed:      8/17/18
DOB:                                                                            Page 7 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 185 of 250 Page ID
                                  #:24336
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 186 of 250 Page ID
                                      #:24337

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/21/2018
                        Arrest                 N/A
   1300
06/21/2018
                       Book In                 MCS
   1452
06/21/2018
                    Welfare Check              MCS
   1831
06/21/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1831
06/22/2018
                    Welfare Check              MCS
   0819
06/22/2018
                    Welfare Check              MCS
   1100
06/22/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1100
06/22/2018
                    Welfare Check              MCS
   1307
06/22/2018
                    Welfare Check              MCS                    every person is well
   1540
06/22/2018
                      In Transit               MCS
   1714
06/22/2018
                      Received                 RGV
   1759
06/22/2018
               Bodily Cleansing Product        RGV
   1800
06/22/2018
               Clean Clothing Provided         RGV
   1800
06/22/2018
             Medical Screening Completed       RGV
   1800
06/22/2018
                Served meal(Accepted)          RGV                    Cold Meal
   1800
06/22/2018
                    Welfare Check              RGV
   1800
06/22/2018
                   Shower Provided             RGV
   1800
06/22/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   1800                Provided
06/22/2018
                    Welfare Check              RGV
   1813
06/22/2018
                    Welfare Check              RGV
   1904



ESTHER V                                                                          Printed:      8/17/18
DOB:                                                                              Page 2 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 187 of 250 Page ID
                                      #:24338




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/23/2018
                   Welfare Check              RGV
   0304
06/23/2018
                   Welfare Check              RGV
   0752
06/23/2018
                   Welfare Check              RGV
   0802
06/23/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0802
06/23/2018
                   Welfare Check              RGV
   1000
06/23/2018
                   Welfare Check              RGV
   1100
06/23/2018
                   Welfare Check              RGV
   1243
06/23/2018
                   Welfare Check              RGV
   1247
06/23/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1247
06/23/2018
                   Welfare Check              RGV
   1300
06/23/2018
                   Welfare Check              RGV
   1513
06/23/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1513
06/23/2018
                   Welfare Check              RGV
   1552
06/23/2018
                   Welfare Check              RGV
   1703
06/23/2018
                   Welfare Check              RGV
   1752
06/23/2018
                   Welfare Check              RGV
   1858
06/23/2018
             Snacks, Milk, Juice Provided     RGV
   2001
06/23/2018
                   Welfare Check              RGV
   2001
06/23/2018
                   Welfare Check              RGV
   2019
06/23/2018
               Served meal(Accepted)          RGV                    Cold Meal
   2019
06/23/2018
                   Welfare Check              RGV
   2055


ESTHER V                                                                         Printed:      8/17/18
DOB:                                                                             Page 3 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 188 of 250 Page ID
                                      #:24339




                                        Station /
Date/Time           Activity                        Agent Name                    Comments
                                        Facility
06/23/2018
                  Welfare Check           RGV
   2156
06/23/2018
              Served meal(Accepted)       RGV                    Cold Meal
   2156
06/23/2018
                  Welfare Check           RGV
   2246
06/23/2018
                  Welfare Check           RGV
   2259
06/23/2018
                  Welfare Check           RGV
   2322
06/24/2018
                  Welfare Check           RGV
   0007
06/24/2018
                  Welfare Check           RGV
   0119
06/24/2018
                  Welfare Check           RGV
   0225
06/24/2018
                  Welfare Check           RGV
   0309
06/24/2018
                  Welfare Check           RGV
   0400
06/24/2018
                  Welfare Check           RGV
   0513
06/24/2018
                  Welfare Check           RGV
   0719
06/24/2018
                  Welfare Check           RGV
   0744
06/24/2018
              Served meal(Accepted)       RGV                    Hot Meal
   0744
06/24/2018
                  Welfare Check           RGV
   0805
06/24/2018
                  Welfare Check           RGV
   0901
06/24/2018
                  Welfare Check           RGV
   1221
06/24/2018
             Bodily Cleansing Product     RGV
   1325
06/24/2018
             Dental Hygiene Product       RGV
   1325
06/24/2018
             Clean Clothing Provided      RGV
   1325
06/24/2018
                  Welfare Check           RGV
   1325


ESTHER V                                                                     Printed:      8/17/18
DOB:                                                                         Page 4 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 189 of 250 Page ID
                                      #:24340




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/24/2018
             Snacks, Milk, Juice Provided     RGV
   1325
06/24/2018
                   Shower Provided            RGV
   1325
06/24/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   1325                Provided
06/24/2018
                    Welfare Check             RGV
   1358
06/24/2018
                Served meal(Accepted)         RGV                    Hot Meal
   1358
06/24/2018
                    Welfare Check             RGV
   1413
06/24/2018
                    Welfare Check             RGV
   1510
06/24/2018
                    Welfare Check             RGV
   1604
06/24/2018
                    Welfare Check             RGV
   1605
06/24/2018
                Served meal(Accepted)         RGV                    Cold Meal
   1605
06/24/2018
                    Welfare Check             RGV
   1701
06/24/2018
                    Welfare Check             RGV
   1815
06/24/2018
                    Welfare Check             RGV
   1909
06/24/2018
             Snacks, Milk, Juice Provided     RGV
   2016
06/24/2018
                    Welfare Check             RGV
   2016
06/24/2018
                    Welfare Check             RGV
   2109
06/24/2018
                    Welfare Check             RGV
   2203
06/24/2018
                 Processing Complete          RGV
   2227
06/24/2018
                    Welfare Check             RGV
   2229
06/24/2018
                Served meal(Accepted)         RGV                    Cold Meal - snacks
   2229
06/24/2018
                    Welfare Check             RGV
   2309


ESTHER V                                                                         Printed:      8/17/18
DOB:                                                                             Page 5 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 190 of 250 Page ID
                                      #:24341




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/25/2018
                Welfare Check          RGV
   0018
06/25/2018
                Welfare Check          RGV
   0101
06/25/2018
                Welfare Check          RGV
   0122
06/25/2018
                Welfare Check          RGV
   0205
06/25/2018
                Welfare Check          RGV
   0304
06/25/2018
                Welfare Check          RGV
   0308
06/25/2018
                Welfare Check          RGV
   0407
06/25/2018
                Welfare Check          RGV
   0511
06/25/2018
                Welfare Check          RGV
   0648
06/25/2018
                Welfare Check          RGV
   0649
06/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0649
06/25/2018
              UAC Video Shown          RGV
   0650
06/25/2018
                Welfare Check          RGV
   0707
06/25/2018
                Welfare Check          RGV
   0744
06/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0744
06/25/2018
                Welfare Check          RGV
   0830
06/25/2018
                Welfare Check          RGV
   1021
06/25/2018
                Welfare Check          RGV
   1318
06/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1318
06/25/2018
                Welfare Check          RGV
   1400
06/25/2018
                Welfare Check          RGV
   1434


ESTHER V                                                                 Printed:      8/17/18
DOB:                                                                     Page 6 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 191 of 250 Page ID
                                      #:24342




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/25/2018
                   Welfare Check              RGV
   1507
06/25/2018
                   Welfare Check              RGV
   1609
06/25/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1609
06/25/2018
                   Welfare Check              RGV
   1612
06/25/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1612
06/25/2018
                   Welfare Check              RGV
   1726
06/25/2018
                   Welfare Check              RGV
   1828
06/25/2018
                   Welfare Check              RGV
   1909
06/25/2018
                   Welfare Check              RGV
   2001
06/25/2018
                   Welfare Check              RGV
   2111
06/25/2018
                   Welfare Check              RGV
   2143
06/25/2018
             Snacks, Milk, Juice Provided     RGV
   2201
06/25/2018
                   Welfare Check              RGV
   2201
06/25/2018
                   Welfare Check              RGV
   2243
06/25/2018
                   Welfare Check              RGV
   2314
06/26/2018
                   Welfare Check              RGV
   0005
06/26/2018
                   Welfare Check              RGV
   0120
06/26/2018
                   Welfare Check              RGV
   0201
06/26/2018
                   Welfare Check              RGV
   0213
06/26/2018
                   Welfare Check              RGV
   0306
06/26/2018
                   Welfare Check              RGV
   0401


ESTHER V                                                                         Printed:      8/17/18
DOB:                                                                             Page 7 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 192 of 250 Page ID
                                      #:24343




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/26/2018
                Welfare Check          RGV
   0505
06/26/2018
                Welfare Check          RGV
   0601
06/26/2018
                Welfare Check          RGV
   0602
06/26/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0602
06/26/2018
              UAC Video Shown          RGV
   0603
06/26/2018
                Welfare Check          RGV
   0717
06/26/2018
                Perm Book Out          RGV
   1017




ESTHER V                                                                 Printed:      8/17/18
DOB:                                                                     Page 8 of 8
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 193 of 250 Page ID
                                  #:24344
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 194 of 250 Page ID
                                      #:24345

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                  Comments
                                             Facility
06/25/2018
                        Arrest                 N/A
   0120
06/25/2018
                       Book In                 MCS
   0351
06/25/2018
                    Welfare Check              MCS
   0556
06/25/2018
                    Welfare Check              MCS
   1739
06/25/2018
                Served meal(Accepted)          MCS                    Cold Meal - Sandwich, juice, crackers
   1739
06/25/2018
                    Welfare Check              MCS
   1751
06/25/2018
                      In Transit               MCS
   1902
06/25/2018
                      Received                 RGV
   2004
06/25/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   2005                Provided
06/25/2018
             Medical Screening Completed       RGV
   2005
06/25/2018                                                            Cold Meal - Sandwich, chips, apple and
                Served meal(Accepted)          RGV
   2005                                                               water
06/25/2018                                                            showers will be provided once operations
                        Other                  RGV
   2005                                                               resume at 700am.
06/25/2018
                    Welfare Check              RGV
   2005
06/25/2018
                    Welfare Check              RGV
   2111
06/25/2018
                    Welfare Check              RGV
   2143
06/25/2018
             Snacks, Milk, Juice Provided      RGV
   2201
06/25/2018
                    Welfare Check              RGV
   2201
06/25/2018
                    Welfare Check              RGV
   2243
06/25/2018
                    Welfare Check              RGV
   2314
06/26/2018
                    Welfare Check              RGV
   0005

MARIA P                                                                         Printed:      8/17/18
DOB:                                                                            Page 2 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 195 of 250 Page ID
                                      #:24346




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/26/2018
                   Welfare Check              RGV
   0120
06/26/2018
                   Welfare Check              RGV
   0201
06/26/2018
                   Welfare Check              RGV
   0213
06/26/2018
                   Welfare Check              RGV
   0306
06/26/2018
                   Welfare Check              RGV
   0401
06/26/2018
                   Welfare Check              RGV
   0505
06/26/2018
                   Welfare Check              RGV
   0601
06/26/2018
                   Welfare Check              RGV
   0602
06/26/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0602
06/26/2018
                   Welfare Check              RGV
   0717
06/26/2018
                   Welfare Check              RGV
   1104
06/26/2018
                   Welfare Check              RGV
   1245
06/26/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1245
06/26/2018
                   Welfare Check              RGV
   1508
06/26/2018
                   Welfare Check              RGV
   1600
06/26/2018
                   Welfare Check              RGV
   1645
06/26/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1645
06/26/2018
                   Welfare Check              RGV
   1708
06/26/2018
                   Welfare Check              RGV
   1800
06/26/2018
                   Welfare Check              RGV
   1900
06/26/2018
             Snacks, Milk, Juice Provided     RGV
   2003


MARIA P                                                                          Printed:      8/17/18
DOB:                                                                             Page 3 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 196 of 250 Page ID
                                      #:24347




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/26/2018
                Welfare Check          RGV
   2003
06/26/2018
              Processing Complete      RGV
   2008
06/26/2018
                Welfare Check          RGV
   2102
06/26/2018
                Welfare Check          RGV
   2205
06/26/2018
                Welfare Check          RGV
   2303
06/26/2018
                Welfare Check          RGV
   2314
06/27/2018
                Welfare Check          RGV
   0100
06/27/2018
                Welfare Check          RGV
   0200
06/27/2018
                Welfare Check          RGV
   0441
06/27/2018
                Welfare Check          RGV
   0500
06/27/2018
                Welfare Check          RGV
   0605
06/27/2018
                Welfare Check          RGV
   0700
06/27/2018
                Welfare Check          RGV
   0816
06/27/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0816
06/27/2018
                Welfare Check          RGV
   0820
06/27/2018
                Perm Book Out          RGV
   1020




MARIA P                                                                  Printed:      8/17/18
DOB:                                                                     Page 4 of 4
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 197 of 250 Page ID
                                  #:24348
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 198 of 250 Page ID
                                      #:24349

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                  Comments
                                             Facility
06/25/2018
                        Arrest                 N/A
   0120
06/25/2018
                       Book In                 MCS
   0352
06/25/2018
                    Welfare Check              MCS
   0556
06/25/2018
                    Welfare Check              MCS
   1739
06/25/2018
                Served meal(Accepted)          MCS                    Cold Meal - Sandwich, juice, crackers
   1739
06/25/2018
                    Welfare Check              MCS
   1751
06/25/2018
                      In Transit               MCS
   1902
06/25/2018
                      Received                 RGV
   2004
06/25/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   2005                Provided
06/25/2018
             Medical Screening Completed       RGV
   2005
06/25/2018                                                            Cold Meal - Sandwich, chips, apple and
                Served meal(Accepted)          RGV
   2005                                                               water
06/25/2018                                                            showers will be provided once operations
                        Other                  RGV
   2005                                                               resume at 700am.
06/25/2018
                    Welfare Check              RGV
   2005
06/25/2018
                    Welfare Check              RGV
   2111
06/25/2018
                    Welfare Check              RGV
   2143
06/25/2018
             Snacks, Milk, Juice Provided      RGV
   2201
06/25/2018
                    Welfare Check              RGV
   2201
06/25/2018
                    Welfare Check              RGV
   2243
06/25/2018
                    Welfare Check              RGV
   2314
06/26/2018
                    Welfare Check              RGV
   0005

EBER P                                                                          Printed:      8/17/18
DOB:                                                                            Page 2 of 5
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 199 of 250 Page ID
                                      #:24350




                                         Station /
Date/Time            Activity                        Agent Name                    Comments
                                         Facility
06/26/2018
                  Welfare Check            RGV
   0120
06/26/2018
                  Welfare Check            RGV
   0201
06/26/2018
                  Welfare Check            RGV
   0213
06/26/2018
                  Welfare Check            RGV
   0306
06/26/2018
                  Welfare Check            RGV
   0401
06/26/2018
                  Welfare Check            RGV
   0505
06/26/2018
                  Welfare Check            RGV
   0601
06/26/2018
                  Welfare Check            RGV
   0602
06/26/2018
              Served meal(Accepted)        RGV                    Hot Meal
   0602
06/26/2018
                UAC Video Shown            RGV
   0603
06/26/2018
                  Welfare Check            RGV
   0717
06/26/2018
                  Welfare Check            RGV
   1104
06/26/2018
                  Welfare Check            RGV
   1245
06/26/2018
              Served meal(Accepted)        RGV                    Hot Meal
   1245
06/26/2018
                  Welfare Check            RGV
   1508
06/26/2018
                  Welfare Check            RGV
   1600
06/26/2018
                  Welfare Check            RGV
   1645
06/26/2018
              Served meal(Accepted)        RGV                    Cold Meal
   1645
06/26/2018
                  Welfare Check            RGV
   1708
06/26/2018
                  Welfare Check            RGV
   1800
06/26/2018
             Rejoined With Family Unit     RGV                    Family visit.
   1830


EBER P                                                                        Printed:      8/17/18
DOB:                                                                          Page 3 of 5
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 200 of 250 Page ID
                                      #:24351




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/26/2018
                   Welfare Check              RGV
   1900
06/26/2018
               Separated from Family          RGV                    Cell - Operationally infeasible.
   1915
06/26/2018
             Snacks, Milk, Juice Provided     RGV
   2003
06/26/2018
                   Welfare Check              RGV
   2003
06/26/2018
                Processing Complete           RGV
   2008
06/26/2018
                   Welfare Check              RGV
   2102
06/26/2018
                   Welfare Check              RGV
   2205
06/26/2018
                   Welfare Check              RGV
   2303
06/26/2018
                   Welfare Check              RGV
   2314
06/27/2018
                   Welfare Check              RGV
   0100
06/27/2018
                   Welfare Check              RGV
   0200
06/27/2018
                   Welfare Check              RGV
   0441
06/27/2018
                   Welfare Check              RGV
   0500
06/27/2018
                   Welfare Check              RGV
   0605
06/27/2018
                   Welfare Check              RGV
   0700
06/27/2018
                   Welfare Check              RGV
   0816
06/27/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0816
06/27/2018
                   Welfare Check              RGV
   0820
06/27/2018
              Bodily Cleansing Product        RGV
   0939
06/27/2018
               Dental Hygiene Product         RGV
   0939
06/27/2018
               Clean Clothing Provided        RGV
   0939


EBER P                                                                          Printed:      8/17/18
DOB:                                                                            Page 4 of 5
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 201 of 250 Page ID
                                      #:24352




                                            Station /
Date/Time             Activity                          Agent Name        Comments
                                            Facility
06/27/2018
                    Welfare Check             RGV
   0939
06/27/2018
             Snacks, Milk, Juice Provided     RGV
   0939
06/27/2018
                   Shower Provided            RGV
   0939
06/27/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0939                Provided
06/27/2018
                   Perm Book Out              RGV
   1020




EBER P                                                               Printed:      8/17/18
DOB:                                                                 Page 5 of 5
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 202 of 250 Page ID
                                  #:24353
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 203 of 250 Page ID
                                      #:24354

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                   Comments
                                             Facility
06/18/2018
                        Arrest                 N/A
   2030
06/18/2018
                       Book In                 MCS
   2320
06/18/2018   Sleeping Cot/Mat and Blanket
                                               MCS
   2342                Provided
06/18/2018
             Snacks, Milk, Juice Provided      MCS
   2342
06/18/2018
                    Welfare Check              MCS
   2342
06/18/2018
             Medical Screening Completed       MCS
   2342
06/19/2018
                    Welfare Check              MCS
   0007
06/19/2018
                    Welfare Check              MCS
   0207
06/19/2018
                      In Transit               MCS
   0521
06/19/2018
                      Received                 RGV
   0532
06/19/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0533                Provided
06/19/2018
             Medical Screening Completed       RGV
   0533
06/19/2018                                                            subjects will be offered a shower at
                        Other                  RGV
   0533                                                               0700hrs
06/19/2018
                    Welfare Check              RGV
   0533
06/19/2018
             Snacks, Milk, Juice Provided      RGV
   0533
06/19/2018
                    Welfare Check              RGV
   0609
06/19/2018
                    Welfare Check              RGV
   0700
06/19/2018
                    Welfare Check              RGV
   0714
06/19/2018
                Served meal(Accepted)          RGV                    Hot Meal
   0714
06/19/2018
                    Welfare Check              RGV
   0800



HERLINDA C                                                                       Printed:      8/17/18
DOB:                                                                             Page 2 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 204 of 250 Page ID
                                      #:24355




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/19/2018
                Welfare Check          RGV
   1131
06/19/2018
                Welfare Check          RGV
   1217
06/19/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1217
06/19/2018
                Welfare Check          RGV
   1302
06/19/2018
                Welfare Check          RGV
   1500
06/19/2018
                Welfare Check          RGV
   1558
06/19/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1558
06/19/2018
                Welfare Check          RGV
   1727
06/19/2018
                Welfare Check          RGV
   1816
06/19/2018
                Welfare Check          RGV
   1901
06/19/2018
                Welfare Check          RGV
   2004
06/19/2018
                Welfare Check          RGV
   2105
06/19/2018
                Welfare Check          RGV
   2202
06/19/2018
                Welfare Check          RGV
   2259
06/20/2018
                Welfare Check          RGV
   0022
06/20/2018
                Welfare Check          RGV
   0148
06/20/2018
              Processing Complete      RGV
   0151
06/20/2018
                Welfare Check          RGV
   0432
06/20/2018
                Welfare Check          RGV
   0528
06/20/2018
                Welfare Check          RGV
   0815
06/20/2018
                Welfare Check          RGV
   0833


HERLINDA C                                                                Printed:      8/17/18
DOB:                                                                      Page 3 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 205 of 250 Page ID
                                      #:24356




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/20/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0833
06/20/2018
                   Welfare Check              RGV
   1000
06/20/2018
                   Welfare Check              RGV
   1213
06/20/2018
                   Welfare Check              RGV
   1214
06/20/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1214
06/20/2018
                   Welfare Check              RGV
   1502
06/20/2018
                   Welfare Check              RGV
   1616
06/20/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1616
06/20/2018
                   Welfare Check              RGV
   1715
06/20/2018
                   Welfare Check              RGV
   1816
06/20/2018
                   Welfare Check              RGV
   1901
06/20/2018
                   Welfare Check              RGV
   2000
06/20/2018
             Snacks, Milk, Juice Provided     RGV
   2003
06/20/2018
                   Welfare Check              RGV
   2003
06/20/2018
                   Welfare Check              RGV
   2143
06/20/2018
                   Welfare Check              RGV
   2215
06/20/2018
                   Welfare Check              RGV
   2301
06/20/2018
                   Welfare Check              RGV
   2329
06/21/2018
                   Welfare Check              RGV
   0023
06/21/2018
                   Welfare Check              RGV
   0101
06/21/2018
                   Welfare Check              RGV
   0330


HERLINDA C                                                                       Printed:      8/17/18
DOB:                                                                             Page 4 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 206 of 250 Page ID
                                      #:24357




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/21/2018
                Welfare Check          RGV
   0416
06/21/2018
                Welfare Check          RGV
   0500
06/21/2018
                Welfare Check          RGV
   0609
06/21/2018
                Welfare Check          RGV
   0821
06/21/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0821
06/21/2018
                Welfare Check          RGV
   1127
06/21/2018
                Welfare Check          RGV
   1313
06/21/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1313
06/21/2018
                Welfare Check          RGV
   1435
06/21/2018
                Welfare Check          RGV
   1605
06/21/2018
                Welfare Check          RGV
   1656
06/21/2018
                Welfare Check          RGV
   1800
06/21/2018
                Welfare Check          RGV
   1901
06/21/2018
                Welfare Check          RGV
   1936
06/21/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1936
06/21/2018
                Welfare Check          RGV
   1957
06/21/2018
                Welfare Check          RGV
   2059
06/21/2018
                Welfare Check          RGV
   2157
06/21/2018
                Welfare Check          RGV
   2219
06/22/2018
                Welfare Check          RGV
   0108
06/22/2018
                Welfare Check          RGV
   0152


HERLINDA C                                                               Printed:      8/17/18
DOB:                                                                     Page 5 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 207 of 250 Page ID
                                      #:24358




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/22/2018
                Welfare Check          RGV
   0459
06/22/2018
                Welfare Check          RGV
   0606
06/22/2018
                Welfare Check          RGV
   0700
06/22/2018
                Welfare Check          RGV
   0753
06/22/2018
                Welfare Check          RGV
   0800
06/22/2018
                Welfare Check          RGV
   0803
06/22/2018
                Welfare Check          RGV
   0815
06/22/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0815
06/22/2018
                Welfare Check          RGV
   0905
06/22/2018
                Welfare Check          RGV
   0935
06/22/2018
                Welfare Check          RGV
   1004
06/22/2018
                Welfare Check          RGV
   1103
06/22/2018
                Welfare Check          RGV
   1110
06/22/2018
                Welfare Check          RGV
   1222
06/22/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1222
06/22/2018
                Welfare Check          RGV
   1733
06/22/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1733
06/22/2018
                Welfare Check          RGV
   1813
06/22/2018
                Welfare Check          RGV
   1904
06/23/2018
                Welfare Check          RGV
   0304
06/23/2018
                Welfare Check          RGV
   0752


HERLINDA C                                                                Printed:      8/17/18
DOB:                                                                      Page 6 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 208 of 250 Page ID
                                      #:24359




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/23/2018
                Welfare Check          RGV
   0802
06/23/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0802
06/23/2018
                Welfare Check          RGV
   1000
06/23/2018
                Welfare Check          RGV
   1100
06/23/2018
                Welfare Check          RGV
   1243
06/23/2018
                Welfare Check          RGV
   1247
06/23/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1247
06/23/2018
                Welfare Check          RGV
   1300
06/23/2018
                Perm Book Out          RGV
   1305




HERLINDA C                                                               Printed:      8/17/18
DOB:                                                                     Page 7 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 209 of 250 Page ID
                                  #:24360
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 210 of 250 Page ID
                                      #:24361

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                   Comments
                                             Facility
06/18/2018
                        Arrest                 N/A
   2030
06/18/2018
                       Book In                 MCS
   2321
06/18/2018   Sleeping Cot/Mat and Blanket
                                               MCS
   2342                Provided
06/18/2018
             Snacks, Milk, Juice Provided      MCS
   2342
06/18/2018
                    Welfare Check              MCS
   2342
06/18/2018
             Medical Screening Completed       MCS
   2342
06/19/2018
                    Welfare Check              MCS
   0007
06/19/2018
                    Welfare Check              MCS
   0207
06/19/2018
                    Welfare Check              MCS
   0346
06/19/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich juice
   0346
06/19/2018
                      In Transit               MCS
   0521
06/19/2018
                      Received                 RGV
   0532
06/19/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0533                Provided
06/19/2018
             Medical Screening Completed       RGV
   0533
06/19/2018                                                            subjects will be offered a shower at
                        Other                  RGV
   0533                                                               0700hrs
06/19/2018
                    Welfare Check              RGV
   0533
06/19/2018
             Snacks, Milk, Juice Provided      RGV
   0533
06/19/2018
                    Welfare Check              RGV
   0609
06/19/2018
                    Welfare Check              RGV
   0700
06/19/2018
                    Welfare Check              RGV
   0714



GERSON F                                                                         Printed:      8/17/18
DOB:                                                                             Page 2 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 211 of 250 Page ID
                                      #:24362




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/19/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0714
06/19/2018
                  Shower Provided             RGV
   0725
06/19/2018
                   Welfare Check              RGV
   0800
06/19/2018
                   Welfare Check              RGV
   1131
06/19/2018
                   Welfare Check              RGV
   1217
06/19/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1217
06/19/2018
                   Welfare Check              RGV
   1302
06/19/2018
                   Welfare Check              RGV
   1500
06/19/2018
                   Welfare Check              RGV
   1558
06/19/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1558
06/19/2018
                   Welfare Check              RGV
   1727
06/19/2018
                   Welfare Check              RGV
   1816
06/19/2018
                   Welfare Check              RGV
   1901
06/19/2018
                   Welfare Check              RGV
   2004
06/19/2018
                   Welfare Check              RGV
   2105
06/19/2018
                   Welfare Check              RGV
   2202
06/19/2018
             Snacks, Milk, Juice Provided     RGV
   2203
06/19/2018
                   Welfare Check              RGV
   2203
06/19/2018
                   Welfare Check              RGV
   2259
06/20/2018
                   Welfare Check              RGV
   0022
06/20/2018
                   Welfare Check              RGV
   0148


GERSON F                                                                         Printed:      8/17/18
DOB:                                                                             Page 3 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 212 of 250 Page ID
                                      #:24363




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/20/2018
                Processing Complete           RGV
   0151
06/20/2018
                   Welfare Check              RGV
   0432
06/20/2018
                   Welfare Check              RGV
   0528
06/20/2018
                   Welfare Check              RGV
   0815
06/20/2018
                   Welfare Check              RGV
   0833
06/20/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0833
06/20/2018
                   Welfare Check              RGV
   1000
06/20/2018
                   Welfare Check              RGV
   1213
06/20/2018
                   Welfare Check              RGV
   1214
06/20/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1214
06/20/2018
                   Welfare Check              RGV
   1502
06/20/2018
                   Welfare Check              RGV
   1616
06/20/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1616
06/20/2018
                   Welfare Check              RGV
   1715
06/20/2018
                   Welfare Check              RGV
   1816
06/20/2018
             Rejoined With Family Unit        RGV                    Family visit.
   1830
06/20/2018
               Separated from Family          RGV                    Cell - Operationally infeasible.
   1900
06/20/2018
                   Welfare Check              RGV
   1901
06/20/2018
                   Welfare Check              RGV
   2000
06/20/2018
             Snacks, Milk, Juice Provided     RGV
   2003
06/20/2018
                   Welfare Check              RGV
   2003


GERSON F                                                                         Printed:      8/17/18
DOB:                                                                             Page 4 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 213 of 250 Page ID
                                      #:24364




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/20/2018
                Welfare Check          RGV
   2143
06/20/2018
                Welfare Check          RGV
   2215
06/20/2018
                Welfare Check          RGV
   2231
06/20/2018
             Served meal(Accepted)     RGV                    Cold Meal - SNACK
   2231
06/20/2018
                Welfare Check          RGV
   2301
06/20/2018
                Welfare Check          RGV
   2329
06/21/2018
                Welfare Check          RGV
   0023
06/21/2018
                Welfare Check          RGV
   0101
06/21/2018
                Welfare Check          RGV
   0330
06/21/2018
                Welfare Check          RGV
   0416
06/21/2018
                Welfare Check          RGV
   0500
06/21/2018
                Welfare Check          RGV
   0609
06/21/2018
                Welfare Check          RGV
   0821
06/21/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0821
06/21/2018
                Welfare Check          RGV
   1127
06/21/2018
                Welfare Check          RGV
   1313
06/21/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1313
06/21/2018
                Welfare Check          RGV
   1435
06/21/2018
                Welfare Check          RGV
   1605
06/21/2018
                Welfare Check          RGV
   1656
06/21/2018
                Welfare Check          RGV
   1800


GERSON F                                                                 Printed:      8/17/18
DOB:                                                                     Page 5 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 214 of 250 Page ID
                                      #:24365




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/21/2018
                Welfare Check          RGV
   1901
06/21/2018
                Welfare Check          RGV
   1936
06/21/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1936
06/21/2018
                Welfare Check          RGV
   1957
06/21/2018
                Welfare Check          RGV
   2059
06/21/2018
                Welfare Check          RGV
   2157
06/21/2018
                Welfare Check          RGV
   2219
06/22/2018
                Welfare Check          RGV
   0108
06/22/2018
                Welfare Check          RGV
   0152
06/22/2018
                Welfare Check          RGV
   0459
06/22/2018
                Welfare Check          RGV
   0606
06/22/2018
                Welfare Check          RGV
   0700
06/22/2018
                Welfare Check          RGV
   0753
06/22/2018
                Welfare Check          RGV
   0800
06/22/2018
                Welfare Check          RGV
   0803
06/22/2018
                Welfare Check          RGV
   0815
06/22/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0815
06/22/2018
                Welfare Check          RGV
   0905
06/22/2018
                Welfare Check          RGV
   0935
06/22/2018
                Welfare Check          RGV
   1004
06/22/2018
                Welfare Check          RGV
   1103


GERSON F                                                                 Printed:      8/17/18
DOB:                                                                     Page 6 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 215 of 250 Page ID
                                      #:24366




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/22/2018
                Welfare Check          RGV
   1110
06/22/2018
                Welfare Check          RGV
   1222
06/22/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1222
06/22/2018
                Welfare Check          RGV
   1733
06/22/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1733
06/22/2018
                Welfare Check          RGV
   1813
06/22/2018
                Welfare Check          RGV
   1904
06/23/2018
                Welfare Check          RGV
   0304
06/23/2018
                Welfare Check          RGV
   0752
06/23/2018
                Welfare Check          RGV
   0802
06/23/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0802
06/23/2018
                Welfare Check          RGV
   1000
06/23/2018
                Welfare Check          RGV
   1100
06/23/2018
                Welfare Check          RGV
   1243
06/23/2018
                Welfare Check          RGV
   1247
06/23/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1247
06/23/2018
                Welfare Check          RGV
   1300
06/23/2018
                Perm Book Out          RGV
   1305




GERSON F                                                                  Printed:      8/17/18
DOB:                                                                      Page 7 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 216 of 250 Page ID
                                  #:24367
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 217 of 250 Page ID
                                      #:24368

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/05/2018
                        Arrest                 N/A
   2015
06/05/2018
                       Book In                 RGC
   2308
06/05/2018
                    Welfare Check              RGC
   2336
06/06/2018
                    Welfare Check              RGC
   0300
06/06/2018                                                            Cold Meal - Juvy's served Hot meal fed at
                Served meal(Accepted)          RGC
   0300                                                               0145 hr.s
06/06/2018
                    Welfare Check              RGC
   0800
06/06/2018
                    Welfare Check              RGC
   0900
06/06/2018
                Served meal(Accepted)          RGC                    Cold Meal
   0900
06/06/2018
                    Welfare Check              RGC
   1200
06/06/2018
                    Welfare Check              RGC
   1632
06/06/2018
                Served meal(Accepted)          RGC                    Cold Meal
   1632
06/07/2018
                      In Transit               RGC
   0105
06/07/2018
                      Received                 RGV
   0153
06/07/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0156                Provided
06/07/2018
             Medical Screening Completed       RGV
   0156
06/07/2018                                                            SUBJECT WILL SHOWER IN THE
                        Other                  RGV
   0156                                                               MORNING WHEN STAFF ARRIVES
06/07/2018
                    Welfare Check              RGV
   0156
06/07/2018
             Snacks, Milk, Juice Provided      RGV
   0156
06/07/2018
                    Welfare Check              RGV
   0301
06/07/2018
                    Welfare Check              RGV
   0400



VILMA M                                                                           Printed:      8/17/18
DOB:                                                                              Page 2 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 218 of 250 Page ID
                                      #:24369




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/07/2018
                Welfare Check          RGV
   0818
06/07/2018
             Served meal(Accepted)     RGV                    Cold Meal - fed
   0818
06/07/2018
                Welfare Check          RGV
   0832
06/07/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   0832
06/07/2018
                Welfare Check          RGV
   0833
06/07/2018
               Shower Provided         RGV
   0833
06/07/2018
                Welfare Check          RGV
   0919
06/07/2018
                Welfare Check          RGV
   1008
06/07/2018
                Welfare Check          RGV
   1111
06/07/2018
                Welfare Check          RGV
   1144
06/07/2018
             Served meal(Accepted)     RGV                    Cold Meal - fed
   1144
06/07/2018
                Welfare Check          RGV
   1151
06/07/2018
                Welfare Check          RGV
   1246
06/07/2018
                Welfare Check          RGV
   1310
06/07/2018
                Welfare Check          RGV
   1404
06/07/2018
                Welfare Check          RGV
   1513
06/07/2018
                Welfare Check          RGV
   1600
06/07/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1600
06/07/2018
                Welfare Check          RGV
   1605
06/07/2018
                Welfare Check          RGV
   1718
06/07/2018
                Welfare Check          RGV
   1802


VILMA M                                                                   Printed:      8/17/18
DOB:                                                                      Page 3 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 219 of 250 Page ID
                                      #:24370




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/07/2018
                Welfare Check          RGV
   1931
06/07/2018
                Welfare Check          RGV
   2015
06/07/2018
                Welfare Check          RGV
   2117
06/07/2018
                Welfare Check          RGV
   2226
06/07/2018
                Welfare Check          RGV
   2235
06/07/2018
             Served meal(Accepted)     RGV                    Cold Meal - snacks
   2235
06/07/2018
                Welfare Check          RGV                    Subject is sound and well
   2300
06/07/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snack provided
   2300
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0000
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0100
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0200
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0300
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0400
06/08/2018
                Welfare Check          RGV
   0911
06/08/2018
                Welfare Check          RGV
   1009
06/08/2018
                Welfare Check          RGV
   1120
06/08/2018
                Welfare Check          RGV
   1206
06/08/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1206
06/08/2018
              Processing Complete      RGV
   1254
06/08/2018
                Welfare Check          RGV
   1333
06/08/2018
                Welfare Check          RGV
   1414


VILMA M                                                                  Printed:      8/17/18
DOB:                                                                     Page 4 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 220 of 250 Page ID
                                      #:24371




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/08/2018
                Welfare Check          RGV
   1558
06/08/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1558
06/08/2018
                Welfare Check          RGV
   1703
06/08/2018
                Welfare Check          RGV
   1803
06/08/2018
                Welfare Check          RGV
   1900
06/08/2018
                Welfare Check          RGV
   2002
06/08/2018
                Welfare Check          RGV
   2100
06/08/2018
                Welfare Check          RGV
   2103
06/08/2018
                Welfare Check          RGV
   2200
06/08/2018
                Welfare Check          RGV
   2256
06/08/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snacks
   2256
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   2300
06/08/2018
                Welfare Check          RGV
   2330
06/08/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snack provided during roll call
   2330
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0000
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0100
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0200
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0300
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0400
06/09/2018
                Welfare Check          RGV
   0433
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0500


VILMA M                                                                   Printed:      8/17/18
DOB:                                                                      Page 5 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 221 of 250 Page ID
                                      #:24372




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/09/2018
                Welfare Check          RGV                    Subject is sound and well
   0600
06/09/2018
                Welfare Check          RGV
   0620
06/09/2018
             Served meal(Accepted)     RGV                    Cold Meal
   0658
06/09/2018
                Perm Book Out          RGV
   1119




VILMA M                                                                   Printed:      8/17/18
DOB:                                                                      Page 6 of 6
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 222 of 250 Page ID
                                  #:24373
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 223 of 250 Page ID
                                      #:24374

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/05/2018
                        Arrest                 N/A
   2015
06/05/2018
                       Book In                 RGC
   2309
06/05/2018
                    Welfare Check              RGC
   2336
06/06/2018
                    Welfare Check              RGC
   0300
06/06/2018                                                            Cold Meal - Juvy's served Hot meal fed at
                Served meal(Accepted)          RGC
   0300                                                               0145 hr.s
06/06/2018
                    Welfare Check              RGC
   0800
06/06/2018
             Snacks, Milk, Juice Provided      RGC
   0900
06/06/2018
                Served meal(Accepted)          RGC                    Hot Meal
   0900
06/06/2018
                    Welfare Check              RGC
   0900
06/06/2018
                    Welfare Check              RGC
   1200
06/06/2018
                    Welfare Check              RGC
   1632
06/06/2018
                Served meal(Accepted)          RGC                    Cold Meal
   1632
06/06/2018
               FOJC and ORR Notified           RGC
   1915
06/06/2018
                 UAC Video Shown               RGC
   1923
06/07/2018
                      In Transit               RGC
   0105
06/07/2018
                      Received                 RGV
   0153
06/07/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0156                Provided
06/07/2018
             Medical Screening Completed       RGV
   0156
06/07/2018                                                            SUBJECT WILL SHOWER IN THE
                        Other                  RGV
   0156                                                               MORNING WHEN STAFF ARRIVES
06/07/2018
                    Welfare Check              RGV
   0156



EZRA C                                                                            Printed:      8/17/18
DOB:                                                                              Page 2 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 224 of 250 Page ID
                                      #:24375




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/07/2018
             Snacks, Milk, Juice Provided     RGV
   0156
06/07/2018
                   Welfare Check              RGV
   0301
06/07/2018
                   Welfare Check              RGV
   0400
06/07/2018
                   Welfare Check              RGV
   0817
06/07/2018
                 UAC Video Shown              RGV                    know what to expect
   0817
06/07/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0817
06/07/2018
                   Welfare Check              RGV
   0832
06/07/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0832
06/07/2018
                   Welfare Check              RGV
   0833
06/07/2018
                  Shower Provided             RGV
   0833
06/07/2018
                   Welfare Check              RGV
   0919
06/07/2018
                   Welfare Check              RGV
   1008
06/07/2018
                   Welfare Check              RGV
   1111
06/07/2018
                   Welfare Check              RGV
   1145
06/07/2018
                 UAC Video Shown              RGV                    know what to expect
   1145
06/07/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   1145
06/07/2018
                   Welfare Check              RGV
   1151
06/07/2018
                   Welfare Check              RGV
   1246
06/07/2018
                   Welfare Check              RGV
   1310
06/07/2018
                   Welfare Check              RGV
   1404
06/07/2018
                   Welfare Check              RGV
   1513


EZRA C                                                                         Printed:      8/17/18
DOB:                                                                           Page 3 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 225 of 250 Page ID
                                      #:24376




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/07/2018
                Welfare Check          RGV
   1600
06/07/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1600
06/07/2018
                Welfare Check          RGV
   1605
06/07/2018
                Welfare Check          RGV
   1718
06/07/2018
                Welfare Check          RGV
   1802
06/07/2018
                Welfare Check          RGV
   1931
06/07/2018
                Welfare Check          RGV
   2015
06/07/2018
                Welfare Check          RGV
   2117
06/07/2018
                Welfare Check          RGV
   2226
06/07/2018
                Welfare Check          RGV
   2235
06/07/2018
             Served meal(Accepted)     RGV                    Cold Meal - snacks
   2235
06/07/2018
                Welfare Check          RGV                    Subject is sound and well
   2300
06/07/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snack provided
   2300
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0000
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0100
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0200
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0300
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   0400
06/08/2018
                Welfare Check          RGV
   0911
06/08/2018
                Welfare Check          RGV
   1009
06/08/2018
                Welfare Check          RGV
   1120


EZRA C                                                                    Printed:      8/17/18
DOB:                                                                      Page 4 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 226 of 250 Page ID
                                      #:24377




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/08/2018
                Welfare Check          RGV
   1202
06/08/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1202
06/08/2018
                Welfare Check          RGV
   1206
06/08/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1206
06/08/2018
              Processing Complete      RGV
   1254
06/08/2018
                Welfare Check          RGV
   1333
06/08/2018
                Welfare Check          RGV
   1414
06/08/2018
                Welfare Check          RGV
   1558
06/08/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1558
06/08/2018
                Welfare Check          RGV
   1703
06/08/2018
                Welfare Check          RGV
   1803
06/08/2018
                Welfare Check          RGV
   1900
06/08/2018
                Welfare Check          RGV
   2002
06/08/2018
                Welfare Check          RGV
   2100
06/08/2018
                Welfare Check          RGV
   2103
06/08/2018
                Welfare Check          RGV
   2200
06/08/2018
                Welfare Check          RGV
   2256
06/08/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snacks
   2256
06/08/2018
                Welfare Check          RGV                    Subject is sound and well
   2300
06/08/2018
                Welfare Check          RGV
   2330
06/08/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snack provided during roll call
   2330


EZRA C                                                                    Printed:      8/17/18
DOB:                                                                      Page 5 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 227 of 250 Page ID
                                      #:24378




                                      Station /
Date/Time           Activity                      Agent Name                   Comments
                                      Facility
06/09/2018
                 Welfare Check          RGV                    Subject is sound and well
   0000
06/09/2018
               Placement Arranged       RGV                    BCFS RAYMONDVILLE
   0028
06/09/2018
             ORR Placement Received     RGV                    BCFS RAYMONDVILLE
   0028
06/09/2018
                 Welfare Check          RGV                    Subject is sound and well
   0100
06/09/2018
                 Welfare Check          RGV                    Subject is sound and well
   0200
06/09/2018
                 Welfare Check          RGV                    Subject is sound and well
   0300
06/09/2018
                 Welfare Check          RGV                    Subject is sound and well
   0400
06/09/2018
                 Welfare Check          RGV
   0433
06/09/2018
                 Welfare Check          RGV                    Subject is sound and well
   0500
06/09/2018
                 Welfare Check          RGV                    Subject is sound and well
   0600
06/09/2018
                 Welfare Check          RGV
   0620
06/09/2018
                 Welfare Check          RGV
   0956
06/09/2018
              Served meal(Accepted)     RGV                    Hot Meal
   0956
06/09/2018
                 Perm Book Out          RGV
   1119




EZRA C                                                                    Printed:      8/17/18
DOB:                                                                      Page 6 of 6
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 228 of 250 Page ID
                                     #:24379




Subject Activity Log


ROCIO M
                                     Gender:                F
                                     DOB:                          (33 yoa)
                                     Nationality:           MEXICO
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/09/2018 2245
Book In Date/Time:  06/10/2018 1547
Book Out Date/Time: 06/11/2018 1107

Processing Agent:
Transport Officer:
Apprehending Agents

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




ROCIO M                                                                     Printed:      8/7/18
DOB:                     A-File #:                                          Page 1 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 229 of 250 Page ID
                                      #:24380

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/09/2018
                        Arrest                 N/A
   2245
06/09/2018
                       Book In                 RGC
   2335
06/10/2018
             Snacks, Milk, Juice Provided      RGC
   0545
06/10/2018
                    Welfare Check              RGC
   0545
06/10/2018
                Served meal(Accepted)          RGC                    Cold Meal
   0545
06/10/2018
                    Welfare Check              RGC
   1000
06/10/2018
             Snacks, Milk, Juice Provided      RGC
   1100
06/10/2018
                Served meal(Accepted)          RGC                    Cold Meal
   1100
06/10/2018
                    Welfare Check              RGC
   1100
06/10/2018
                 Processing Complete           RGC
   1107
06/10/2018
                      In Transit               RGC
   1405
06/10/2018
                      Received                 RGV
   1547
06/10/2018
                    Welfare Check              RGV
   1605
06/10/2018
                Served meal(Accepted)          RGV                    Cold Meal
   1605
06/10/2018
                    Welfare Check              RGV
   1645
06/10/2018
               Bodily Cleansing Product        RGV
   1647
06/10/2018
               Clean Clothing Provided         RGV
   1647
06/10/2018
             Medical Screening Completed       RGV
   1647
06/10/2018
                   Shower Provided             RGV
   1647
06/10/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   1647                Provided



ROCIO M                                                                           Printed:      8/7/18
DOB:                        A-File #:                                             Page 2 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 230 of 250 Page ID
                                      #:24381




                                            Station /
Date/Time             Activity                          Agent Name                  Comments
                                            Facility
06/10/2018
                   Welfare Check              RGV
   1700
06/10/2018
                   Welfare Check              RGV
   1809
06/10/2018
                   Welfare Check              RGV
   1902
06/10/2018
             Snacks, Milk, Juice Provided     RGV
   2001
06/10/2018
                   Welfare Check              RGV
   2001
06/10/2018
                   Welfare Check              RGV
   2112
06/10/2018
                   Welfare Check              RGV
   2331
06/11/2018
             Snacks, Milk, Juice Provided     RGV
   0022
06/11/2018
                   Welfare Check              RGV
   0022
06/11/2018
                   Welfare Check              RGV
   0139
06/11/2018
                   Welfare Check              RGV
   0217
06/11/2018
                   Welfare Check              RGV
   0253
06/11/2018
             Snacks, Milk, Juice Provided     RGV
   0348
06/11/2018
                   Welfare Check              RGV
   0348
06/11/2018
                   Welfare Check              RGV
   0450
06/11/2018
                   Welfare Check              RGV
   0549
06/11/2018
                   Welfare Check              RGV
   0722
06/11/2018
               Served meal(Accepted)          RGV                    Cold Meal - fed
   0722
06/11/2018
                   Welfare Check              RGV
   0731
06/11/2018
                   Welfare Check              RGV
   0824
06/11/2018
                   Welfare Check              RGV
   0929


ROCIO M                                                                        Printed:      8/7/18
DOB:                -File #:                                                   Page 3 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 231 of 250 Page ID
                                      #:24382




                                  Station /
Date/Time          Activity                   Agent Name             Comments
                                  Facility
06/11/2018
                Perm Book Out       RGV
   1107




ROCIO M                                                         Printed:      8/7/18
DOB:            A-File #:                                       Page 4 of 4
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 232 of 250 Page ID
                                     #:24383




Subject Activity Log


NOREDITH P
                                     Gender:                F
                                     DOB:                           15 yoa)
                                     Nationality:           MEXICO
                                     Accompanying Adult(s): ROCIO M




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/09/2018 2245
Book In Date/Time:  06/10/2018 1547
Book Out Date/Time: 06/11/2018 1107

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




NOREDITH P                                                                  Printed:      8/7/18
DOB:                     A-File #:                                          Page 1 of 4
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 233 of 250 Page ID
                                  #:24384
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 234 of 250 Page ID
                                  #:24385
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 235 of 250 Page ID
                                      #:24386




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/11/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   0721
06/11/2018
                Welfare Check          RGV
   0731
06/11/2018
                Welfare Check          RGV
   0824
06/11/2018
                Welfare Check          RGV
   0929
06/11/2018
                Perm Book Out          RGV
   1107




NOREDITH P                                                              Printed:      8/7/18
DOB:             -File #:                                               Page 4 of 4
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 236 of 250 Page ID
                                     #:24387




Subject Activity Log


IRIS E
                                     Gender:                F
                                     DOB:                           28 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   05/02/2018 1800
Book In Date/Time:  05/02/2018 2003
Book Out Date/Time: 05/05/2018 1414

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




IRIS E                                                                      Printed:      8/2/18
DOB:                     A-File #:                                          Page 1 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 237 of 250 Page ID
                                      #:24388

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
05/02/2018
                          Arrest                N/A
   1800
05/02/2018
                          Book In               RGV
   2003
05/02/2018
                    Welfare Check               RGV
   2009
05/02/2018
                    Welfare Check               RGV
   2059
05/02/2018
                    Welfare Check               RGV
   2235
05/02/2018
                Served meal(Accepted)           RGV                   Cold Meal - Snacks
   2235
05/03/2018   Sleeping Cot/Mat and Blanket
                                                RGV
   0507                Provided
05/03/2018
             Medical Screening Completed        RGV
   0507
05/03/2018                                                            detainee will shower once operations
                           Other                RGV
   0507                                                               resume at 0700 on 05/03/2018.
05/03/2018
                    Welfare Check               RGV
   0507
05/03/2018
             Snacks, Milk, Juice Provided       RGV
   0507
05/03/2018
                   Shower Provided              RGV
   0739
05/03/2018
                    Welfare Check               RGV
   0747
05/03/2018
                Served meal(Accepted)           RGV                   Cold Meal - fed
   0747
05/03/2018
                    Welfare Check               RGV
   1148
05/03/2018
                    Welfare Check               RGV
   1201
05/03/2018
                    Welfare Check               RGV
   1221
05/03/2018
                Served meal(Accepted)           RGV                   Cold Meal
   1221
05/03/2018
                    Welfare Check               RGV
   1310
05/03/2018
                    Welfare Check               RGV
   1418



IRIS ESCOBAR-MURCIA                                                               Printed:      8/2/18
DOB: 02/22/1990(28 yoa)       A-File #: 215707086                                 Page 2 of 4
Event: MCS1805000074
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 238 of 250 Page ID
                                      #:24389




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
05/03/2018
                Welfare Check          RGV
   1500
05/03/2018
                Welfare Check          RGV
   1557
05/03/2018
                Welfare Check          RGV
   1715
05/03/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1715
05/03/2018
                Welfare Check          RGV
   1805
05/03/2018
                Welfare Check          RGV
   2015
05/03/2018
                Welfare Check          RGV
   2110
05/03/2018
                Welfare Check          RGV
   2201
05/04/2018
                Welfare Check          RGV
   0239
05/04/2018
                Welfare Check          RGV
   0757
05/04/2018
                Welfare Check          RGV
   0759
05/04/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0759
05/04/2018
                Welfare Check          RGV
   0857
05/04/2018
                Welfare Check          RGV
   0956
05/04/2018
                Welfare Check          RGV
   1057
05/04/2018
                Welfare Check          RGV
   1156
05/04/2018
                Welfare Check          RGV
   1157
05/04/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1157
05/04/2018
                Welfare Check          RGV
   1259
05/04/2018
                Welfare Check          RGV
   1356
05/04/2018
                Welfare Check          RGV
   1502


IRIS E                                                                   Printed:      8/2/18
DOB:            A-File #:                                                Page 3 of 4
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 239 of 250 Page ID
                                  #:24390
   Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 240 of 250 Page ID
                                     #:24391




Subject Activity Log


JOSUE G
                                     Gender:                M
                                     DOB:                           10 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s): IRIS        E




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   05/02/2018 1800
Book In Date/Time:  05/02/2018 2003
Book Out Date/Time: 05/05/2018 1414

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




JOSUE G                                                                     Printed:      8/2/18
DOB:                     A-File #:                                          Page 1 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 241 of 250 Page ID
                                      #:24392

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
05/02/2018
                        Arrest                 N/A
   1800
05/02/2018
                       Book In                 RGV
   2003
05/02/2018
                    Welfare Check              RGV
   2009
05/02/2018
                    Welfare Check              RGV
   2059
05/02/2018
                    Welfare Check              RGV
   2235
05/02/2018
                Served meal(Accepted)          RGV                    Cold Meal - Snacks
   2235
05/03/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0507                Provided
05/03/2018
             Medical Screening Completed       RGV
   0507
05/03/2018                                                            detainee will shower once operations
                        Other                  RGV
   0507                                                               resume at 0700 on 05/03/2018.
05/03/2018
                    Welfare Check              RGV
   0507
05/03/2018
             Snacks, Milk, Juice Provided      RGV
   0507
05/03/2018
                   Shower Provided             RGV
   0742
05/03/2018
                    Welfare Check              RGV
   0745
05/03/2018
                 UAC Video Shown               RGV                    know what to expect
   0745
05/03/2018
                Served meal(Accepted)          RGV                    Hot Meal - fed
   0745
05/03/2018
                    Welfare Check              RGV
   1148
05/03/2018
                    Welfare Check              RGV
   1201
05/03/2018
                    Welfare Check              RGV
   1220
05/03/2018
                 UAC Video Shown               RGV                    know what to expect
   1220
05/03/2018
                Served meal(Accepted)          RGV                    Hot Meal - fed
   1220



JOSUE G                                                                         Printed:      8/2/18
DOB:                        A-File #:                                           Page 2 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 242 of 250 Page ID
                                      #:24393




                                         Station /
Date/Time            Activity                        Agent Name                   Comments
                                         Facility
05/03/2018
                  Welfare Check            RGV
   1310
05/03/2018
                  Welfare Check            RGV
   1418
05/03/2018
                  Welfare Check            RGV
   1500
05/03/2018
                  Welfare Check            RGV
   1557
05/03/2018
                  Welfare Check            RGV
   1715
05/03/2018
              Served meal(Accepted)        RGV                    Hot Meal
   1715
05/03/2018
                  Welfare Check            RGV
   1805
05/03/2018
             Rejoined With Family Unit     RGV
   1830
05/03/2018
                  Welfare Check            RGV
   2015
05/03/2018
                  Welfare Check            RGV
   2110
05/03/2018
                  Welfare Check            RGV
   2201
05/04/2018
                  Welfare Check            RGV
   0239
05/04/2018
                  Welfare Check            RGV
   0757
05/04/2018
                  Welfare Check            RGV
   0759
05/04/2018
              Served meal(Accepted)        RGV                    Hot Meal
   0759
05/04/2018
                  Welfare Check            RGV
   0857
05/04/2018
                  Welfare Check            RGV
   0956
05/04/2018
                  Welfare Check            RGV
   1057
05/04/2018
                  Welfare Check            RGV
   1156
05/04/2018
                  Welfare Check            RGV
   1157
05/04/2018
              Served meal(Accepted)        RGV                    Hot Meal
   1157


JOSUE G                                                                      Printed:      8/2/18
DOB:               -File #:                                                  Page 3 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 243 of 250 Page ID
                                      #:24394




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
05/04/2018
                Welfare Check          RGV
   1259
05/04/2018
                Welfare Check          RGV
   1356
05/04/2018
                Welfare Check          RGV
   1502
05/04/2018
                Welfare Check          RGV
   1506
05/04/2018
                Welfare Check          RGV
   1600
05/04/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1600
05/04/2018
                Welfare Check          RGV
   1731
05/04/2018
                Welfare Check          RGV
   1812
05/04/2018
                Welfare Check          RGV
   1904
05/04/2018
                Welfare Check          RGV
   2200
05/04/2018
             Served meal(Accepted)     RGV                    Cold Meal - Snacks
   2200
05/04/2018
              Processing Complete      RGV
   2214
05/05/2018
                Welfare Check          RGV
   0913
05/05/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0913
05/05/2018
                Welfare Check          RGV
   0917
05/05/2018
                Welfare Check          RGV
   1245
05/05/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1245
05/05/2018
                Welfare Check          RGV
   1256
05/05/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1256
05/05/2018
                Perm Book Out          RGV
   1414




JOSUE G                                                                   Printed:      8/2/18
DOB:            A-File #:                                                 Page 4 of 4
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 244 of 250 Page ID
                                  #:24395
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 245 of 250 Page ID
                                      #:24396

                                     Subject Activity Log


                                      Station /
Date/Time          Activity                       Agent Name                    Comments
                                      Facility
06/22/2018
                    Arrest              N/A
   1808
06/22/2018
                   Book In              MCS
   2015
06/22/2018
                Welfare Check           MCS                    every person is well
   2100
06/22/2018
                Welfare Check           MCS                    everyone is well
   2216
06/23/2018
                Welfare Check           MCS
   0807
06/23/2018
                Welfare Check           MCS
   0953
06/23/2018
                Welfare Check           MCS
   1034
06/23/2018
                Welfare Check           MCS
   1203
06/23/2018
             Served meal(Accepted)      MCS                    Cold Meal
   1203
06/23/2018
                Welfare Check           MCS
   1204
06/23/2018
                Welfare Check           MCS
   1246
06/23/2018
                Welfare Check           MCS
   1419
06/23/2018
                   In Transit           MCS
   2104
06/23/2018
                   Received             RGV
   2120
06/23/2018
                Welfare Check           RGV
   2156
06/23/2018
             Served meal(Accepted)      RGV                    Cold Meal
   2156
06/23/2018
                Welfare Check           RGV
   2246
06/23/2018
                Welfare Check           RGV
   2259
06/23/2018
                Welfare Check           RGV
   2322
06/24/2018
                Welfare Check           RGV
   0007



MIRZA O                                                                    Printed:      8/17/18
DOB:                                                                       Page 2 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 246 of 250 Page ID
                                      #:24397




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/24/2018
                Welfare Check          RGV
   0119
06/24/2018
                Welfare Check          RGV
   0225
06/24/2018
                Welfare Check          RGV
   0309
06/24/2018
                Welfare Check          RGV
   0400
06/24/2018
                Welfare Check          RGV
   0513
06/24/2018
                Welfare Check          RGV
   0719
06/24/2018
               Shower Provided         RGV
   0734
06/24/2018
                Welfare Check          RGV
   0744
06/24/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0744
06/24/2018
                Welfare Check          RGV
   0805
06/24/2018
                Welfare Check          RGV
   0901
06/24/2018
                Welfare Check          RGV
   1221
06/24/2018
                Welfare Check          RGV
   1358
06/24/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1358
06/24/2018
                Welfare Check          RGV
   1413
06/24/2018
                Welfare Check          RGV
   1510
06/24/2018
                Welfare Check          RGV
   1604
06/24/2018
                Welfare Check          RGV
   1605
06/24/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1605
06/24/2018
                Welfare Check          RGV
   1701
06/24/2018
                Welfare Check          RGV
   1815


MIRZA O                                                                   Printed:      8/17/18
DOB:                                                                      Page 3 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 247 of 250 Page ID
                                      #:24398




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/24/2018
                   Welfare Check              RGV
   1909
06/24/2018
             Snacks, Milk, Juice Provided     RGV
   2016
06/24/2018
                   Welfare Check              RGV
   2016
06/24/2018
                   Welfare Check              RGV
   2109
06/24/2018
                   Welfare Check              RGV
   2203
06/24/2018
                   Welfare Check              RGV
   2309
06/25/2018
                   Welfare Check              RGV
   0018
06/25/2018
                   Welfare Check              RGV
   0101
06/25/2018
                   Welfare Check              RGV
   0122
06/25/2018
                   Welfare Check              RGV
   0205
06/25/2018
                   Welfare Check              RGV
   0304
06/25/2018
                   Welfare Check              RGV
   0308
06/25/2018
                   Welfare Check              RGV
   0407
06/25/2018
                   Welfare Check              RGV
   0511
06/25/2018
                   Welfare Check              RGV
   0648
06/25/2018
                   Welfare Check              RGV
   0649
06/25/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0649
06/25/2018
                   Welfare Check              RGV
   0707
06/25/2018
                   Welfare Check              RGV
   0744
06/25/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0744
06/25/2018
                   Welfare Check              RGV
   0830


MIRZA O                                                                         Printed:      8/17/18
DOB:                                                                            Page 4 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 248 of 250 Page ID
                                      #:24399




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/25/2018
                   Welfare Check              RGV
   1021
06/25/2018
                   Welfare Check              RGV
   1318
06/25/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1318
06/25/2018
                   Welfare Check              RGV
   1400
06/25/2018
                   Welfare Check              RGV
   1434
06/25/2018
                   Welfare Check              RGV
   1507
06/25/2018
                   Welfare Check              RGV
   1609
06/25/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1609
06/25/2018
                   Welfare Check              RGV
   1612
06/25/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1612
06/25/2018
                   Welfare Check              RGV
   1726
06/25/2018
                   Welfare Check              RGV
   1828
06/25/2018
                   Welfare Check              RGV
   1909
06/25/2018
                   Welfare Check              RGV
   2001
06/25/2018
                Processing Complete           RGV
   2032
06/25/2018
                   Welfare Check              RGV
   2111
06/25/2018
                   Welfare Check              RGV
   2143
06/25/2018
             Snacks, Milk, Juice Provided     RGV
   2201
06/25/2018
                   Welfare Check              RGV
   2201
06/25/2018
                   Welfare Check              RGV
   2243
06/25/2018
                   Welfare Check              RGV
   2314


MIRZA O                                                                          Printed:      8/17/18
DOB:                                                                             Page 5 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 249 of 250 Page ID
                                      #:24400




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/26/2018
                Welfare Check          RGV
   0005
06/26/2018
                Welfare Check          RGV
   0120
06/26/2018
                Welfare Check          RGV
   0201
06/26/2018
                Welfare Check          RGV
   0213
06/26/2018
                Welfare Check          RGV
   0306
06/26/2018
                Welfare Check          RGV
   0401
06/26/2018
                Welfare Check          RGV
   0505
06/26/2018
                Welfare Check          RGV
   0601
06/26/2018
                Welfare Check          RGV
   0602
06/26/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0602
06/26/2018
                Welfare Check          RGV
   0717
06/26/2018
                Perm Book Out          RGV
   1017




MIRZA O                                                                  Printed:      8/17/18
DOB:                                                                     Page 6 of 6
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-6 Filed 08/24/18 Page 250 of 250 Page ID
                                  #:24401
